CaSe 18-50610-btb Doc 28 Entered 07/24/18 19:47:25 Page 1 of 150

United States Bankruptcy Court

 

 

 

District of Nevada
In re Howe|l Munitions & Technologh|nc. Case No. 18-50610-btb
Debtor(s) Chapter 11
AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
20 Largest Unsecured C|aims

Form 206: Summary of Assets and Liabi|ities

Schedule AlB: Property

Schedu|e D: Creditors Who Have C|aims Secured by Property

Schedule EIF: Creditors Who Have Unsecured Claims

Schedule G: Executory Contracts and Unexpired Leases

Schedu|e H: Codebtors

Form 207: Statement of Financial Affairs

Verit“lcation of Creditor Matrix (Supplementa|)

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedm'e 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

/‘ .
Date: § 5 / 2 z f bd /£P //::-?`_-` Cj"“”/#
Robert E. Opera
Attorney for Debtor(s)
Winthrop Couchot Golubow Ho|lander, LLP

1301 Dove Street, Suite 500
Newport Beach, CA 92660
949-720-4130 Fax:949-720-4111
ropera@wcghlaw.com

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GENERAL NOTES TO SCHEDULES OF ASSETS AND
LIABILITIES AND STATEMENT OF FINAN.C-IAL AFFAIRS

The Debtor submits its Schedules of Assets and Liabilities (the “Schedules”) and
Statement of Financial Aff`airs (the “Statement”) pursuant to Section 521 of the Bankruptcy Code
and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

The Schedules and the Statement have been prepared by the Debtor’s current
management with the assistance of certain of its professionals. The Debtor has endeavored to
ensure that the Schedules and Statement are accurate and complete. The Debtor notes, however,
the following matters with respect to the preparation of the Schedules and the Statement.

1. The Debtor’s proposed Chief Restructuring Officer (“CRO”) was appointed on or
about June 7, 2018. Accordingly, the CRO has limited “institutional knowledge”
regarding the Debtor’s financial affairs.

2. The Debtor has prepared the Schedules based largely upon its review of financial
records in the Debtor’s possession that may have been prepared by former
employees of the Debtor. Such financial records generally are n_ot audited.

While the Schedules and the Statement are materially accurate to the best of the Debtor’S
belief, under the circmnstances of this case, the Debtor cannot warrant the accuracy and
completeness of the Schedules and the Statement. The Debtor reserves the right to amend the
Schedules and the Statement as appropriate based upon a subsequent receipt of information that
may result in a change in the disclosures contained in the Schedules and the Statement.

Unless otherwise stated, the asset and liability data contained in the Schedules and the
Statement are reflected as of June 8, 2018, the date the petition was filed in this Chapter 11 case
(the “Petition Date”). Valuation methodologies are as indicated in the Schedules @g, orderly
liquidation _value or book value). Actual fair market values may differ materially from the values
indicated.

lt would be prohibitively expensive, unduly burdensome and extremely time~consuming
to obtain current market valuations of the Debtor’s assets. Moreover, the value of certain assets,
such as potential litigation claims, is impossible to determine at this time. Accordingly, in
certain instances, values of assets are stated as “unknown” or “uncertain.” The reader therefore
should not place undue reliance upon the values listed for the Debtor’s assets in the Schedules.

Any failure by the Debtor to designate a claim listed on the Debtor’s Schedules as
“disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor that
such amount is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to
subsequently designate any claim as “disputed,” “contingent” or “unliquidated.” The Debtor
further reserves the rights to dispute, object to, assert counterclaims, rights of setoff, rights of
recoupment, or defenses to, subordinate, avoid, and/or obtain reclassification of any claim or any
interest in property securing such claim.

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The dollar amounts of claims listed may be exclusive of contingent and unliquidated
amounts, such as accrued interest or attorneys’ fees and costs.

The claims of creditors for, among other things, merchandise, goods, services, or taxes
may be listed as the lower of the amounts invoiced by such creditor or the amounts entered on
the Debtor’s books and records and may not reflect credits or allowances due from such creditors
to the Debtor. The Debtor reserves all of its rights with respect to any such credits and
allowances

The identity of some of the holders of claims might have changed over time due to
trading and/or transfer of certain of these claims. It is the Debtor’s belief that, as of the Petition
Date, the claims against the Debtor were held by the entities identified in the Schedules.

Each Schedule and the Statement is subject to further amendment by the Debtor.

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SCHEDULE A/B DISCLAIMER

The Debtor has obtained no current appraisals of the value of these assets. The actual
value of the assets listed may differ significantly from the amounts reflected in Schedule A/B.

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GENERAL NOTES REGARDING SCHEDULE D

The Debtor reserves the right to dispute or challenge the validity, perfection, or immunity
from avoidance of any lien purported to be granted or perfected in any specific asset to a secured
claimant listed on Schedule D. Moreover, although the Debtor has scheduled secured claims on
its Schedule D, the Debtor reserves all rights to dispute or challenge any secured nature of any
claimant’s claim or the characterization of the structure of any such transaction, or any document
or instruments related to such claimant’s claim.

Any failure by the Debtor to designate a claim on Schedule D as “contingent,”
“unliquidated” or “disputed” does not constitute an admission by the Debtor that such claim is
not contingent, unliquidated, or disputed, and the Debtor reserves the right to dispute, or to assert
offsets or defenses to, any claims reflected on Schedule D as to amount, liability, classification or
otherwise and to subsequently designate any such claim as disputed, contingent or unliquidated

Schedule D is subject to further amendment by the Debtor. The description provided for a
claim in Schedule D is intended only to be a summary of such claim. Reference to the applicable
credit agreement and related documents is necessary for a complete description of the collateral
and the nature, extent, and priority of any liens Nothing herein shall be deemed a modification
or interpretation of the terms of such agreements

The Debtor reserves the right to assert that any claim listed on Schedule D with respect to
equipment, an interest in which has been acquired by the Debtor, does not reflect a secured
claim, but instead reflects a lease subject to the provisions of Section 365 of the Bankruptcy
Code.

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GENERAL NOTES REGARDING SCHEDULE E/F

The Debtor’s characterization of the claims listed in Schedule E as priority claims is
preliminary in nature and the Debtor reserves its rights to amend Schedule E, and/or dispute and
challenge whether, and to what extent, such claims are entitled to priority.

The amounts stated in Schedule F for the claims of any parties to contracts with the
Debtor do not include any claims for breach of contract or other damages; the stated amount is
the amount of the account payable owing to the contract party as of the Petition Date in the
Debtor’s books and records

The claims listed on Schedule F are subject to further review, reconciliation and
amendment by the Debtor.

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GENERAL NOTES REGARDING SCHEDULE G

While effort has been made to ensure the accuracy of Schedule G (Schedule of Executory
Contracts and Unexpired Leases), the Debtor does not make, and specifically disclaims, any
representation or warranty as to the validity or enforceability of contracts, agreements or
documents listed in Schedule G. The Debtor hereby reserves the right to dispute the validity,
status characterization or enforceability of contracts, agreements and leases set forth in Schedule
G and to amend or supplement Schedule G. By listing a contract or lease on Schedule G, the
Debtor is not admitting that such contract or lease is an executory contract or lease pursuant to
Section 365 of the Bankruptcy Code and reserves the right to dispute any such classification

The Debtor reserves the right to assert that any lease listed in Schedule G is not a true
lease but constitutes a secured transaction.

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NOTES REGARDING CONSOLIDATION OF OPERATIONS

While the eight related Debtors are separate legal entities, the Debtors, other than Debtor
Components Exchange, LLC (collectively, the “HMT Debtors”), generally have operated on a
consolidated basis The Debtors, together with two non-debtors, Twin River Contract Loading,
Inc. and Big Canyon Environmental, LLC, have prepared financial statements on a consolidated
basis The HMT Debtors have used one cash management system to administer all receipts
obtained by the HMT Debtors and all disbursement made by the HMT Debtors in connection
with the operation of their businesses All cash collected from revenues generated by the HMT
Debtors is earned by Debtor Howell Munitions & Technology, Inc. (“HMT”) and deposited into
one checking account held by HMT. Payroll and all other expenses incurred by the HMT
Debtors are paid f`rom this one checking account. HMT pays all expenses because HMT is the
party that contracts with, and is indebted to, third parties for the operation of the Debtors’
businesses

Based upon the consolidated nature of the HMT Debtors’ pre-petition operations
Schedules E and F for the HMT Debtors generally list the same obligations Notwithstanding
that fact, each creditor listed in Schedules E and F for the HMT Debtors is entitled to receive in
the HMT cases distributions in an aggregate amount not to exceed the total amount of the
creditor’s allowed claim.

Components Exchange’s operations largely have been maintained separately from the
HMT Debtors Accordingly, Schedules E and F for Components Exchange differ from
Schedules E and F of the HMT Debtors

The Debtor reserves the right to amend the Schedules, including Schedules E and F, as
circumstances warrant.

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Fi|l in this information to identify the casc:

D€bior name Howell Munitions & Technology, lnc.

Uniled Slales Bankruptcy Cour‘i for ther D|STFUCT OF NEVADA

CaSE number (lf \<MW") 18-50610-btb
l Check if this is an
amended filing

 

 

Ofiicial Form 202
Dec|aration Under Penalty of Perjury for Non-|ndividua| Debtors mrs

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabil'rties. any other document that requires a declaration that is not included in the docuan and any
amendments of those documents Thls form must state the lndividual's position or relationship to the debtor, the ldentlty oflhe document
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Mak|ng a false statean concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in now up to 8500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341.
1519, and 3571.

- Declaration and signature

l am the president another ofiioer, or an authorized agent of the corporation; a member or an authorized agent of l:he partnership; or anolher
individual sewing as a representative of the debtor in this ease.

l have examined the information in lite documents checked below and l have a reasonable belief that the information is true and correct

Schedule A/B: Asseis-Real and Personal Proporty (Officlal Form 206NB)
Schedule D: Credr'tors Who Have Ciar'ms Secured by Propsrty (Oflicia| Form ZOED)
Schedule E/F.' Credr`tors Who Have Unsecured Claims (Oiiicial Form 206E1'F)
Schedule G.' Executory Contracts and Unexpired Leases (Ofl'ieial Form ZOGG)
Schedule H.' Codebtors (Ofiicial Forrn 206H)

Summary of Asse£s and Lr'abr'lr‘tr'es for Non-lndr`vio'r.rals (Olir:`a| Form ZOGSurn)

Amended Sdredule
Chapter 11 or Chapter 9 Cases: Usi of Creoitors Who Have the 20 Largesi Unsecured Clar'ms and Are Nof insiders (Ofiieial Form 204)

Olher documenl that requires a dedaralion

 

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l declare under penalty of perjury that the foregoing is true a

Executed on .luiy 24, 2018 X / C//
srg?drure ofindrviduar signing on behalf nrdevrnr

J. Michae| |ssa
Printed name

Proposed Chief Restructuring Of|icer
Position or rotationship to debtor

Gflioiai Form 202 Dec!aration Under Ponalty of Par]ury for Non~individuai Debtors
Soilware Capyrlg'rt (d 1996-2018 BestCaso, LLC -w\rtw.bed.case.mm Best Case Bcrrlmpi:y

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Fi|l in this information to identi the case:
Debtor name l Howel| Munitions & Technology, lnc.
United States Bankruptcy Court for the: DlSTRlCT OF NEVADA

 

l Check if this is an

 

Case number (if known): 18-50610-btb § amended filing

 

Ofticia| Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12115

A list of creditors holding the 20 largest unsecured claims must be filed |n a Chapter 11 or Chapter 9 case, include claims which the

debtor disputes Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101 (31). Also, do not
include claims by secured creditorsl unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims

 

Name of creditor end
complete mailing addrese,
Including zlp code

Name, telephone number
and small address of '
creditor contact

Nature of claim

(ior example, trade
debts bank loens,
professional services
and govemment
contracts)

indicate if claim
le contingent,
unliquidated, or
disputed

Amount of claim

lt the claim is fully unsecured. fill ln only unsecured claim amount lf
claim le partially sewred, fill ln total claim amount and deduction for 1
value cl collateral orsetotf to calculate unsecured claim.

 

Total claiml if
partially secured

Deductlon for value
of collateral or setoff

Unoocured claim

 

P Kay Meta|, |nc
Larry Kay

2448 E. 25th Street
Los Angeles, CA
90058

7 * Subject to

Setoff

 

 

$3,653,1 03.80

 

Midwest Brass, LLC
9254 US-31
West Ollve, MI 49460

$553,667.00

 

Crow Shooting
S\lPPly

200 S. Front St.
Montezuma, IA
80171

$473,476.29

 

Leader Tool Co |nc
brian Gunn

PO Box 66

Harbor Beach, M|
48441

$21 2,684.90

 

St. Marks Powder
Jodi Mc|ver

PO Box 222

Salnt Marks, FL
32327

$191,591 .20

 

Luvata Appleton,
LLC

PO Box 200498
Pittsburgh, PA

1 5251

$148,247.28

 

 

Bitterroot Security &
|nv. LL

Ten'y Roberw

410 9th Street
C|arkston, WA
99403

 

 

 

 

 

 

 

$1 18,000.00

 

0f|icial form 204

Chapter 11 or Chapter 9 Cases: List o'l Creditors Who Have the 20 Largest Unsecrured claims

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Paoe 1

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Debtor
Neme

Howeii Munitions & Technology, inc.

Case number (iI known)

18-50610-btb

7I22/18 10:24FM

 

Neme of creditor end
complete mailing addrees,
including zip code

 

Ne.me, telephone number
and emeil address of,
creditor contact '_' »

Nature of claim

(for example, trade
debte. bank loans, `
professional servicos,

lndicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

if the claim isfuiiy unsecured, fill in only unsecured'cia_im amount if
claim ia partiain secured, till in total claim amount and deduction for
value ol.ooiiateral or setoff to calculate unsecured ciaim. '

 

Totai clalm, if
partially secured

Deductlon for value
of collateral or eetof|‘

Llneecumd claim

 

Oracle America

Ben Thorp 1
500 Oracie Parkway l
Redwood Shoresl `
CA 94065

1 Dlsputed

 

$1 15,773.00

 

 

UFS

Lockbox 577
Caro| Stream, lL
60132

Dlsputed
Sub]ect to
Setoff

597,697.98 §

§
l

 

Anatolia Fisek
Sanayi ve Ticar
Engln

Sanayi Cad. 110
Armutlu l
Kemalpasa lzmir,
Turkey 35373-0000

$76,890.50

 

Binary Anvil inc.
22525 SE 64th
P|ace, Suite 257
lssaquah, WA
98027-5383

 

Dlsputed

$?3,611.64

 

Col|ier E|ectric
Bryan & Laura
Col|ier

1119 Van Arsdoi
Clarkston, WA
99403

$57,984.75

 

Wynalda Packaging
Accounting 616 866
1561

8221 Graphic Drive
Beimont, Ml 49306

$57,22?.01

 

LiStrak
100 W. Miliport Rd.
Lllltz, PA 17543

$56,539.50

 

Comm Trade USA,
inc

1934 West Gray St.,
Ste. 200

Houston, TX 77019

 

$47,185.68

 

 

 

lMC-Metals America,
LLC

Marcia Melocik,
Donna

99 E. River Dr.,
Riverview Square 2
East Hartford, CT
06108

 

$40,621 .70

 

 

Brand Makers LLC
Amber Newel|

464 South Maln St.
Spanish Fork, UT
84660

 

 

 

 

 

 

539.700.00

 

Ofl`icia| form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured daims

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page 2

Best Case Bankruptcy

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Debtor
Name

Howell Munitions & Technology, |nc.

Cese number (ifknown)

18-50610-btb

`HZI 18 10'.24FM

 

Name of creditor and
complete mailing address,
including zip code `

Name, telephone number
end emaiiy address of
creditor contact

Nature of\ciaim
(for exampie, trade ,

debe, bank ioans, » »`
professional services1

indicate if claim
le contingent,

' unliquidated, or

disputed

Amount of claim

if the claim is fully unsecured till in only unsecured claim amount lf
claim is partially secumd, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured ciaim. -

 

Tota| cla|m, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim k

 

Capital One Visa
Statement

PO Box 30285
Sait Lake Cltyl UT
841 30

 

 

$37.372.46

 

ST| lntemationa|
114 Ha|mar Cove
Georgetown, TX
78628

$31 ,904.00

 

Val Munde|l

1438 Greco Drlve
C|arkston, WA
99403

 

 

 

 

 

$30,000.00

 

Oflieiai form 204

Chapter 11 or Chapter 9 Cases: Lisl of Creditors Who Have the 20 Largesi Unsecured claims

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page 3

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Fill in this information to identify the casa:

Deblor name
Uniled States Bankruptcy Court for ihe: DlS_TR|CT OF i:liZ!ADA

Case number ('ri known} E-§J610-btb

Ofiicia| Form 2068um

i~loiiue|iliilunitions & Te¢¢:hrrlo|ogy1 _lnc;

 

7!22¢’15 10;24FM

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amended filing

 

 

Summary of Assets and Liabiiities for Non-Individuais 1zr1s
Sumrmary ofAssets _ _ _ _ j in il ___
i. Schedule A/B: Assets-Reai and Personai Property (Ofiicial Form 206A/B)
1a. Real property:
Capy line 88 from Schedule A/B 5 g 0'00
1b. Tcta| personal property:
Copy line 91A from Schedule A/B s 111416}921'45
1c. Total of ali property:
Copy line 92 from Schedule A/B 5 11'416»921'45
Summary disputes , 11 , _
2. Schedule D.' Credr'tors Who Have Claims Secured by Prcperiy (Offrcia| Form 2060)
Copy the total dollar amount |isled in Column A. Amouni ofciaim, from line 3 of Schedule D 5 ?I§»ooo'oo
3. Schedule E/F: Creditors Who Have Unsecured Claims (Oi‘iiciai Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Capy the total claims from Part1 from line 5a of Schedule E/F . 5 180¢9¢28;?§5
3b. Total amount of claims of nanpriority amount of unsecured claims:
Copy the total 01 the amount of claims from Farl 2 from line 5b of Schedule E/F +5 i?'?a%aas'zz,
4. Tota| liabilities
Lines 2 + 3a + 3b s 31,223,913.58
Oiticiai Form ZUSSum Sumrnary of Assats and Liab||ities for dion-individuals page 1

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Fill in this information to identify the case:
D€binf name _H_owel| i\ilunitions£i'echnoiogy, inc.

United States Bankruplcy Court for lhe; D_l§TR|CT Oi-` NEVADA

Case number {if known) 1 3.5051g-btb

l Check iflhis is an
amended iiling

Officiai Form 206A/B
Schedule AIB: Assets - Real and Personai Properg wis

 

 

Disciose all property, real and persona|, which the debtor owns or in which the debtor has any other legall equitab|e, or future interest
include all property in which the debtor holds rights and powers exercisable for the debtor's own beneflt. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. |n Schedule A!B, list any executory contracts
or unexpired leasas. A|so list them on Schedule G: Executory Contracts and Unexpired Laases iOfficial Form 206(.-`»).

Be as complete and accurate as possibie. if more space is needed, attach a separate sheet to this fom1. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. lfan
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part ‘1 through Pari'.11, list each asset under the appropriate category cr attach separate supporting schedules such as a fixed asset
schedule or depreciation schadule, that gives the details for each asset in a particular category. List each asset only once. in valuing the
debtor's interast, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any casner cash equivalents?

 

l:l No. Go la Pait 2.

l Yes Fill in the information below
A|| cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Chc~)ckingl savings, money market, or financial brokerage accounts (lderi!i'fy aii)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3,1, Wells Fargo Bank Checking 1886 $377.00
3121 Zions Bank Checkirig 0992 $93?297.00
3_3_ Zions Bank Savings 0161 $5.00
3.4. Zions Bank Savings 9742 $44.00
4. Other cash equivalents (Identify aii)
5. Tota| of F'art1. $93,723.00

Adci lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposlts and Prepaymants

6. Does the debtor have_a'ny deposits or prepayments?

l;l No. Go to Part 3.
l Yes Fill in the information below.

Ofiiciai Form 206A!B Schedule A/B Assets - Real and Personal Property page 1
Sohware Copyright (c) 1995-2018 Eesi Case. LLC - mvw.besicasa com Besi Case Bankn.iplcy

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Howeil Munitlons & Technology, inc.
Name

Debtor

7. Depos|ts, including securtty deposits and utility deposits
Descriptlon, including name of holder of deposit

Prepaid insurance:
7_1, Stonebraker McQuary insurance

7I22!1 8 l 0‘24PM

Case number (rrknawn) 18-50610-btb

5159,598.00

 

7.2. £_repaid inventory - Various

$209,343.00

 

8. Prepayments, including prepayments on executory contracts, ieases, insulance, taxes, and rent
Descn'ption, including name of holder of prepayment

 

9. Total of Part 2.
Add lines 7 through 8. Copy the total to line 81.

 

$368,941.00

 

 

Part 3: Accounls receivable
10. Does the debtor have any accounts receivabie?

i:i No. Go to Part 4.
l Yes Fill in the information below.

11. Accounts receivable

2,341,477.00 - 234,148.00 =

11a. 90 days old or |ess:

 

face amount

doubtful or uncollectible accounts

$2,107,329.00

 

11b. Over 90 days old: 488,064.00

face amount

12. Total of Part 3.

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

investments
13. Does the debtor own any lnvestmants?

- No. Go to Part 5.
i:] Yes Fill in the information below.

Part 5: |nventory, excluding agriculture assets

. 244,032.00 =....
doubtful or uncollectible accounts

 

18. Does the debtor own any inventory (exciuding agriculture asset;i?

i:i No. Go to Part 6.
l yes Fill in the information beiow.

Date of the last
physical inventory

Genera| description

19. Raw materials
Components: |ead;
copper; brass; powder

_Rdmer 1 22°17

Net book value of Valuation method used

debtors interest for current value
(Where available)
$2,987,943.36 Standard Costing

$2,351,361_.00

$244,032.00

Current value of
debtors interest

$2,987,943.36

 

Ofiicia| Form 206A/B
Sonware Copyrlght (c) 1996-2018 Eest Case. LLC - m.bestcase.oom

Schedule A/B Assets - Real and Persona| Property

lnveetery_va1ues listed are
as of 6/7/18

page 2
Best Case Bankruptcy

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1/22/18 10:24PM
Debtor Howel| Munitions & Technology, inc. Case number (irknawn) 18-50610-btb
NBi't`ie
20. Work in progress
Unfinished cases;
unfinished bullets 1212017 $117,158.39 Standard Costing $117,158.39
inventory values listed are
as of 6/7/18
21. Finished goods, including goods held for resale
Bu|iets and ammunition 12I2017 $1,520,615.98 Standard Costlng $1 520 615.98
inventory values listed are
as of 6/7/18
22. Other inventory or supplies
23. Total of Part 5. $4,625,71 7.73
Add lines 19 through 22. Copy the total to line 84. _____
24. is any of the property listed in Part 5 perishabie?
- No
i:l Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
i:l No
- Valuation method Standard Current Value
Y°s' B°°" "3'“€ 240521.11 casting _ 24°521'77
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
i:i No
l ¥es
Part 62 Fam'ilng and fishing-related assets (othor than titled motor vehicles and iand)

 

27. Doos the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and iand)?

l No. Go to Part 7.
i:l Yes Fill in the information beiow.

Part 7: Ofiice fumiture, fixtures, and equipment; and coilectlbles
38. Does the debtor own or lease any office fumlture, fixturos, equipmentl or collectibles?

i:i No. Go to Part 8.
l Yes Fill in the information below.

Valuatlon method used
for current value

Net book value of
debtors interest
(Where availabie)

Genera| description

39. Office furniture

Current value of
debtors interest

 

 

 

 

 

 

 

Office furniture and office equipment $10,764.00 Estimate 25% $2,690.94
______ _ ,__ _ of Bool<_\/alue _
40. Ofiice fixtures
41. Oi‘l’|ce equipment. including ali computer equipment and
communication systems equipment and software
Value included in #39 Unknown ___N___ Unknown
42. Coiiectibles Examples: Antiques and tigurines; paintings, prints, or other artwork;
books. pictures, or other art oblects; china and crystal; stamp, coin, or baseball card
coileciions; other collections, memorabiiia, or collectibles
Ofiicia| Form 206AIB Schedule A/B Assets - Real and Personai Property page 3
software copyright (c) 1996.2013 east case, Li.c - www.besieisa.mm east case earii¢rupicy

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7l22/1B 1024PM
Debtor Howe|l Munitions & Technology, inc. Case number {rrknowni 18-50610-btb
Name
43. Total or Part 1. $2,690.94
Add fines 39 through 42. Copy the total to line 86.
44. is a depreciation schedule available for any of the property listed ln Part 7?
El No
- Yes
45. Has any of the property listed ln Part 7 been appraised by a professional within the last year?
l:l No
- Yes
Machlnery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?
El No. Go to Part 9.
l ¥es Fill in the information below.
Generai description Net book value of Valuatlon method used Current value of
include year. make, model. and identification numbers debtor‘s interest for current value debtor‘s interest
(i.e., V|N, HlN, or N-number) (Where available)
47. Automoblles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1. See attached list $57,323.00 Estimate 25% $14,330.76
_ of Book Value
48. Watercraft. trailers. motors, and related accessories Examples: Boats. trailers, motors,
floating homes, personal watercralt, and iishing vessels
49. Alrcraft and accessories
50. Other machinery, t'ixtures, and equipment (exciudlng farm Appraised Order|y
machinery and equipment) . . .
Mahufaocuring equipment 54,693,176.60 '-‘qu'dat'°" Value $3,893,525.00
___ (JUiy_2017 appraisal) _
51. Total of Part 8. 531907,355_75
Add lines 47 through 50. copy the total to line av. v
52. is a depreciation schedule available for any of the property listed in Part 8?
l:l No
l Yes
53. Has any of the property listed ln Part 8 been appraised by a professional within the last year?
l:l No
l ¥es
property
54. Does the debtor own or lease any real property? _ w `
El No. Go to Part10.
l Yes Fill in the information below.
55. Any bulldlng. other improved real estate, or land which the debtor owns or in which the debtor has an interest
Descrlptlon and location of Nature and Net hook value of Valuatlon method used Current value of
property extent of debtor‘s interest for current value debtor‘s interest
include street address or other debtor‘s interest (Where available)
description such as Assessor in property
Of'liciai Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

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Debtor Howell Munitions & Technology, inc. Case number (rfknown) 18-50610-btb

 

Name

Parce| Number (APN), and type
of property (for examplel
acreage. factory, warehouse,
apartment or oiiice building, if
available.

55'1‘ Leaseho|d
improvements $1,153,991.33

$0.00

 

55'2' See attached

See attached list list Unknown

Unknown

 

 

56.

57.

58.

Pa
59.

intangibles and intellectual property

Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.

is a depreciation schedule available for any of the property listed in Part 97
El No
l Yes

Has any of the property listed in Part 9 been appraised by a professional within the last year?

- No
E\ ¥es

Does the debtor have any interests in intangEles or intellectual property?

[l No. Go to Pan 11.
l ves Fill in the information below.

$0.00

 

General description Net book value of Valuatlon method used Current value of

debtor’s interest for current value

(Where availabie)

debtor‘s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

60. Patents, copyrights, trademarks, and trade secrets

Various trademarks for Freedom Munitions

and X-Treme Bu|lets brands and product

names 7 7 nw Unknown Unknown
61. lntemet domain names and websitas

www.freedommunitions.com;

www.xtremebuiiets.com V_` 4 ¢¢__ d unknown Unknown
62. Llcenses, franchises, and royalties

Various municipal and operating licenses and

permits 7 Unknown ` Unknown
63. Customer lists, mailing iisis, or other compilations

www.freedommunitions.com and

www.xtremebullets.com customer lists and

mailing lists iii f in WA¢M~ "vUnknown n Unknown
64. Other lntangib|es, or intellectual property
OfFrcial Form 206A/B Schedule A/B Assets - Real and Personal Property page 5

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Debtor Howell Munitions & Technology, inc. Case number (/fknown) 18-50610-btb
Name
65. Goodwlll
66. Total of Part 10. $o_°o

67.

68.

69.

Pa
70.

 

 

Add lines 60 through 65. Copy the total to line 89.

 

Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101 (41A) and 107?
L_.l No

l Yes

is there an amortization or other similar schedule available for any of the property listed in Part 10?
- No
ij Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?
- No
|:| Yes

n 1 1: Aii other assets

Does the debtor own any other assets that have not yet been reported on this form?
include ali interests in executory contracts and unexpired leases not previously reported on this form.

 

l:l No. Go to Part 12.
l Yes Fiii in the information below.

Current value of
debtor‘s interest

 

 

 

 

 

 

 

 

 

 

 

71. Notes receivable
Description (inc|ude name of obligor)
72. Tax refunds and unused net operating losses (NOLs)
Description (for exampie, federai, stale, iocal)
73. interests in insurance policies or annuities
Various liability insurance policies and D&O pollcy; See
attached list HA __ _$°-°°
74. Causes of action against third parties (whether or not a lawsuit
has been flied)
American Marksman $66,632.02
Nature of claim Unpaid accounts receviab|e
balance
Amount requested $66,632.02
See attached list Unknown
Nature of claim mvv
Amount requested $0,@
75. Othar contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
76. Trusts, equitable or future interests in property
77. Other property of any kind not already listed Examples.' Season tickels.
Ofiicia| Form 206A/B Schedule A/B Asseis - Real and Personal Property page 6

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7/221 B 1 0124PM

Debtor Howell Munitions & Technology, inc. Case number (irknowh) 18-50610-btb

Name

 

 

country club membership

78. Total of Part 11. 555,532_02 l

Add lines 71 through 77. Copy the total to line 90. t

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
- No
El Yes

Ofiiciai Form 206A/B Schedule A/B Assets - Real and Personai Property page 7
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-summa~

80.

81.

82.

83.

85.

BS.

87.

88.

89.

90.

91.

92.

 

 

 

 

 

 

 

 

 

 

7I22]18 10'.24PM
Debtor Howell Munitions & Technology, inc. Case number {rrknown) 18-50610-btb
Name
in Part 12 copy all of the totals from the earlier parts of the fon'n
'l’ype of property , Current value of Current value of real _` ,
personal property property
Cash, cash equivalents, and financial assets.
Copy line 5, Part 1 $93'723'°°
Deposits and prepayments Copy line 9, Part 2. $368,941.00
Accounts receivable. Copy line 12, Part 3. $2,351,361.00
investments Copy line 17, Part 4. $0.00
lnventory. Copy line 23. Part 5. $4,625,717.73
Farmlng and fishing-related assets. Copy line 33, Part 6. r_ $0.00
Off|ce fumiture, fixturesl and equipment; and coilect|bles.
copy line 43, Part 7. 52»59°-94
Mechinery, equipment, and vehicles. Copy line 51, Part 8. $3,907,855.76
Real property. Copy line 56, Part 9 > __ 50.00
intangibles and intellectual property. Copy line 66, Part 10. __“______ $0.00
Aii other assets Copy line 78, Part 11. $66,632.02
roer. Add lines so through so for each column s11,416,921.45 + 91b. $o.oo
Total of all property on Schedule AIB. Add lines 91a+91b=92 ` $11 ,416,921.45
Schedule AIB Assets - Real and Personai Property page 8

Official Form 206AlB

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Form 206: Schedule A/B: Assets - Real and Persona| Property
#47) Automobi|es, vans, trucks, and motorcycles

HOWELL MUNITIONS & TECHNOLOGY, l`NC.

 

 

 

 

 

VEHICLE LISTING
X¢m M_ak_§ _MQQ_I
1968 GMC Fire Truck
2004 Ford F250
1981 Tank Water
2015 Toyota Rav 4

 

 

 

 

 

234644

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Howell Munltlons & Technology, |nc.
Schedule A/B: Assets - Real and Personai Property
#55) Any bullding, improved real estate, or land debtor owns or has an Interest

LEASE - REAL PROPERTY lNFORMATION

 

Lessee Lessor Address Type of Property

HMT Dave Howell Renta|s 4093 Lucky Lane, Lewiston, ldaho Commercla|
HMT Dave Howell Renta|s Ba||istlrs Lab at 29978 Thlessen Road, Lewiston, |daho Commerc|al
HMT Dave Howell Rentals 815 D. Street, Lewiston, idaho Commercial
HMT Dave Howell Renta|s 805 D. Street, Lewiston, ldaho Commerclal
HMT Dave Howell Rentals Airport Powder St.orage, Lewiston, ldaho Commercial
HMT Dave Howell Rentals 153 Southport, Lewiston, ldaho Commercial
HMT Dave Howell Renta|s 829 D Street, Lewiston, idaho Commercial
HMT Dave Howell Rentals 2337 3rd Avenue N., Lewiston, idaho Commercial
HMT Dave Howell Rentals 12 Stokes Dr, Moundhouse, NV Commercia|
HMT Dave Howell Rentals 31 Stokes Dr, Moundhouse, NV Commercial
HMT 823 D Street LLC 823 D. Street, Lew|ston idaho Commercia|
HMT Dave Howell Rentals 25 Stokes Dr, Moundhouse, NV Commercia|
HMT Dave Howell Rentals 3750 Foothill Drive, Lewlston, ldaho Resldentla|

Page 1 of 1

234675

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Howell Munitions &Techno|ogy, |nc.

Case No. 18~50610-btb

Form 206: Schedule A/B: Assets - Real and Personai Property
#74) Causes of action against third parties

 

Third ngy Current Value of
Debtor’s Interest

 

 

 

American Marksman $66,632.02
UPS Unknown
United States Unknown
Department of

Treasury, Alcohol and

Tobacco Tax and
Trade Bureau

 

 

 

 

 

 

 

Twin River Contract Unknown
Loading, Inc.

Big Canyon Unknown
Environmental, LLC

X-Treme Bullets Inc. Unknown
Ammo Load Unknown
Worldwide, Inc.

Clearwater Bullet, Unknown
Inc.

Freedom Munitions, Unknown

LLC

 

 

 

234699

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Howell Munitions & Technology, |nc.

Case No. 18-50610~btb

Form 206: Schedule A/B: Assets - Real and Personai Property

#74) Causes of action against third parties

 

Third Pag\;

Current Value of
Debtor’s Interest

 

 

 

 

 

 

 

 

 

Howell Machine, Inc. Unknown
Lewis-Clark Unknown
Ammunition

Components, LLC

Components Unknown
Exchange, LLC

Z.B., N.A., dba Zions Unknown
First National Bank

CFO Solutions LLC, Unknown
dba Advanced CFO

Sussman Shank LLP Unknown
Creason, Moore, Unknown
Dokken & Geidl,

PLLC

David C. Howell Unknown

 

 

 

234699

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Fill In this information to identify the case:

Debtor name
United States Bankmptcy Court for the: _LS_`|:R|CT OF NEVADA

Case number (if known}

Ofllcia| Form 206D

¢Ho¢we|lMunitions & Technologhinc.

1_9;50§10-vt_b

 

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor‘s property?
i:i No. Check this box and submit page 1 of this form to the court with debtor‘s other schedules Debtor has nothing else to report on this forn'l.

EEII,!,M Credi£rs Who;iave Secure@,€laim§

- Yes. Fill in all oi the information below.

 

~2. List in alphabetical order all creditors who have secured claims. if a creditor has more than one secured

clain'l. list the creditor separately for each claim.

:Corporation Service

_ 1 Comp_any, as_Rep

Cred`:tors Nan'le

Attn: Legai Dept.

PO Box 2576
§p@gfield, lL 627078¢¢ j

Creditol‘s milling address

 

Credllors small addressl it known

Date debt was incurred

UCC 20160095207C

Last 4 digits of account number

Doirnit.t|t|pie creditors have art
interest in the same property?

.No

\:l Yea, Specii"y each crcditor,
including this creditor and its relative
priority

integrity Bank. SSB
Creoitbrs Name ' _

4040 Washington Ave.
Houston, TX 77007-5606

Creoltors mailing address

Creditors entail addressl rt known

Date debt was incurred

Last 4 digits of account number

Do multiple creditors have an
interest in the same property?

thciai Form 2060
Soi'twele Copyrignt (c) 1995-2015 Best Ceso, LLC - vw¢w bestoase com

Describe debtor‘s property that is subject to a lien

Describe the lien

is the creditor an insider or related party? 7
- No
m Yes

is anyone else liable on this claim?

l No
|:] Yes. Fill out Schedule H.' Codebfors (Ol‘l'lciai Form ZDSH)

As of the petition filing date, the claim ie:
Check all that apply

i:i Contingerit
El unliquidated

l Dlsputed

Descrlbe debtor‘s property that is subject to a lien

A|| inventory, chatte|, accounts, euipment,
etc.

Describe the lien

l,_len# ag_o_l_112007j'r 7 , ,

is the creditor en insider or related party?
- No

l:] Yes

le anyone else liable on this claim?
n No
- Yes. Fill out Schedule H: Codebiors (Ofl'lcial Form 205l-t)

As of the petition tiiing date. the claim ie:
Check all that apply

_CoEn-lmil " `__

Amount ot claim

Do not deduct the value
of collateral

_ 30-09_

szso._oc_lo.oo

Schedule D: Creditors Who Have Claims Secured by Property

T»'HHB 10224F'M

Check if this is an
amended filing

12!15

' _éolumn¢B¢
Value of collateral

that supports this
claim

mt

$U.OD

page 1 of 4
Best Case Bankruptcy

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1122/1a 1024PM
Debtor Howell Munitions & Technology, inc. Case number (lr m) 18-50610-btb
Neme
. No m Conb'ngent
l:l Yo~.i. spoon each oieorr°r, El unliquidated
including this creditor and its relative l Drspmed
priority.
2 3 Toyota industries
` Commer¢;ia| F|nan¢e, |n Describe debtor‘s property that le eub}ectto e lien $0-00 $0.0°
C'°°'“°"’ N°m° Used forklift
PO Box 9050
Coppell, TX 75019
CrecEtors mailing address Descrtbe the lien
Lien#s B201 61 1 868002
le the creditor en insider or related party?
_____________ - No
creditors omoil address ll known Ei Yes
le anyone else liable on this c|alm?
Date debt was incurred \:| No
- Yes. Fill out Schedule H: Codeblors (Oflicioi Form ZOBH)
Last 4 digits of account number
'Do multiple creditors have en ~_ As of the petition lillng date, the claim ls:
interest in the same property? Check all that apply
l No n Coni:'ngent
n Yes. Specify each creditor, n U"fiq“idaied
including this creditor end its relative l Disputed
priority.
§ 2.4 US Depf. Of Treasl.lry Describe debtor‘s property that le eub|ectto a lien $5,329,000.00 $0.00
Creditor‘s Neme
Aicohol & Tobacco Tax &
Trade Bureau
National Revenue Center
550 Main Street, Suite 8002
Cincinnat|, OH 45202-5215
Creditol's mailing address Descrlbe the lien
Federai tax lien
le the creditor an insider or related perty?
__ - No
cmdiiors mall address lr known i:l Yes
le anyone else liable on this claim?
Date debt was incurred [:| N°
. Yes. Fill out Schedule H: Codebtors (Ofiicial Form ZOBH)
Last 4 digits of account number
_Do multiple creditors have an Ae ofthe petition filing dete, the claim ie:
interest in the same property? Check all that apply
l No m Conlingent
ij ¥es. Specify each creditor. cl U""q'-'ldaied
including this creditor and its relative l imputed
priority.
§2.5 WCP Solutions -r___` Describe debtors property that is subjectto a lien Unknown $0,00
C'“it°“$ Na"'° Packaging materials
15321 E Marietta Ave
Spokane, WA 99216 ”'“ "`
cradnors malnng address _R Describe the lien
Lien# 8201711881525
thciai Form 206D Additional Page of Schedule D: Cred|tors Who Have Claims Secured by Property page 2 of 4

Best Case Bankruptcy

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7r22ns roman
Debtcr Howell Munitions & Technology, inc. Case number (rr lrrrorr) 18-50610-btb
Name '
is the creditor an insider or related party?
__________________ . No
cmdlwrs small address lr known l:.i ¥es
is anyone else liable on this claim?
Date debt was incurred . N°
n Yes. FB| out Schedule H: Codebtdrs (Ofliciai Form 206H)
Last 4 digits of account number
Do multiple creditom have an As of the petition filing dats, the claim is:
interest ln the same property? Check all that apply
- No n Contingent
n ¥es. Specify each creditcr, n unliquidated
including this creditor and its relative - Dispuwd
priorily.
56 Wells Fargo Bank, N_A_ *_ Descrtbe debtors property that is subject to a lien $25,000,00 $0.00
Cl€\l'lf<=\'s Nem° Hyster Forklift
300 Tri State lntl.l Ste. 400
Lincolnshit‘e, lL 60069-4417
Crediters mailing address Describs the lien
UCC # 32015116381 00; 5201511632388;
B2201 51 1 640299
ls the creditor an insider or related party?
_____________`_'___'__ - No
creditors entail address ll known Ei Yes
is anyone else liable on this ciaim?
Date debt was incurred l:] Ng
- Yes. Fiii out Schedule H: Codebtors (Oflicial Form 206H)
Last 4 digits of account number
Do multiple credito'm have arivv As ofthe petition filing date, the claim is:
interest in the same property? Check all that apply
- No m Contingenl
m Yes. Specify each creditor. m unliquidated
including this creditor and its relative l nisputed
prierity.
;;_ Z.B., N.A.,dba Zions First *
§ ' Nat|°na| BL|$_ v r#*` Describe debtors property that is subject to s lien s1 715°0»0°°-°0 331 16501000'00
deif°"$ Nam° Aii personal property assets of the Debtor.

Officlal Form 206D

One South Main Street,
Suite 1400

Creditors mailing address

 

Credilors small address_ it known

 

Date debt was incurred

Last 4 digits of account number

_n€§rir_w`ri§??einem§" '“
interest in the same proparty?

including all inventory, chattel paper.
accounts, equipment, fumiture, and general
intangibles

 

Describe the lien

idaho UCC-1 5201 211171757l

§201 311254066, B20141 1 404068
is tha creditor an insider or misled party?

-No
DYes

is anyone else liable en this claim?
n No
- Yes. Fill out Schedule H: Codsblors (Ofiiciai Form 206H)

As of the petition filing dats, the claim is:
Check ali that apply

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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*Represents estimated aggregate value of
collateral provided by this Debtor. affiliated
Debtors, and non-debtor entities

page 3 of 4

Best Case Banlm.rptcy

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1172/1a 1024PM
D€ber Howell Munitions & Technology, |nc. Case number (n mnw) 18.50510_|,¢¢,
NEIT¥B
- No n Contingent
[J ¥es, specify each cmdi@°r_ n Unliquideted
including this creditor and its relative - Dlsputh
prioriiy.
__'j
' $23,104,000. l
3_ Total of the dollarsmount.s from Fart 1, Column A, including the amounts from the Additional Pege, ifgny_ 00 §

 

 

ust others to ea unused rcra nom Already uswa m Pan1

Llst ln alphabetical order any others who must be notified for a debt already listed in Part 1. Exsmples of entitles that may he listed srs collection agencies,
assignees of claims listed ahove, and attorneys for secured creditors.

|f no others need to notified for the debts listed ln Fart1, do not till cut or submit this pags. lf additional pages ana needed. copy this psgs.

 

Name and address On which line in Fart 1 did Last 4 digits of
you enter the related crediton*? account number for
this entity
Ofiicial Form 2060 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 4

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7/2219 1024PM

Fill in this information to identify the case:

 

§Debtor name Howell Munidons & Technology, inc.

§ Uniied States Bankruple Court for ther DlSTRiCT OF NEVADA

 

§Case number (‘rl known) 18.50610-btb

§ § l Check if this is an
§ .; amended iiling

Official Form 206E/F
Schedule EIF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possibie. Use Part 1 for creditors with PRIOR|TY unsecured claims and Part 2 for creditors with NONPR|OR|TY unsecured claims.
Llst tl'ie other party to any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule A/B: Assets - Real end
Personal Property (Oiticlal Form ZOSAIB) and on Schedule G: Executory Contracts and Unexpired Leases (Ofliciai Form 2066). Number the entries iri Parte 1 and
2 in the boxes on the ieft. if more space ls needed for Part 1 or Part 2, fill cut and attach the Additional Page of that Part included in this fom\.

usi Aii creditors with PRioRirv unsecured claims

 

1. Do any creditors have priority unsecqu clalms? (See 11 U.S.C. § 507).
l'_'i No. Go to Part 2.

- Yes. Go to line 2.

2. Llst in alphabetical order ali creditors who have unsecured claims that are entitled to priority in whole or in part ll the debtor has more than 3 creditors
with priority unsecured daims, fill out and attach the Additional Page of Part 1.

 

 

 

 

 

 

 

 

Total claim Priority amount
l 2.1 Prioiity creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Aleksander Bukowy Check all that apply-
4821 Gentry Lane |:| contingent
Carson City, NV 89701 El uniiquiciaied
El Dlsputed
Date or dates debt was incurred Basis for the daim:
Various For notice purposes only
Last 4 digits of account number is the claim subject to oiisel’?
Specliy Code subsection of PRiORlTY - N°
unsecured claim: 11 U.S.C. § 507(a) (i)
n Yes
' 2.2 Priority creditors name and mailing address As of the petition filing date, the claim is: ____'__"§1,307.25 $1,307.25 _
Anfony Ha|k$ ' Check all that apply.
631 Preston Ave #3 n C°n!ino€n!
Lewiston, |D 83501 l'_`| uniiqnidaied
n Dlsputed
Date or dates debt was incurred Basis lor the claim:
Vari°US
Lest 4 digits cl amount number ls the claim subject to offset'?
Specil‘y Code subsection of PRlOR|T¥ - N°
unsecured daim: 11 u.s.c. § sor(a) (4_)
n Yes
Oti'icial Form 206E/F Schedule EIF: Creditors Who Have Unsecured Claims page 1 ct 76

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Deblor Howell Munitions & Technology, lnc. Case number (n mn) 18.50510.1,¢|,
Name
2.3 Priority creditors name end mailing address As cl the petition filing date, the claim is: $10,484.18 $10,484,18
Arthur W Eaton Check all fhafapply-
1395 53l'd Sf N g Contingent
Lewlston, lD 83501 |:| unliquidated
L__l Dlsputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number is the claim subject to offset?
Speciiy Code subsection of PR|OR|TY l No
unsecured cleim: 11 U.S.C. § 507(a) Q)
n Yes
2.4 ` Priority creditors name and mailing address As of the petition filing date, the claim is: $1,621,92 $1 ,621,92
Ben]amen iverson Check ali!ha!apply-
420 Vlsfa AVB m Contingent
Lew|ston, ID 83501 D unliquidated
m Disputed
Date or dates debt was incurred Basis for the ciaim:
Various
Lest 4 digim of account number ls the claim subject to offset?
Spei:ify Code subsection of PRIOR|TY - N°
unsecured claim: 11 u.s.c_ § 507(d) (_4_)
n Yes
2.5 Priority creditors name and mailing address As of the petition filing date, the claim is: $1,062,86 $1 ,062_86
Benjamin Prior Check eli that appiy.
1628 9th Avenue U Conv'ngeni
Ciarkston, WA 99403 Ei unliquidated
El Dlsputed
Date or dates debt was incun'ed Basis for the claim:
Various
Last 4 digits cl amount number ls the claim subject to offset?
Speciiy Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) L4_)
l:l Yes
g 2.6 ::| Prior'ity creditors name and mailing address As of the petition Eling date, tl'ie claim is: $1,314.10 $1 ,314.10
Brad|ey Bjorkqulst Check all fth apply-
3208 th Sf C n Contirigent
Lewiston, ID 83501 E| uniiqurdnted
E] oidputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits cf account number ls the claim subject to offset?
Spec'ify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) @
l:l Yes
Ofiicial Form 206 EIF Schedule EIF: Credltcrs Who Have Unsecured Claims Page 2 of 16

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Debfcr Howell Munitions & Technology, lnc. Case number (lt mn) 13.50610.1,¢|,
Narne
12.7 Priority creditors name and mailing address As of the petition filing date, the claim is: $3,053.82 $3,053.32
Brad|ey Gasper Check all that aple
1516 1 5fh AVB m Contingent
Lewlston, lD 83501 El unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject tn offset?
Specll‘y Code subsection of PR|OR|TY l N°
unsecured cla|m: 11 U.S.C. § 507(e) (i)
l:l Yes
2.B Priority creditors name and mailing address As of the petition ming date, the claim is: $3,220_55 $3,220_55
Brady King Check all that epply.
618 Bryden Drlve Apt D |:| Cunv'naenf
Lewlston, lD 83501 El unliquidated
m Disputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits ct account number ls the claim subject to offset?
Speclly Code subsection of PR|ORIT‘I l N°
unsecured clalm: 11 U.S.C. § 507(e) (Q)
n Yes
133 Pn'ority creditors name and mailing address As of the petition filing date. the claim is: $8,039.32 $8,039.32
Brandon Dean Check all fhafappl)<
2575 Reservolr Rd m Conrinaent
Clarkston, WA 99403 ill unliquidated
E| Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits ot account number ls the claim subject to offset?
Specify Code subsection ot PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (g)
n Yes
_2.10 Pn'ority creditors name and mailing address As of the petition filing date, the claim is: $685_08 §685.08
Brenda L Anderson Check 3” fha'aPP'y-
3531 13th street El Conllnoem
Lewlston, lD 83501 El unliquidated
m Disputed
Date or dates debt was incurred Basis for the claim;
Various n n
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (,4_)
m Yes
Oflicial Form 206 EIF Schedule E/F: Credltora Who Have Unsecured Clalrns Page 3 of 76

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Debtor Howell Munltlons & Technology, |n¢:, Case number (lt mm) 18-50610-|711)
Name
2.11 l Priority creditors name and mailing address As of tile petition filing date, the claim is: $1,295.05 $1,295.05
Brendon Martin Che°l‘ all lllalaFPly-
2128 11th st #202 lZl Convnoenl
Lewlston, lD 83501 |Il unliquidated
l:l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to oftset?
Specify Code subsection of PR|OR|T¥ . N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
l:l Yes
§ 2.12 ‘ Priority creditors name and meaning address As of the petition filing date, the claim is: $2,1 14.26 $2,1 14.26
Brlan A McCammon Check elllhalai=ply.
411 3rd Ave U Conllnt=len!
Lewlston, lD 83501 El unliquidated
l:l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to oftset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (g)
l:l Yes
2.13 l Priority creditors name and mailing address As of the petition filing date, the daim is: $1,057_40 $1 ,051_40
Br°ok R°b|nett Check all that apply.
30100 Mission credit Rd lIl contingent
Culdesac, lD 83524 |Il unliquidated
|:l Disputed
Date or dates debt was incurred Basis for the daim:
Var'lous
Last 4 digits of account number ls the claim subject to otfsel?
Specily Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (5)
E| Yes
j 2.14' Priority creditors name and mailing address As of ttie petition filing date, the daim is: $0.00 $0.00
Bureau of Alcohol, Tobacco, Check all lhalapply-
F|rearms m Conltngent
and Explosives lIl unliquidated
Pub|lc Govemmenta| Attairs l Disputed
99 New York Ave., NE
Washlngton, DC 20226
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number is the claim subject to offset?
Specity Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) @)
m Yes
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mims roman
DeblGr Howell Munitions & Technology, lnc. Case number (lt known) 18.50610-btb
Name
§ 2.15 l Priority creditors name and mailing address As ot the petition filing date, the claim is: $0.00 $0.00
Callfomia Dept. of Tax and Fee Check all lh@l apply-
Admll'l. m Contingent
Speclal Operatlons Bktcy Team, El unliquidated
MlC:74 - Disputed
PO Box 942879
Sacramento, CA 94279-0074
Date or dates debt was incurred Basis for the ctaim:
For Notlce Purposes Only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection ot PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (_B_)
m Yes
j 2.16 l Priority creditors name and mailing address As of the petition filing date, the claim is: $3,610,22 $3,610,22
Chad M Kaufn'lann Check alllhalapply.
517 All'Way Dl' l:l Conti`ngent
LerSfOl\, ID 83501 n Unliquidated
E] Disputed
Date or dates debt was incurred Basis for the claim:
Various _
Last 4 digi’s ct amount number ls the claim subject to oftset?
Specify Code subsection of PR|OR|T¥ l No
unsecured claim: 11 U.S.C. § 507(a) (_4)
n Yes
j 2.17 Priority creditors name and mailing address As of the petition filing date, the claim is: $0,00 $0_00
Ch|ef Counsel Check all lhsl lipp/y-
FTB, Lega| Dept. m Conv`nsenf
PO Box 1':'20l MS A-260 El unliquidated
Rancho Cordova, CA 95741-1720 l nisputed
Date or dates debt was incurred Basis for the claim:
For Notlce Purposes On|y
Last 4 digits 01 amount number ls the claim subject to oliset?
Spec'rly Code subsection of PRlOR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
2.1a Priority creditors name and mailing address As er tire petition ming date, the elaim is: $960.93 $960.93
Chris A stout Check all that apply.
1036 Hem|ock Dr cl Contingent
Lewlston, |D 83501 El unliquidated
cl Disputed
Date or dates debt was incurred _ Basis for the claim:
Various mn …_` ___ 1
Last 4 digits ct amount number is tl'le claim subject to oftset?
Specity Code subsection of PR|OR|TY . No
unsecured claim: 11 U.S.C. § 507(a) (5_)
m Yes
Oft`lcial Form 206 E/F Schedule EIF: Credltors Who Have Unsecured Claims Page 5 of 76

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maria 10:24FM
Deblor Howell Munitions & Technology, lnc. Case number (ii knv~r\) 18-50610-btb
Name .
;52.19 Priority creditors name and mailing address Aa di die petition iiiing date, the claim is: $57.26 $57.26
Chrlstopher Hoit Check all that apply.
272 R|verboat Road n C°nflneert\
Dayton, NV 89403 E| unliquidated
l:l Dispuwd
Date or dates debt was incurred Basis for the daim:
Various
Last 4 digits of account number |s the dalm subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (4)
cl Yes
2.20 Priority creditors name and maliing address As of the petition filing date, the claim is: $0.00 $0,00
Clark County Assessor Check H” fhafaPP/y-
clo Bankruptcy C|erk n C°rllinsenf
500 S. Grand Central kay E| unliquidated
Box 551220 l Disputed
Las Vegas, NV 89155-1401
Date or dates debt was incuned Basis for the claim:
For Notlce Purposes Cnly
Last 4 digits cl account number is the daim subject to otiset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (_8)
cl ¥es
l 2.21 Priority creditors name and mailing address As ot tl'le petition filing date, the claim is: $0.00 $0.00
Clark County Treasurer Check all!hS!aPPIl/~
clo Bankruptcy C|erk n Conv'rlsent
500 S. Grand Centra| kay, Box E| unliquidated
55122° - Disputed
Las Vegas, NV 89155-1401
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits ct account number ls the claim subject to offset'?
Specify Code subsection of PR|OR|T¥ l N°
unsecured c|alm: 11 U.S.C. § 507(a) (§)
n Yes
; 2.22__] Priority creditors name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
Clayton J Ho|ton Check all wraple
2321 Si|ver Sage Drlve |:l contingent
Carson City, NV 89701 E| unilquidaled
E| Disputed
Date or dates debt was incuan Basis for the claim:
Various For notice purposes only
Last 4 digits cl account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N° -
unsecured ciaim: 11 U.S.C. § 507(a) (_4)
l:l Ves
Oliicia| Form 206 E/F Schedule EIF: Credltora Who Have Unsecured Claims Page 6 of 76

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Deblor Howell Munitions & Technology, |nc. Case number (ll kw~n) 18-50610-btb
Name '
§ 2.23 Priority creditors name and mailing address Aa or the petition ming date. the claim is: $906.75 $906.75
C|ayt°n L See|y Check all that apply.
2805 Sth Ave l:| Canllnoent
Lewlston, lD 83501 E| unliquidated
|Il Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
§ 2.24 Priority creditors name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
Commodity Futures Trading Check alllhalapply~
Commlsslon n Contingent
1155 21 st St. NW |:| unliquidated
Washlngton, DC 20581 l uispuwd
Date or dates debt was incuned Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to olfset'?
Specify Code subsection of PR|OR|TV l No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
§2.25 Priority creditors name and mailing address As ot the petition filing date, ind claim is: $1,375.00 $1 ,375.00
Corey Van Zante Check all lhaf apply.
3110 14th street c El contingent
Lewistonl lD 83501 Ei unliquidated
m Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number is the claim subject to offsot?
specify code subsection er Pnlonlrv l N°
unsecured claim: 11 U.S.C. § 507(a) (4)
m ¥es
l 2.26 Priority creditors name and mailing address As of the petition ming dete. the claim is: $37.26 $37.26
Dan He|llckson Check all lhallil=P/y-
1662 Ashley Drlve m Continsenf
Clarkston, WA 99403 E| unliquidated
C| Disputed
Date or dates debt was incurred Basis for the claim:
Various »_ j 4 _`_ ”__ m
Last 4 digits or account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (§)
El Yes
Ofliciel Fon'n 206 ElF Schedule EIF: Creditoro Who Have Unsecured Claims Page 7 of 16
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mma to:zar-wl
Debwr Howell Munitions & Technology, lnc. Case number (if wm) 18-50610-btb
Na.me
2.27 Priority creditors name end mailing address As of the petition filing date, the claim is: $1,665.30 $1,665.30
Danie| Manue| Agullar Check alllhatspply-
419 2nd Avenue, Apt 3 El contingent
Lewiston, |D 83501 E| unliquidamd
l:l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specily Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (5)
l:l Yes
l 2.28 Priority creditors name and mailing address As of the petition filing date, the claim is: $6,633.20 $5,533.20
Dara R Brlngman check all that apply.
335 th St. Apf. B El Contingent
Lewiston, lD 83501 E| unliquidated
E| Disputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecumd claim: 11 U.S.C. § 507(a) (_4)
I:l Yes
2.29 _~i Priority creditors name and mailing address As of the petition tillng date, the claim is: $5,991,34 $5,991 ,34
David C Howe|| Check ell that apply.
zss'ra Thleeean Rd El Coniinaoni
Lewiston, |D 83501 |:| unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (_4_)
n Yes
2.30 Priority creditors name and mailing address As of the petition fl|ing date, the claim is: $840.07 ' 3840.07
oavid Sanb°m Check all that apply.
102 N stn street El contingent
Kendrick, lD 83537 El unliquidated
m Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (_4)
n ‘(es
Ofl'lcia| Form 206 E/F Schedule EIF: Credltore Who Have Unsecured Claims Page B of 16

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D€bi€r Howell Munitions & Technology, |nc. Case number (ii morn) 18.50610.htb
Narria
‘ 2.31 Priority creditors name and mailing address As of the petition filing date, the claim is: $387.67 $387.67
David Town check author appiy.
1014 15th St. Apf. 2 n Contingent
Lewlston, lD 83501 E| unliquidated
El disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to cifsct?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
n Yes
2.32 Priority creditors name and mailing address As of the petition filing date. the claim is: $0_00 $D,OD
Dept. of Employment, Trainlng & Check all that apply~
Rehab n Contingent
Employment Security Dlvision El unliquidated
500 East Third Street l Disputed
Carson City, NV 89713
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to oli'set?
Specify Code subsection of PR|OR|T¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (§)
E| Yes
2.33 Priority creditors name and mailing address As of the petition filing date, the claim is: $4,285.25 $4,285.25
D°n Crea Check BII that apply.
4034 s Gartield El Contnoont
Spokane, WA 99203 E| unliquidated
E| Disputed
Date or dates debt was incurred Basis for the claim:
Various _
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) G)
n Yes
2.34 Priority creditors name end mailing address Aa or ina petition ming date, the claim is: $788.42 $788.42
Dona|d E Young Check allfhalapply.
1411 eryden Ave 6 El contingent
Lewiston, lD 83501 El unliquidated
E| Disputed
Date or dates debt was incurred Basis for the claim:
Various f
Last 4 digits of amount number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) Q)
m ¥es
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Debtor Howell Munitions & Technology, |nc_ Case number ('rl known) 18~50610-bfb
Name
§ 2.35 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $D.Oo
Envlronmenta| Protection Agency Check all Malapply.
orrieo or General counsel El continaent
1200 Pennsylvan|a Ave., N.W. ill unliquidated
Washlngton, DC 20460 l Disputed
Date or dates debt was inclined Basis for the claim:
For notice purposes only
Last 4 digits of account number is the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
2.36 Priority creditoi‘s name end mailing address As of the petition filing date, the claim is: $U.UO $0.00
Franchise Tax Board Chet=k ell theraple
Bankruptcy section, lvls A340 El contingent
PO Box 2952 l:l Unliquidated
Sacramento, CA 96812-2952 l Dispu,,d
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to oifset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
l 2.37 Priority creditol‘s name and mailing address As of the petition filing date, the claim is: $154.58 $154.58
Gary J Stecke| Check all that aple
1901 7fh Ave 4 l:l Contingent
Lewiston, lD 83501 i'_'| unliquidated
l:l Disputed
Date or dates debt was incurred Basis for the claim:
Various ,
Last 4 digits cf account number ls the claim subject to offset?
Specify Code subsection of PRiORlTY - N°
unsecured claim: 11 U.S.C. § 507(a) (g)
g Yes
:_2.33 Priority creditors name and mailing address Ao or the petition filing date, the olaim ie: $559.50 $559.50
G|oria Sto|te Check all that aple
37279 Growler Point Road m Cdnlinsenf
Reuberis, lD 83548 E| unliquidated
ij Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code Subsei:tion of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (5_)
l:l Ves
Off'lcial Form 205 ElF Schedule EIF: Creditora Who Have Unsecured Claims Page 10 of 76

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Deblor Howell Munitions & Technology, Inc. Case number (lilinown) 18.50510-btb
Ndme
§ 2.39 Priority creditors name and mailing address As of the petition filing date, the claim is: $658.90 $658.90
~ idaho State Tax Commission Check all lhvtapply.
Bankruptcy Divlsion n C°nllnsent
PO Box 36 EI unliquidated
Boise, lD 83722 l Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number ls the claim subject to offset'?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (§_)
n Yes
§ 2.40 Priority creditors name and mailing address As of the petition filing date, the claim is: $0,00 $0_00
internal Revenue Service Check ttll lhafttpply-
PO BOX 7346 n Contingent
Ph|iadelphia, PA 19101-7346 l:i Unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number is the claim subject to offset’?
Specify Code subsection cf PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
' 2.41 Priority creditors name and mailing address As of the petition filing date. the claim is: $6,435_60 $6,435_60
Jacob T Maasdam Check all lhafttpply-
630 D Preston Ave |:l Conlt`nsenl
Lewiston, iD 83501 |'_`| unliquidated
n Disputed
Date or dates debt was incun'ed Basis for the claim:
Various
Last 4 digits of amount number ls the claim subject to offset'?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (i)
n Yes
2.42 Priority creditors name and mailing address As of the petition filing date, the claim is: $1,346,16 $1 ,346.16
James Chase Check all lhal apply
1703 Cedar Drlve m Contindem
Lewiston, iD 83501 E| unliquidated
n Dispuwd
Date or dates debt was incurred Basis for the claim:
Various j ii _ j m
Last4 digits ot account number is the claim subject to offset'il
Specify Code subsection of PRIOR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (i)
n Yes
Offlc|ai Form 206 E/F Schedule EIF: Credttore Who Have Unsecured Claims Page 11 of 16

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Debtcr Howell Munitions & Technology, inc. Case number (tt ltttowrt) 18-50610-btb
Name
i Priority creditors name and mailing address As of the petition Eiing date, the claim is: $4,558.90 $4,558.90
Jeff J L°hman Check all that Bpply.
PO Box 493 n Contingertt
Ju|iaetta, lD 83535 Ei unliquidated
El Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number is the claim subject to cftset?
Spacify Code subsection of PR|OR|T¥ - No
unsecured claim: 11 U.S.C. § 507(a) (g)
n Yes
2.44 Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,420.65 $1,420.65
Jeffrey Alan Ackeret Cha¢k all lhal'an/y-
2623 sunset cr El contingent
Lewlston, lD 83501 E| unliquidated
l:i Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to oifset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) Q)
m Yes
2.45 Priority creditors name end mailing address As of the petition filing date, the claim is: $788.33 $788.33
Jeremy Jenklns Check all lhal apply-
1304 15th Ave El contingent
Lewiston, lD 83501 E unliquidated
|Ii Disputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits of account number is the claim subject to offset?
Specify Code subsection of PR|OR|TV l N°
unsecured claim: 11 U.S.C. § 507(a) @)
|:i Yes
§ 2.46 Priority creditors name and mailing address As of the petition filing date. the claim is: $628.13 $628.13
Jessie M Baker Check al/ihatappry.
2130 Hillyat'd DI'iVB n Contirtgent
Ciarkston, WA 99403 E| unliquidated
n Disputed
Date or dates debt was incurred Basis for the daim:
Various
Last 4 digits of account number is the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (g)
l:l Yes
Oiticial Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 12 of 18

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Deber Howell Mun|tlons & Technology, |nc. Case number (lf knv~n) 18-50610-btb
Namo
§2.47. Priority creditors name and mailing address As cf the petition ming date, the claim is: $2,596_27 $2,596_21
Jesus Ramlrez Check all fhafapply-
2109 ldah° Sfreef n Contingent
Carson City, NV 89701 E| unliquidated
l'_'l oie.puied
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to cftset?
Specify Code subsection cf PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
g Yes
2.48 Priority creditors name and mailing address As cf the petition filing date, the claim is: $111 _00 $1 11,00
John Klssler Check all lhatapply.
3415 afh Sf Apf F n Conti'ngent
Lewiston, iD 83501 \:l unliquidated
\:l oispuied
Date or dates debt was incurred Basis for the claim:
Various
Last 4 d|gits cf account number ls the claim subject to cflset'?
Specify Code subsection cf PR|OR|T¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (i)
n ¥es
§2.49 Priority creditors name and mailing address As cf the petition filing date, the claim is: $4,432,04 $0_00
Joseph Levl Seldeman Check H” lh@l apply-
1328 14 Ave n Contingent
Lewiston, lD 83501 El unliquidated
El oispuied
Date or dates debt was incurred _ Basis for the claim:
Various j
Last 4 digits of amount number ls the claim subject to oftset?
Specify Code subsection cl PR|OR|T¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (i)
n Yes
2.50 *] Priority creditors name and mailing address As of the petition filing date. the claim is: __ ___ $1 ,470_94 $1,470_94
Joshua Wem|inger Check all mal aPPll'-
1208 11th Avenue n Conv'rlsenl
Lewiston, |D 83501 E| unliquidated
El Disputed
Date or dates debt was incurred Basis lor the claim:
Various n 4 _M__ v H__
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection ct PRlORlTY - N°
unsecured claim: 11 U.S.C. § 507(a) (_4)
n ‘(es
Oflicial Form 206 ElF Schedule EIF: Credltors Who Have Unsecured Claims Page 13 of 76

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Deblvr Howell Munitions & Technology, lnc. Case number (il mwm) 18-50610-btb
NE|TIB
2.51 Priority creditors name end mailing address As of the petition filing date, the claim is: $3,240.48 $3,240.48
Karin Ne|s°n Check all dial apply.
3201 sti-i street c El contingent
Lew|ston, lD 83601 |Il unliquidated
l:l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to onset?
Specify Code subsection ot PR|OR|TY . N°
unsecured claim: 11 U.S.C. § 507(a) (4)
l:l ¥es
` 2.52 Priority creditors name and mailing address As of the petition filing date, the claim is: $3,269,83 $3,269.83
Kathryn l Mar[°n Check all Mal HPPly.
304 Watson Sf l:l Contingent
Culdesac, lD 83524 El unliquidated
l:l Dlsputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY . N°
unsecured claim: 11 U.S.C. § 507(a) (i)
l:l Yes
2.53 Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,441 ,23 $1,441_23
Kelsey Dawn Wakefield Check all that apply
39565 Whisparlng Plnes Lane n C°nlinoerlf
Lewlston, |D 83501 El unliquidated
l:l Disputed
Date cr dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
specify cede subsection et PRioRl'rY l No
unsecured claim: 11 U.S.C. § 507(a) w
m Yes
2.54 Pn'erity creditors name end mailing address As er the petition filing date, the deirn is: $1 ,102.50 $1,102.50
Kevln Robert Acree Check all lllal apply
1714 Burrell AVB n Contingent
Lewiston, |D 83501 |Il unliquidated
|Il Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits ot account number ls the claim subject to ctiset?
Specify Code subsection cf PR|OR|T¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (g)
l.:l Yes
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Debfor Howell Munitions & Technology, |nc. Case number (ii mn) 13.50510-¢,¢1,
blame
i_2.55 Priority creditors name and mailing address As of the petition filing date. the claim is: $2,943_51 $2,943_51
Krlsta Lathrop Check err thetepp/y.
1331 Boston St U contingent
Clafksfon, WA 99403 n Unliquideted
|:| disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits cf account number ls the claim subject to offset?
specify code subsection or PRloRlTY l N.,
unsecured claim: 11 U.S.C. § 507(a) (Q
U Yes
§2.56 Priority creditors name and mailing address As cf the petition filing date, the claim is: $911.88 $911.88
Ker Tay|or Garrlson Check all theraple
824 nn Sfl'eef m Contingent
Clarkston, WA 99403 |Il unliquidated
l:l Dispuwd
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the daim subject to ottset?
Specity Code subsection o‘i PRlOR|TY l N°
unsecured claim: 11 U.S.C, § 507(a) (_4)
n Yes
l 2.57 Priority creditors name and mailing address As of the petition filing date. the daim is: $1,359.08 $1,359.08
Lisa McEwen Check all misple
520 s B s¢_ lI| contingent
Grangeville, |D 83530 |Ii unliquidated
ij Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRIOR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
m Yes
§ 2.58 Priority creditors name and mading address As of the petition H|ing date, the claim is: $86.9? $86,91
Lucas R. Evonne Check alllhalapply-
5301 s Rome cir El Comlnoem
Aurora, CO 80015 ij unliquidewd
n Disputed
Date or dates debt was incuned Basis for the claim:
Various ,_ j
Last 4 digits ct account number ls the claim subject to offset?
specify code subsection or PRloRlTv l No
unsecured claim: 11 U.S.C. § 507(a) (g)
n Yes
Oi'iioial Form 208 ElF Schedule EIF: Creditore Who Have Unsecured Claims Page 15 of 16

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Deblor Howell Munitions 8. Technology, lnc, Case number (ir town) 18-50610-[1‘|£|3
Namo
l 2.59 Priority creditors name and mailing address As of the petition filing date, the claim is: $5,295.86 $5,295.86
Matt D°ds°n Che€k B” war BPPIy.
181 Schu|ler Grade Road m Ccnflnseni
Yaklma, WA 98908 L'.l unliquidated
Ei oisputed
Date or dates debt was incun'ed Basis for the daim:
Various
Last 4 digits of account number le the claim subject to cftset?
specify code subsection of PRloRlTY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
g Yes
2.60 Priority creditors name and mailing address As cf the petition filing date, the dalm is: $1 0,756.38 $10,756.38
Matthew R Lerche Cl'€°k all lhalvpply~
1919 siren Ave L'-| Conn'neenl
Lew|ston, |D 83501 Ei unliquidated
L_.] Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digiB of account number is the claim subject to offset?
Speclfy Code subsection of PR|OR|T¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (i)
El Yes
§ 2.61 Priority creditors name and melting address As or the petition rising date, tire claim ls: $713.70 $713.70
Matthew W Shaw Ch€¢=lf all lh€lapply-
204 3rd Sfl‘BBf n Contingent
Lewiston, lD 83501 lJ unliquidated
m Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits ct account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T¥ l No
unsecured claim: 11 U.S.C. § 507(a) (i)
g Yes
§FZ.BZ Priority creditors name and mailing address As of the petition filing date, the claim is: $983.40 $983.40
Mlchae| Arthur Long Check withersple
2031 Lone Meuntain # 49 El contingent
Carson City, NV 89706 |:l unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (i)
\:l Yes
Odicial Form 206 E/F Schedule EIF: Credltore Who Have Unsecured Claims Page 16 of 16

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Deblor Howell Munitions & Technology, |nc. Case number (ii itntwn) 18-50610-btb
Name
§ 2.63 Priority creditors name and mailing address As of the petition filing date. the claim is: $81 9,00 5819.00
Michael Da| Harre|| Check all that apply.
3501 11th st |:l Contingent
iewiston, lD 83501 E| unliquidated
n Disputed
Date cr dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRlOR|T¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (g)
n Yes
§ 2.64 Priority creditors name and mailing address As of the petition filing date. the claim is: $0,00 $D,DD
Michael Mundy Che¢=k all that apply-
3958 Fodthiil Drlve |Zl contingent
Lewiston, |D 83501 El unliquidated
E| cleputed
Date or dates debt was incurred Basis for the claim:
Various For notice purposes only
Last 4 digits of amount number ls the claim subject to offset?
Speclfy Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
n ¥es
2.65 l Priority creditors name and mailing address As of the petition filing date, the claim is: $2,158.00 $2,158.00
Michael Rogers Check till that apply.
1621 18th Ave. El contingent
Lewlston, lD 83501 El unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of amount number ls the claim subject to offset?
Specify Code subsection of PRlOR|T¥ l N°
unsecured claims 11 U.S.C. § 507(a) (§)
E Ves
_ 2.66 Priority creditors name and mailing address As of the pen'tion filing date, the claim is: $2,893.18 $2,893.78
Mlchae| T Devin Che¢k all that apply.
1811 12th ave El contingent
Lewlston, lD 83501 E| unliquidated
l:i Dlsputed
Date or dates debt was inclined Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to cfiset?
Specify Code subsection of PR|OR|TY l No
unsecqu claim: 11 U.S.C. § 507(a) (5)
cl Yes
Oflicial Form 206 E/F Schedule EIF: Credltore Who Have Unsecured Claims Page 17 of 76
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Debtor Howell Munitions & Technology, |nc. Case number (ii knwr\) 18-50610-btb
NB|TlB
2.67 Priority creditors name and mailing address As of the petition Eiing date, the claim is: $599.65 $599.65
Mike Doxtat°r Check all that apply.
PoB 1068 El Centneent
Lewiston, |D 83501 1'_'| unliquidated
El oiepuwd
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits cf account number is the claim subject to offset?
Spectfy Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
l:l Yes
§ 2.68 Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,155.75 $1,155.15
Nathan Dreadfulwater Check all wraple
1209 Grelle Ave El Gentneent
Lewiston, |D 83501 E| unliquidated
m Dlsputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Speciiy Code subsection ct PR|OR|T¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (i)
l:l Yes
2.69 Priority creditors name and mailing address As ct the petition ming date, the claim is: $1,046.61 $1,046.61
Nathan W Ka rk| Check all that apply.
1718 tst street Cl Contlnoent
Lewiston, |D 83501 Ei unliquidated
l'_'| Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
m Yes
LZ._70 Priority creditors name and mailing address As cf the petition tiling date. the claim is: $0.00 $0.00
Nevada Department of Taxatlon Check all lhafapply-
Bankruptcy Section cl C°n!lnaem
555 E. Washington Ave., #1300 El unliquidated
La$ Vegas, Nv 89101 - Disputed
Date cr dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N¢
unsecumd claim: 11 U.S.C. § 507(a) (§)
n Yes
Ofl'icial Form 206 ElF Schedule EIF: Cradltore Who Have Unsecured Claims Page 18 of 16

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Debef Howell Munltlons 81 Technology, |nc. Case number (ii luidwn) 18.50610-|;1};
Nama
2.71 Priority creditors name and mailing address Ae et the petition filing date. me saint is: $0.00 $0.00
Nevada Department of Taxatlon Check allllwlapply.
Bankruptcy Sectton El contingent
4600 Kletzke Ln., Sulte L-235 El unliquidated
Reno, NV 89502 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection cf PR|OR|TY l No
unsecqu claim: 11 U.S.C. § 507(a) @)
n Yes
§2.72 Priority creditors name and mailing address As of the petition filing date, the claim is: $96,41 $96_41
Nevada Deparlment of Taxation Clw¢=k all lhal aple
1550 Col|ege Parkway, Ste. 115 n C°nfinsen\
Carson City, NV 89706 Ei unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 501(a) (§)
m Yes
2.73 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Nevada Dept of Environmenta| Check all lhalapply-
Protection Cl contingent
901 S. Stewart Street, Suite 4001 El unliquidated
Carson City, NV 89701 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last4 digits cf account number ls the claim subjeottc oftset?
Specity Code subsection of PR|OR|TY l N°
unsecured daim: 11 U.S.C. § 507(a) (§)
n Yes
§ 2.74 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Nevada Dept of Environmenta| Check all lhal apply-
P|"Otectl°l\ n Contingent
2030 E. F|amingo Road, Suite 230 El unliquidated
Las Vegas, NV 89119 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits cf account number ls the claim subject tn offsef?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (§)
m Yes
Oflicial Form 206 E/F Schedule EIF: Cradltors Who Have Unsecured Claims Page 19 of 16
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Debwr Howell Munitions & Technology, |nc. Case number ('rl mn) 18-50610-btb
Name
2.75 Friority md'rtors name and mailing address As of the petition tiiing date, the claim is: $60.00 $GO.UU
Raymond Dave Tyson Cl"»’¢=k all llwl HFPlV~
20840 Nw Keehina Ave El contingent
Redmond, OR 97156 |'_'i unliquidated
E Disputed
Date or dates debt was incurred Basis for the cla|m:
Various
Last 4 digits of account number ls the claim subject to oti'set?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (i)
|'_"| Yes
2.76 Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,440.60 $1,440.60
Reymon Joseph Parot Check Bll lhal aPPlit-
PO BOX 854 n Contingent
Asotln, WA 99402 El unliquidated
l:l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Speclfy Code subsection of PR|OR|TYr l No
unsecumd claim: 11 U.S.C. § 507(a) (_4)
l:l Ves
v 2.77 Priority creditors name and mailing address As of the petition filing date, the claim is: $64,64 $64.64
Roberf° Garza Check BII MB{ apply.
2821 Lovelace Way l:l Contingent
Carson City, NV 89706 El unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
specify code subsection el PRloRiTY l N°
unsecured claim: 11 U.S.C. § 507(a) (5)
l:l Yes
;2.78 l Priority creditors name and mailing address As of the petition filing date, the claim is: $338.1 0 $338.10
Rodolfo Ahumada Check Blllhalapply-
293 Monte Crlsto Drive El Contingent
Daywl\, NV 894-03 l:l Unliquidated
El Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to oftset?
Specify Code subsection of PRlORlT¥ - No
unsecured claim: 11 U.S.C. § 507(a) (_4)
l:\ Yes
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Debwr Howell Munitions & Technology, |nc. Case number (ii mn) 1a.50610.btb
Narno
§2.79 Priority creditors name and mailing address As of the petition filing date, the claim is: $4,897_59 $4,897_59
Scott B Penton Check ttllthal apply-
1060 Canterwood Drlve 13 Contingent
Moecow, iD 83843 Ei unliquidated
IJ Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of amount number ls the claim subject to offset?
speedy code subsection at PRloRlTY l N°
unsecured claim: 11 U.S.C. § 507(a) Qt_)
n ¥es
l 2.80 Priority creditors name and mailing address As of the petition filing date, the claim is: $3,974.72 $3,974.72
Sean Brady Beeker ChBl-‘k all lhalBPPly~
2611 MEadDWlal’k Dl’ \:i Contingent
Lewiston, lD 83501 Ei unliquidated
El Dlsputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number is tile claim subject to offset?
Specily Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (3_)
l:l Yes
’ 2.81 Priority creditors name and mailing address As cf the petition filing date, the claim is: $0,00 $0_00
Secretary of tile Treasury Check all theraple
1500 Pennsylvania Ave. Nw El contingent
Washington, DC 20220 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number is the claim subject to offset?
specify code subsection at PRloRlTY l No
unsecured claim: 11 U.S.C. § 507(a) (_8_)
n Yes
2.82 Priority creditors name and mailing address As of the petition H|ing date. the claim is: $1,055.60 $7,055.60

 

 

Shaun Barclay Check all thai aple
1815 lmnaha Lane E\ Contingent
Lewiston, lD 83501 |:i unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number lathe claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (5_)
ij Yes

 

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Schedule Ele Cmdltora Who Have Unsecured Claims
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Debtor Howell Munitions & Technology, |nc. Case number (tf mm) 18-50610-bth
NEmB
, 233 Priority creditors name and mailing address Ae di the petition iiling date, ina claim is: $1,048.04 $1 ,048.04
shawn Burke Check all that apply
141 shlleh or El contingent
Lewiston, lD 83501 E| unliquidated
m Dispuwd
Date or dates debt was.incurred Basis for the daim:
Various
Last 4 digits ot account number ls the claim subject to offset?
Specify Code subsection of PR|ORlTY l N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
n Yes
§ 2.B4 § Priority creditors name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
Smal| Buslness Adm|nlstrat|on Check all lhalapply.
1020 Main St., #290 n C°n¥lnaem
Boise, lD 83702 El unliquidated
- Disputed
Date or dates debt was incuned Basis for the claim:
For notice purposes only
Last 4 digits ct account number is the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (§)
El Yes
2.65 Priority creditors name and mailing address As of tl'le petition filing date, the claim is: $0.00 $0.00
Soclal Security Admlnistratlon Check all that app/y-
ofileg ar the Regienal chief El contingent
Counsel El unliquidated
160 Spear Street, Suite 800 l Disputed
San Franclsco, CA 94105-1545
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number is the claim subject to odset?
Specify Code subsection of PRiORlT¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
l:l Yes
§ 2.86 Priority creditors name and mailing address As of the petition filing date, the claim is: $9,154.57 $9,154.57
Stephen S Howell Check alllhalapply-
835 Fl'°Sf Ll'l n Contingent
Clarkston, WA 99403 EI unliquidated
El Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset'i'
specify code subsection ar PRloRlTY l N°
unsecured claim: 11 U.S.C. § 507(a) (g)
El Yes
Otiicial Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 22 of 76

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Debior Howell Munitions & Technology, |nc. Case number (ii kno~rt) 18-50610-btb
Nsme
l 2.87 l Priority creditors name end maning address As cf the petition filing date, the claim is: $11 9,41 $119,41
Steven Mlchae| Hil| Check all lha!arrply-
PO Box 562 n Contingent
AS°flrl, WA 99402 n Unliquidated
|:l oiaputad
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits cf account number ls the claim subject tlo offset?
Specify Code subsedion of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (5)
n ¥es
i 2.88 Priority creditors name and mailing address As ct the petition filing date, the claim is: $663,00 $663.00
Tequis Gamett Penney Chc<=l¢ c/lfhclcpply.
PO BOX 417 m Contingent
Lapwai, lD 83540 El unliquidated
l:l disputed
Date or dates debt was incun'ed Basis for the daim:
Various
Last 4 digits ct account number ls the claim subject to offset?
Specil‘y Code subsection ct PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (Q)
n Yes
l 2.89 Priority creditors name and mailing address As of the petition tiiing date. the claim is: $0_00 $0,00
Texas Workforce Commisslon Check Hll thwartle
Regulatory integrity oivieicn»sAu El contingent
101 E. 15th St., Room 556 |Zl unliquidated
Austirl, TX 78778-0001 l oispuwd
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits cf account number ls the claim subject tc offset?
Specity Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Ves
g 2.90 Priority creditors name and maning address As of the petition ming date, the claim is: $4,707.12 $4,107.12
Timothy B Stevenson Sr Check alllhafapply-
P.o. Box 1805 EJ contingent
Lewiston, lD 83501 |Zl unliquidated
n Disputed
Date or dates debt was incurred _ Basis for the daim:
Various 1 j
Last 4 digits of amount number ls the claim subject to offset'?
Specify Code subsection ct PR|OR|T¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (_4)
l:.l ¥es
Ofticial Form 206 E/F Schedule EIF: Croditors Who Have Unsecured Claims Page 23 of 76
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Debtcr Howell Munltlons & Technology, |nc_ Case number (ifknown) 18-50610-bfb
Nama ,
2.91 Priority creditors name and mailing address As ot the petition filing date. the claim is: $3,011.09 $3,011.09
Timothy R N°"'is Check B” lhal' app!y.
904 25th Avenue # 201 El contingent
Lewiston, lD 83501 E| unliquidated
EI Dlsputed
Date or dates debt was lncuned Basis for the claim:
Various
Last 4 digits of account number le the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (4)
l:l Yes
2.92 Priority creditors name and mailing address As ct the petition filing datel the claim is: $11,325.61 $11,325.61
Tobias D Thlll Check all that apply.
122 15th Avenue L_-l Ccitv'itscn!
Lewiston, lD 83501 |:l Unllquidated
El Disputed
Date cr dates debt was incun'ed Basis for the claim:
Various
Last 4 digits of amount number ls the claim subject to offset?
Specify Code subsection of PRlORlTY l N°
unsecured claim: 11 U.S.C. § 507(a) (i)
n Yes
2.93 Priority creditors name and mailing address As ot the petition filing date, the claim is: $1 ,233_48 $1 ,233_48
Travls Johnson Check all that apply-
3333 1/2 5th St l:| contingent
Lewiston, |D 83501 E| unliquidated
El oieputed
Date or dates debt was inclined Basis for the claim:
Various .
Last 4 digits of account number ls the claim subject to offsat?
Specify Code subsection of F'RlORlTY - N°
unsecured claim: 11 U.S.C. § 507(a) (g)
l:l Yes
5 2.94 Priority creditors name and mailing address As of the petition filing date, the claim is: $1,498.55 $1,498.55
Trevor TJ Torrez Check all that apply.
205 14th Ave El contingent
Lewiston, |D 83501 l:| unliquidated
n Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TV l N°
unsecured claim: 11 U.S.C. § 501(a) (i)
n Yes
Otiida| Form 206 ElF Schedule EIF: Creditiore Who Have Unsecured Claims Page 24 of 16

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maria tamm
Debtor Howeil Munitions & Technology, inc. Case number (tlitnd~n) 13.50510.\,15
NB|T\B
§ 2.95 § Pl'iority creditors name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
U.S. Department of Labor Check all fhafaPPly-
occupational safety s. lloalth El contingent
Admln. El unliquidated
200 Constltution Avenue, NW l Disputed
Room# N3626
Wa$hlngton, DC 20210
Date or dates debt was incurred Basis for the daim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
cl Yes
'l 2.96 Priority creditors name end mailing address As of the petition ftiing date, the claim is: $D.UO $0.00
U.S. Dept. of Treasury Check alllhalapply.
Atcohol and Tobacco Tax and n Contingent
Trade Bureau Cl unliquidated
Office of Communications l Disputed __
1310 G Sfreef, NW, Box 12
Washlngton, DC 20005
Date or dates debt was incun'ed Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TV l N¢,
unsecured claim: 11 U.S.C. § 507(a) (§)
cl Yes
2.97 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
United States Attomey Check all theraple
100 w. l.iborty stroot, #soo Cl contingent
Reno, NV 89501 E| unliquide
- Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits cf account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
m ¥es
;_2.98 Priority creditors name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
United States Attorney's Office Check all theraple
Attn: civil Proooss clerk E| conlinoent
501 Las Vegas Blvd., South, Suite El uniiquidotnd
1 100 l oioputod
Las Vagas, NV 89101
Date or dates debt was incun'ed Basis for the claim:
For Notlce Purposes On|y
Last 4 digiB of account number ls the claim subject to nffse\?
Specii'y Code subsection of PRlOR|T¥ l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
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Debtor Howell Munitions & Technology, |nc. Case number (llkmwn)
Name
§2.99 Priority creditors name and mailing address As of the petition filing date. the claim is:
US Securities & Exchange Check all¢halspnly.
COmmlSSlon n Contingent
Attn: Bankruptcy Counssl Cl unliquidated
444 S. Flower St., Ste. 900 l Disputed
Los Ang£les, CA 90071~9591
Date or dates debt was lncurred Basis for the claim:

For notice purposes only

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Last 4 digits of amount number

Speci|y Code subsection of PR|OR|TV
unsecured claim: 11 U.S.C. § 507(a) (§)

is tile claim subject to offset'?
- No
n Yes

$0.00 $0.00

 

Llst Aii creditors with NoNPRloRiTY unsecured claims
3. Llst in alphabetical order all of the creditors with nonpriority unsecured claims. lf the debtor has more than 6 creditors with nonpriority unsecured claims. fill

out and attach the Additional Page of Part 2.

 

 

 

 

 

Amount of claim
3.1 Nonprlorlty creditors name and mailing address As of the petition filing date, the claim is: check allthatspply. $0.00
823 D Stl'eef, LLC l:l Contingent
823 D Street E| unliquidated
Lewiston, lD 83501 El Disputed
Dat°(°) debt was |“°“"'°d - Basis for the claim:
Last 4 digits of account number_
, is the claim subject to onset? l No El yes
3.2 Nonprtorlty creditors name and mailing address As of the petition filing date, the claim is: check all that apply. $0.00
A-L Compressed Gases, |nc. El contingent
4230 E Trent Ave L'.l unliquidated
Spokane, WA 99202 v d - Disputed
Date s debt was incurred a 0l.lS
( ) __ seals rortno ololrn: For Notlce Pur oses Onl
Last 4 digits of account number _
is tire claim subject to offsot? - No n ¥es
3.3 § Nonprlority creditors name and mailing address As of the petition filing date, the claim ls: Check all that apply. $550.00
Absoluta Mach|ne So|utlons El contingent '
26387 Rocky Top Lans |:] Un"qu;dated
Lapwa|, |D 83540 g Disputed
Data(s) debt was incurred Various Basla for the claim
Last 4 digits of account numbar_ _
ls the claim subject to offset? - No l:l Yes
§ 3.4 Nonprtorlty creditors name and mailing address As of the petition filing date, the claim is: check sllthatapply. $531.59
Action Medica| lnc El contingent
PO Box 189 El unliquidated
Newmann Laks, WA 99025 L`.| Dlsputed
oate(o) debt was incurred Various ama forum mm _
Last 4 digits of account number _
is the claim subjectto oti‘set? - No n ¥es
3.5 Nonprtortty creditors name and mailing address As of the petition tlilng date, the claim ls: check all that spply. $1 ,985.22
ADP, ll'\¢. m Contingent
PO BOX 842875 n Unliqu;dated
Boston, MA 02284 E| Disputed
oato(e) dobtwne incurred Various ama form cmw-
Last 4 digits of account number _
le tne eleirn subjeetto ellison l No El Yee
Officia| Form 206 ElF Schedule EIF: Cradltors Who Have Unsecured Claims Page 26 of 16

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Debior Howell Munitions & Technology, |nc. Case number (lf knvwri) 18-50610-btb
Name
3.6 Nonprlority creditors name and mailing address As of the petition tillng date. the claim is: checked ihsiapply. $633.34
ADT Security Sevlces n Contingent
PO Box 311878 II| unliquidated
Pltwburgh, PA 15250'7878 n Dlsputed
Data(o) debt was incurred Various Basis for ma claim: _
Laet 4 digits of account number_
is the claim subject to ofiset? l No n Yes
’ 3.7 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check sll inst spp/y. $0.00
Advanced CFO |Zi contingent
Egg'l w MCMl"al'l Rd n Unliquidaied
l i ted
Boiso, lo sam ° °"“
oatc(n) debt was incurred _ .B“‘° '°' "‘° °'°"'" -
Last 4 digits of account number _ is the claim subject fe unsef? - N° n YBS
3.8 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkin trier apply $4,932.07
Alr E|ectric El contingent
5603 E. 3rd Ave. ij Uniiquidaied
Spokane, WA 99212 ij Dispuwd
Date(s) debt was inclined Various Basis for the claim: _
Last 4 digits of account number_ .
is tire claim subject to arisen l No Ci Yes
§ 3.9 Nonprlority creditors name and mailing address As of the petition filing date, the claim is: check author sppiy, $SSS.OD
Alan Baker CO, LLC EI Contingent
§§ag 21 28 l:| unliquidated
ox g -
Dls uted
San Francisco, CA 94083 p
oato(s) debt was incurred Various ama m me dam "
Laat4 digits of account number_ ls the da|m subje°tt° °Hsew . N° n Yes
3.10 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all thereupon $159.60
Alcobra l:l Contingent
:;?°T'U¢::mas st m Uniiquidated
reya El disputed
Spokane, WA 99217
B i th l l :
ootc(o) debt woo incurred Various as ° f°' ° ° a m ”
Last 4 mem of account number_ is the claim subject to offset? - No m ¥es
3.11 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all lhaiapply. $90.00
Aiex Rakos El contingent
710 Sunset Blvd. Norti'l. Unit B [:l unliquidated
Sunset Beach, NC 28468 |I| Disputed
Dats(s) debt was incurred Various Bas|a for the claim: _
4 l I‘B f f be
Last d g o acc°un nom r" is the claim subjectto offset? - No m ¥es
3.12 Noripriority creditors name and mailing address As of ti'ie petition filing date, the claim is: Checkall trial apply $1 ,600.00
Aiexls Knowles [] contingent
574 E. Lenign Drlve [] unliquidated
Deitona, FL 32738 [] Disputed
Date(e) debt was incurred Various Bash for the claims __
La 4 l l‘lB f f b
st d g ° accmm nom or_ ls the claim subject to oiiset? - No [] ¥es
Oiiicial Form 206 ElF Schedule Ele Creditors Who Have Unsecured Claims Fags 21 of 76
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Debter Howell Munitions s Technology, inc. Case number li,'em) 18-50610~!11!=
NEil'iB ~‘.
§ 3.13 Nonprlority creditors name and mailing address As of the petition filing date. tire claim is: Check author apply. $181.55
Ail'|ambra n Contingent
P0 Box 660579 E| uniiquidated
Dalias, TX 75266-0579 I:l Dlsputed
oateloi debt was incurred Various mm for me dam
Last 4 diana of account number " is the claim subjecttc offset’i' . No ij Yes
§ 3.14 § Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all maiapply. 5875.00
Aii-American Publishlng L`.l contingent
5411 Kenda|l St. |'J unliquidated
BUlSB, lD 837°6 m Disputed
Date(s) debt was lncun'ed Various ama for me damn
ii
L““ d'°n° °f °°°°"" number ~ le tile claim subjects arisen l rio Ei roe
§ 3.15 Nonprlorlty creditors name and mailing address As of tire petition filing date, tile claim is: check alithaiappry. $229.08
Allen NlChOlaB n Contingent
412 Hopewell Rd. C| unliquidated
Maryvii|e, TN 37801 g Disputed
Date(s) debt was incurred Various sub for me cla|m:
La 4 f f be
st diana ° a°‘:°un ""m '” le tire claim aubiectto onser) l No Cl ven
3.16 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Checkall that apply. $1,455.20
Al|ied Electronics, inc I'_'l contingent
Chris iendqulst Tom g Un,§qu§dmd
PO Box 2325 g .
D fed
Fort worth, Tx 76113 's""
oatele) debt was incurred Various B“'° f°' m dam ~
Last 4 mem of account numb°,_ is the claim subject te arisen . No E| res
:l,ir § Nonpriority creditors name end mailing address Ae ortho petition sting date, tire claim ie: cneclreii metepply. $1,920.00
A|yssa Gambla Ei contingent
8460 W 91st St. El unliquidated
Hickory Hilis, lL 60457 |-_-] Disputed
Date(s) debt was incurred Various eagle for the cla'm: _
Last 4 digits of account number _
is the claim subject to ofise\? . No n Yes
§ 3.18 Nonprioiity creditors name and mailing address As of the petition filing date, the claim is: check dinner appy. $0.00
American Security Brass & Reloading E| contingent
PO Box 9169 Ci unliquidated
Groerton, Tauranga, New Zealand - Disputed
Date(s) debt was incun'ed _
Basis for the claim: _
Last 4 digits of account number_
is the claim subjects arisen Ci No l Yes
§ 3.19 Nonpriority creditors name and mailing address As of the petition iiiing date. ti'ie claim is: Check author spply. $1 ,737.96
gmer|lprlde n Contingent
"9° El unit uidated
Po Box 1160 n msqu
Bemidjl, MN 5681 9-1 1 60
oatelo) debt won incurred Various B°°'° f°" "'° °'°'"" -
Last 4 drum of account number _ is tile claim subject to oiisst? - No U \'es
Oiiicia| Form 206 ElF Schedule EIF: Creditore Who Have Unsecured Claims Page 28 of 76

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Debtor Howell Munitions & Technology, Inc. Case number (H irwn) 18-50610-btb
Narm°
Nonpriority creditors name and mailing address As of the petition filing date. ti'te claim ls: Check ellrharapply. $0.00
Ammo Direct El contingent
;.O. ::x 91169 El unliquidated
res n, auranga, New Zealand l Dispmed
Date(s) debt was incumd _
Basis for the claim:
Last 4 digits of account number _ _
la the claim subject to ofiset? - No cl Yes
3.21 Nonpr|ority creditors name and mailing address As of the petition filing date, tito claim is: Check ailrhaiappiy. $0.00
Ammo Load Woridwlde, |nc. El contingent
215 :D Stre:a|; 835 1 Ei unliquidated
ew ston, 0 - Disputed
Dets(s) debt was incurred _
Basis for tire claim: _
Last 4 digits of account number __
la the claim subjecitc ofiset? [:l No - Yes
3.22 Nonprlorlty creditors name and mailing address As of tha petition filing date, the claim Is: check allrharappry. $3,000.00
AmmoSeek LLC Ei contingent
404 Lindsay Court Ei unliquidated
Berryvllle, VA 22611 [:| Disputed
oatoio) debt wire incurred Various ama forum dam _
Last 4 digits of account number_
ls the claim subject to offsei? . No n Yes
3.23 l Nonpriority creditors name and mailing address As of ti'tc petition filing date, the claim is: Check all that appry. $242.00
Amp|e Supply Co El contingent
ma s P irl nri cl unliquidated
. m 6 Ve m .
Dis uted
Sycamore, iL 801 78 p
Date(s) debt was incurred Various goals for the cm|m' _
Lm 4 mem of account number_ la tire claim subject to arisen l No |:i Yes
l 3.24 Nonprior|ty creditors name and malilng address A.s of the petition filing date. the claim is: Check airrhoiappry. $1,336.00
Anafek LabS, lnC El Contingent
1282 Aituras Drlve Ei unliquidated
Moscow, lD 83843 g Disputed
oate(c) debt was incurred Various sasz m the dam _
Last 4 digits of account number _ _ _
is the claim subject m offsel? . No ij Yes
3.25 Nonpriority creditors name and mailing address As of tile petition filing date, the claim is: check ali inst appry. $76,690.50
Anatolia F|sek Sanayl ve Ticar ij contingent
Engln El unliquidated
Sanay| Cad. 110 Annutiu n Disputed
Kemalpasa lzmir, Turkey 35373-0000
B is fn th l l :
Dats(s) debt was incun'ed Various as r 6 c a m _
Last 4 digits of account number _ la the daim subject w men . N° n Yes
3.26 Nonprlority creditors name and mailing address As of tire petition filing date, the claim is: Checkallrherapply. 3144.77
Andrew Let'ier El contingent
2960 Carety C|rcle El unliquidated
De Pere, wl 54115 n Disputed
Dato(s) debt was incurred Various Basis for the claim: _
81 4 dl H.B of f be
La g acc°un nom r_ is the claim subject to ofissi? - No n Yes
Ofiiciai Form 206 ElF Schedule ElF: Cl'edltors Who Have Unsecured Claims page 29 of 76
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Deblor Howell Munitions & Technology, |nc. Case number (" k“°"") 13‘5°61°'\’“’
Name
3.27 Nonprlority creditors name and mailing address As of the petition filing date, the claim is: Check siler epply. $88.00
Ange|a Berrlng El contingent
2404 Cypress Drlve El uniiquidatcd
Saint Charles, MO 63301 El oiepuiad
Date(s) debt was lncurred Various aims for mo blal‘m:
Last 4 mem of account number°° is fha claim subject to offset? - No l:l Yes
§ 3.28 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check air trier eppiy. $376.24
Applied industrial Tech, inc E] contingent
garza At;gg;tas El unliquidated
°x |J D' tried
Paeadona, cA 91189-0533 “"
Basis for the claim:
oata(a) debt wee incurred Erio_us_ ~
Last 4 diana of account number_ is ina claim eubjectto arisen E| Nc l Yes
3.29 Nonprlority creditors norris and mailing address As of the petition filing date, the claim is: Check alliIiaf apply. 519,154.12
Armscor Cartridge inc. El contingent
Darren Newsom, Michel|e g unliquidated
2872 US Hwy 93 n D. ted
North victor, MT sears 'S°"
Basis for the claim:
Data(s) debt was incurred w _
Last 4 diem of account number_ la tire claim eubiecttc arisen El Ne l Yes
§ 3.30 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check cilrrlareppry. $83.68
Asotin County Landfi|l El contingent
2901 Sixui Avenue |J unliquidated
Clarkston, WA 99403 g Disputed
Date(s) debt was incurred _ as 813 for the claim:
Last 4 digits of account number_ _
la the claim subject to offsei? - No n ¥os
§ 3.31 Nonpriorfty creditors name and mailing address As of the petition filing date, the claim is: Check alririarappry. $13,479.63
Afef Wyl'|llB LLP n Contingent
1331 NW Love]oy, Ste. 900 El unliquidated
Porfland, OR 98209-3280 |:] Disputed
Date(s) debt was incurred Various Basis forma cmm:
Last 4 digits of account number _
“ le tire claim eubiactto otiset? l No Ei vac
§ 3.32 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check elrrhaf eppiy. $6,109.00
Automation Dev|ces lNC El contingent
‘_;:]'::;lvn€l':l:;|e Rd n Unliquidated
. . m
Fairv|ew, PA 16415 Disputed
Dats(s) debt was incurred Various Basis for the claim: _
Last 4 digits of account number _ 15 the dam subject w °M . N° n Y°’
3.33 Nonpriority creditors name'and mailing address As of the petition filing date, the claim is: Check airtnaf apply. $1 ,714.50
Automation Direct Ei contingent
PO Box 402417 Ci unliquidated
Atiantal GA 30384 Ei oisputed
Dateie) debt was incurred Various Basis for the dam
Last 4 digits of account number _
' la tire claim subject to arisen l No Ei Yoa
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Debfor Howell Munitions & Technology, inc. Case number (ll jewel 18-50610-btb
Name

§ 3.34 l Nonprlority creditors name and mailing address As of the petition filing date, ti'te claim is: Check ellthsr epply. $18,669.12

AVISfa Ufilifles l:l Contingent

1411 E Misslon Ave Ei unliquidated

Spokane, WA 99252 jj Disputed

Dete(ej debt wee incurred Various sam forma dam

Last 4 digits of account number _

_ is the claim subject to oifset? - No n Yes

§ 3.35 l Nonpriority creditors name and mailing address As of die petition liilng date, tile claim is: Clledranlhaiapply $0.00

 

 

 

 

 

Bailey Krist|ansson, LLC El contingent
PO Box 104 Ei unliquidated
Fuishsar, TX 77441 . Disputh
Date d ht l rl'ed
m o wm nw _ Beeie for the claim: UCC 8201711892322; Tenninated; For Notlce
Last 4 digits of account number _ Eum°ses omit
is the claim subject to cfiset? . No n Yes
| 3.36 Nonpriority creditors name and mailing address As of the petition iii|ng date, the claim is: check eillheiepply. $40.00
Bal’l`y Fo$f$l' El Contingent
7473 Rodebaugh Road Ei unliquidated
Reyno|dsburg, OH 43068 Ei Disputed
oetejej debt weir incurred Various ama forma dam
Last 4 digits of account number _
" le the claim subject re eileen l Ne El Yes
§ 3.37 Nonpriorlty creditors name end mailing address As of the petition iiilng date, the claim is: Check aurhareppiy. $2,550.00
Bear Hunting Media EI contingent
PO Box 168 Ei unliquidated
west F°rk, AR 72774 n o§spuwd
Data(s) debt was incurred Various seals for the cmm:
Last 4 digits of account number_ _
ls the daim subject to anson l No E| Yes
§ 3.38 Nonpriority creditors name and mailing address As of the petition nilng_date, the claim is: checkeillnaldpply. $283.50
Berggren Frllz E| contingent
5135 Nea| Ranch Rd. E| unliquidated
Coiorado Springs, CO 80906 E| Dlsputed
Datele) debt was lncurred Various sam forum dam
Last 4 digits of account number _ _
' la the claim subjectto arisen l No El Yes
l 3.39 Nonpriority creditors name and mailing address As of tile petition iiilllg date, the claim is: Check aillhai apply. $0.00
Big Canyon Evnironmenta|, LLC E| contingent
815 D Street L'_i unliquidated
Lewiston, iD 83501 . olspumd
Date(s) debt was incurred _ Basis forum claim: _
Last 4 digits of account number _
is the claim subjectto ciisei? - No n Yes
As of the petition filing date, the claim is: Check aulhal appty. $73,611 .64

1 3.40 Nonpriority creditors name and mailing address

Binary Anvil inc.
22525 SE 64th Flace, Suite 257
lssaquah, wA 98027-5383

Dete(e) debtwae incurred Various
Last 4 digits of account number _

Oii'icial Form 206 ElF
Softwars Copyrigiit(c)1BBS-201B Best Caso, LLC - www.bestcase.com

i:l Contingent
Ei unliquidated

. Dlsputed
Basis for tile claim: __
le the claim subjects eileen l No Ei Yes

ScheduleE/F: Creditors Who Have Unsecured Claims

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Debtor Howell Munitions & Technology, |nc. Case number (lliinoun) 18-50610-btb
Narne
Nonpriorlty creditors name and mailing address As of the petition filing date, the claim is: check all trial appiy. $347.71
Bitterroot Boit & Chain Co. |I| contingent
Orln Tripiett Ei unliquidated
2522 4th Ave. N°rth n Disputed
Lewiston, lD 83501
Basis for tile claim: __
Date(s) debt was incurred _\M
Last 4 digits of account number_ ls me claim subject w chen . N° m Yes
3.42 Nonprlorlty creditors name and mailing address Aa of the petition filing date, tile claim is: check ellllialappiy. $118,000.00
Bitterroot Security & |nv. LL E| contingent
Terry Roberts El unliquidated
410 sth Street n Disputed
Clarkston, WA 99403
Basis for the claim: _
Date(s) debt was incurred law
Laei 4 digite or account number_ le the claim eubjectto eileen l No |.'J rea
§ 3.43 Nonpriority creditors name and mailing address As of the petition tiilng date. tile claim is: Check all thatapply. $8,212.21
Black Rifie Coffee Company |:I contingent
381 West lronwood Dr. Ei unliquidated
Salt Lake City, UT 84115 EJ Disputed
oata(e) dabtwaa incurred Various sam for me claim:
Last 4 digits of account number _ _
is the claim eubjectto aileen l No Ei Yes
§ 3.44 Nonpr|ortty creditors name and mailing address As of the petition tiiing date, the claim is: Check elliliaiepply. $63.00
Blake Brockman Ei contingent
7400 Center Ave., Apt. 317 |.'J unliquidated
Cerrltos, CA 90703 ill Disputed
oetejej debt wee incurred Various Basls forum cmm:
Last 4 digits of account number_ _
is the claim subjectto offset? . No n Yes
f 3.45 Nonpriorlty creditors name and mailing address As of the petition filing date, the claim is: Check allrhalapply. $8,350.37
Blue Cross of idaho Ei contingent
PO Box 6948 L'.| unliquidated
Boise, lD 83707 n Disputed
Date(s) debt was incun'ed Various mm for me c§a§m:
Last 4 digits of account number _
_ is the claim subjeclto offsat? - No n Yes
§ 3.46 Nonpr|ortty creditors name and mailing address As ofthe petition filing date, the claim |s: Check all that apply. $1,033.88
Blue Mountain Containers |:| contingent
Brandon Dean g u n 'd md
Po Box less m D;p°:;:
Lewiston, lD 83501
Date(s) debt was incurred Various Bas|s for the cla'm: _
Last 4 diem of account number _ ls the claim subject to ofisat? - No n ¥es
§ 3.47 Nonprlority creditors name and mailing address As of the petition filing date, tire claim is: Checkalllhaiapply. $9,538.31
Blue Ribbon Supply inc El contingent
PO box 798 El unliquidated
Lewiston, iD 83501 g Disputed
Date(s) debt was incurred Various Basls for the cla|m_
Last 4 digits of account number _
_ lathe claim subjectto offset? - No n ¥ss
Otlicia| Form 206 ElF Schedule EIF: Creditors Who l'lsve Unsecured Claims Page 32 of 78

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Debior Howell Munitions & Technologhlnc. Case number (ll kw~n) 18-50610-btb
Narne
§ 3.48 Nonpriority creditors name and mailing address As el the petition filing date, the claim is: Check all theiepply. $2,000.00
Bosnlan Austrian Security Serv
Nedz|b Bungur n Con§ngenf
Debeio Brdo 43 g unliquidated
70 000 Sara|evo n Disputed
Bosnia and Helzegovlna
Date(s) debt was incurred Various Basis forum claim: _
Last 4 mann of account number_ ls the claim subject to offssl? - No n ¥es
§ 3.49 Nonpriority creditors name and mailing address As el the petition filing date, tile claim is: Check all lhatsppiy_ $2,500.00
Brand Avalanche Medla, LLC. |:| Contingent
Iar?l‘:'il: simon #161 n u""°"t°m
ve" m Dis uied
Mollne, ll_ sizes "
Date(s) debt was incurred Various Basis for the cmm` "'
Lm 4 alone °,acc°m number_ ls the claim subject to arisen l No El Yes
§ 3.50 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check alliiiaiapply. $39,700.00
Brand Makei'$ LLC |:l Contingent
gen;bser Nt:v;”e"| st n Uniiquidaied
ou a n ' l:l Dis uted
spanish Forlr, u'r aileen "
Date(s) debt was incurred Various male for me claim ”
Last 4 diane of account number_ is the claim subject lo cifset? - No n Yes
3.51 Nonpriority creditors name and mailing address As of tile petition filing date, the claim ls: Check all iiiatapp!y. $165.30
Brandon Kobberdahl Ei contingent
15357 67th Ave. North ij unliquidated
Maple Grove, MN 55311 g Disputed
Detelej debtwas incurred Various ama forum claim: _
Last 4 digits of account number
' le the claim subject to arisen l No Ei yes
3.52 Nonprlorlty creditors name and mailing address As of the petition filing date, the claim le: check elmer apply. $19.68
Brian Elledge Ei contingent
17451 SE Ten Eyck Rd. [] unliquidated
Sandy, OR 97055 Ei Disputed
beto(ej debt wee incurred Various eagle forum claim: _
Leat 4 digits of account number
` is the claim subject to oil‘set? - No n Yes
§ 3.53 Nonpriorlty creditors name end mailing address As of the petition filing date, the claim is: Check all ihaisppry. $230.20
Bi'y¢e Kldd n Contingent
3213 Lew Wal|ace Drive Ei unliquidated
Cl0vlS, NM 88101 n Disputed
oeto(ej debt was incurred Various Basis for the claim: _
Last 4 digits of account number _
" is the claim subjectto oflsel? - No n Yes
l 3.54 Nonprlerlty creditors name end mailing address As of the petition filing date, the claim is: check allrhqrappiy. $344.78
Buchanan Automation inc El contingent
PO Box 1249 Cl unliquidated
Snohomish, WA 98291 [] Disputed
Date(s) debt was incurred Various nash for me simms __
Last 4 digits of account number _ _ -
ls the claim subject to effsai? No l:l ¥es
Otiicial Form 208 E/F Schedule EIF: Credltors Who Have Unsecured Claims Page 33 of 76
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Debtor Howell Munitions & Technology, |nc. Case number (ii knv~n) 18-50610-bfb
NEmB
3.55 Nonpriori'ty creditor'a name and mailing address Ae of the petition filing date, the claim is: Check ali that apply $2,273.25
C.Bennett Services, |nc Ei contingent
PO BOX 2362 l:l Unilquidated
Cypress, TX 77410 Ei Disputed
Data(s) debt was incurred Various sam for the c!a!m:
Last 4 mem of account number_ is the claim subject to oiieet? l No Ei Yes
3.56 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhal eppiy. $54.12
Camp Cab|n & Home Ei contingent
2119 4th Ave. North Ci unliquidated
Lewiston, iD 83501 ij Dlsputed
Date(s) debt wee incurred Val'iol.ls Basis for ma c|alm:
uaw mm °f account ""mb°r“ is the claim subject to ctrset? l No E| Yes
3.57 l Nonpriority creditor's name and mailing address As oi' the petition filing date, the claim is: Cheokaliiharapply. $15,800.00
Canon n Contingent
One Canon Park Ei unliquidated
Meivi|ie, NY 11747 Ei Disputed
neteie) debt was incurred Various sole for ma claim:
Last 4 digits of account number _ -
le tire claim subjectto offset? l No IIi Yes
3.58 Nonprlorlty creditors name and melting address As of the petition filing date, the claim is: Check eiliharapply. $14,544.25
Canon Flnancial Serivces Ei contingent
14904 Co|iections Center Drive Ei unliquidated
Chlcago, lL 60693-0149 \:i Disputed
octe(e) debtwae incurred Various sub form claim:
Last 4 digits of account number _
_ is the claim sub]acito offset'r' - No m Yes
3.59 Nonpriority creditor’s name and mailing address Aa of the petition filing date, the claim is: Check sil!ha!apply. $2,589.37
Canon Solut|ons America ij contingent
15004 Coilectlons Center Dr. Ei unliquidated
Chicago, lL 60693 Ei Disputed
Date(s) debt was incurred Various male for the clafm:
Last 4 digits of account number _
_ ls the claim subjecttn offset? - No n Yes
l 3.60 Nonprierity creditors name and mailing address Ae of the petition filing date. the claim is: Check ailrhaiappy. $158,880.15
Capitai Cartridge LLC ij Contingent
Bl'lan n Uniiquidatsd
9702 Wa|iisvilie Rd., Suite B Ei Disputed
Houston, TX 77013
oateie) debt wee incurred Various B°°‘° f°"h° °'°"": -
Last 4 digits of account number _ is the dair\'i Sl.lbject to aflsei'? n No - Yes
:i.e1 | Nonpriority creditors name and mailing eddreoe Ae ortire petition filing dete, tito cieim is: cnccir eli met apply. $37,372.46
Caplfal OnB VlSa Stateman n Contingent
PO Box 30285 Ei unliquidated
Salt Lal'¢e ley, UT 84130 [] Disputed
Date(s) debt was incurred Various sub for ma clarm:
Last 4 digits of account number _
_ is tire claim oubiectto oileet? l No Ei yes
Ofi'lciai Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 34 of 16

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Debtor Howell Munitions & Technology, |nc. Case number (ii mmi 18-50610-btb
Name
f 3.62 Nonpriority creditors name and mailing address As of the petition filing date, tile claim |s: Check allthai appiy. $10,321 .46
Cascade Co|umbia Distribution \:| contingent
Greg Sw|izer g U n id md
tison Fort Ave. g D;:u`;e:
South Seattle, WA 98108
Dats(s) debt was incurred Various Basis for the claim: _
Last 4 draw of account number _ ls the claim subject to offsei? l No l:l Yes
a.sa | Ncnpriority creditors name and mailing addreee Aa ot tire petition tiiing date, tire claim let cnacrraiirner app/ii $1,443.37
Cata|yst Med|cal Group Ei contingent
christine Th°mas n Un"quidated
2315 Bth Sfreef .
Lewiston, in 33501 n D's°"‘°d
oete(e) debt wee incurred Various saw f°' "'° dam -
mm 4 mens of account number _ ls lite claim subject to cfisei? . No l:l Yes
3.64 Nonpriority creditoi's name and mailing address As of the petition filing date. the claim is: Checkcilriiatepply. $1,651.87
CED - Consolidated Electrical ij Contingent
Terry. Gay€ iIi unliquidated
PO Box 398855 n Dispuwd
San Francisco, CA 94139-8855
oate(e) debt wee incurred Various Basis f°r the °'°'m: _
Last 4 mng of account number_ is the claim subject to onsst? - No l:l Yes
§ 3.65 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check euiitaiapply. $562.21
Century Llnk l:l Contingent
PO Box 91155 E| unliquidated
Seattle, WA 98111 jj Dispuin
Dats(e) debt was incurred Various Basis for the claim:
Last 4 digits of account number_ _
is the claim subject to oifset? - No n ¥es
§ 3.66 Nonprlority creditor`s name and mailing address Ae of the petition filing date. the claim is: Check slithaiapply. $820.37
Century Spring Corp El contingent
231274 Momentum P|. Ei unliquidated
Chlcago, lL 60689 El Disputed
Date(s) debt was incurred Various nash for the claim: _
Last 4 digits of account number _ _ ,
is the claim subject to oflset? . No n Yes
§ 3.67 Nonpriority creditors name and mailing address Ae ortho petition mine daw. the claim ls= ched¢wlrnaram. $0.00
Chad Rag€r n Contingent
17259 Castie Ct. |:l unliquidated
Purcei|v|lle, VA 20132 l mspmed
Date(s) debt was incurred w
Basis forthe claim: _
Last 4 digits of account number_
le tito claim subject to ctfaet? l No El Yea
3.68 Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check allrhal eppiy. $2,143.74
Charter Business - 25 Stokes El contingent
PO Box 60188 l:l unliquidated
Los Ange|es, CA 90080 ij manude
Date(e) debt was incurred Various nash for the claim:
Last 4 digits of account number
_ lathe claim subject to offset’r‘ - No n Yes
Offlcial Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 35 of 76
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Debior Howell Munitions & Technology, |nc. Case numbe (H kno~n) 18-50610-bfb
N&!|‘\B
3.69 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check silthat apply. $2,905.47
Chemetall - Oak|te Products, l E| contingent
Hans Juergensen Ei unliquidated
22040 Network Place g ms med
chicago, lL 60673-1220 " n
Dats(s) debt was incurred Various Basis for the c a m' _
Last 4 mgm of account number_ is the claim subject to onsei'il - No l:l Yes
§ 3.70 Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is: Check all that epply. $2,538.17
Chemithon Surface Finishing, l |:l contingent
Da|e Fiinchbaugh |:| Unnqumn,n
5430 W. Margina| Way SW n ms md
seattie, wA 93106 '°
Date(s) debt was incurred Various Basis forma c|alm' _
Last 4 dcng of account number_ la inc claim subject to streets l No El Yoe
3 3.71 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check eililiaiapply. $4,828.51
Chemlx Corp. \:\ Contingent
412 E. Commonwealth Ave., Ste. 1 l'_'] Unjiqujdnmd
Fui|erton, CA 92832 [j Disputed
oeteiej debt wee incurred Various ama forum dam
Last 4 digits of account number _ _
le tire claim aubiectto directs l No Ei Yes
3.72 Nonpriority creditors name and mailing address As of the petition filing date, the claim Is: Check all¢liatspply. $0.00
Chri$ HayeB n Contingent
362 Reservolr Drive E| unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debtwas incurred Various
__ " Basis forti'ie claim: __
Last 4 digits of account number _
ls the claim subjectto offssi? - No n Yes
l 3.73 Nonprlorlty creditors name and mailing address As of tile petition filing date, the claim is: Check all riletappiy. $22.09
Christ|an Domaga|l E| contingent
4121 98th AVB. NE n Uniiquidated
Circ|e P|nes, MN 55014 g Disputed
oato(ej debt wee incurred Various ama forms dam _
Last 4 digits of account number _
lathe claim subject to oiisst? - No n Yes
l 3.74 Nonprlorlty creditor's name and mailing address As of the petition filing date, the claim is: check alltrial apply. $169.00
Christopher Koo|hof Ei contingent
11965 Nonnan Lane |:| unliquidated
Aubum, CA 95603 g Disputed
oateic) debt wee incurred Various ama for the claim _
Last 4 digits of account number _
ls the claim subjectto offsei? - No l:l ‘fes
§ 3.75 l Noripriority creditors name and mailing address As of the petition filing date. the claim is: Checkallllicr apply. $50.00
City of Cameron |:| contingent
C"y °f Cam°"°"l Ei uniiquidawd
PO Box 8332 m Disputed
Cameron, TX 76520
Date(s) debt was incurred Various Bank for me c'acm: -
La.t 4 diana of account number_ is the claim subject to offset? . No l:l Yes
Ofi'iciai Fon'n 206 E/F Schedule EIF: Creditois Who Have Unsecured Claims Page 36 of 16

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Debicr Howell Munitions & Technology, |nc. Case number (ii knwvn) 18-50610-btb
Name
3.76 Ncnpriority creditors name and mailing address As of the petition filing date. the claim is: check sllihaiepply. $71.39
Cify 0f JBrSEy VillagB n Contingent
16501 Jsrssy Drive jj unjjqujdnjnd
Jersey Vlllage, TX 17040 g Disputed
Date(s) debt was incurred Various Basis for the da|m_
Last 4 digits of account number _ _
la the claim subject to oiiset? l No Ei Yes
[ 3.77 Norlpriority creditors name and mailing address As of the petition filing date, the claim is: Check author appiy. $3,349.22
Cify Of Lewisfol'| n Contingent
Po Box 617 n Unliquidated
Lewiston, lD 63501 g Disputed
oeto(e) debt wee incurred Various ama forum claim
Last 4 digits of account number _ _
le tne claim subjeclto arisen l No El Yes
1 3.78 Nonprlorlty creditors name and mailing address As ofthe petition filing date, the claim le: checkailiiiaiapply. $18.00
Clarkston Auto & Truck Parts i'_'i contingent
507 Third St. Ei unliquidated
clarkst°n, wA 994°3 n Disputed
Date(s) debt was incurred Various Basis forma clalm_
Last 4 digits of account number _ _
la inc claim subjectto arisen l No |Il res
i‘ 3.79 Nonpriority creditors name end mailing address As of the petition filing date, the claim is: check eilihaiappiy. $378.56
Clayton Hewitt El contingent
7509 N Sycamore Ave E| unliquidated
Kansas City, MO 64158 Ei oispumd
Date{e) debt was incurred Various Basis for the claim: __
Last 4 digits of account number_
le the claim subject to clieet? l Ne Ei Yes
j 3.60 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check all that epply. _ $19,282.94
Clean Harbors Env. Services in El contingent
PO Box 3442 Ei unliquidated
Boston, MA 02241-3442 El clspuied
Date(s) debt was incurred Various Basis for the c|a|m:
Last 4 digits of account number_ _
is the deim subjectto offset? . No g Yes
] 3.81 l Nortpriority creditors name and mailing address As of the petition filing date, the claim is: checkailihaiilppiy. $0.00
Clearwater Bullet, |nc. El contingent
153 Southport Ave., Bulldlng 4 |J Unjiquieetce
Lewiston, |D 83501 l Disputed
Date(s) debt was incurred _ Basis for ma claim: _
Last 4 digits of account number_
la lite delm subject to eileen l No Cl Yes
l a.sz Ncnpnorlty creditors name end mailing addreee Ae oitno petition filing date, the claim le: check eiltnet epply. 650.00
Clearwater Medical Ciinic El contingent
1622 17th Street El unliquidated
Lewiston, lD 83501 g manning
Detole) debt wee incurred Various ama for w cm|m:
f t
"“M dam ° moon numb°r' le tile claim subjectlo oilect? l No Ei Yes
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Debtcr Howell Munitions & Technology, |nc.

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Name
§ 3.83 Nonpriorlty creditors name and mailing address Ae of the petition filing date, the claim is: Check all ihsispply. $1,126.57
Clearwater Propane ij contingent
PO Box 675 Ei unliquidated
Lewiston, lD 83501 Ei Disputed
Dete(s) debt was |ncun'ed Various Basis forum claim:
Last4 digits of account number_ ls me claim subject w own - N° n Yes
§ 3.84 Nonprlorl'ty creditors name and mailing address As of the petition filing date. the claim is: Check allihaiapply. $561.83
CNC Pros intemationai, lNC Ei contingent
1582. E. Brambie Ln. E| unliquidated
Meridian, lD 83642 . Disputed
Dete(e) debt wee incurred Various ama for the dam _
Last 4 digits of account number_
le the claim subject to arisen l No Ei Yes
l 3.85 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Checkaliihat&pply. $118.04
Coieman 0|| Company E| contingent
PO Box 1308 |] unliquidated
Lewiston, lD 83501 n Disputed
Dats(s) debt was incurred Various Basis forum claim:
t b
Lasu drum of accoun nom a"" is the claim subjectto offsst? - No ij Yes
3.86 l Nonprlority creditors name and mailing address As of the petition filing date, the chlm is: Check ellihaiapply. $57,904.75
Coli|er E|ectric |] contingent
Bryan & Laura Coli|er E| unliquidewd
1119 Van Arsdo| n
Di t d
clerketcn, wA 99403 s"“ °
netele) debt was incurred Various ama mm °!a'm' '
Last 4 mann of account number _ ls the claim subjectto offset? - No n Yes
` 3.87 Nonpriorlty creditors name and mailing address As of the petition filing date, the claim is: Checkali¢iiaispply. $12,670.30
Co|umbia E|ectric Supply Ei contingent
Nate, Rusty, Eric, Josh, Jason E| unliquidated
8100 NE ST. JOhnS Rd., E 102 n Disputed
Vancouver, WA 98665
Dats(s) debt was incurred Various seals for the cmm: ”
Last 4 alone of account number_ is the claim subject fn offset? - No i:l Yes
` 3.BB Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check elitnsieppiy. $282.15
Coli|ean n Contingent
PO Box 660618 El unliquidated
Da|llrlsl TX 75266 E| Disputed
oate(e) debt wee incurred Various sam m me dam
Last 4 digits of account number _ _
le tire claim subject to arisen l No ij Yes
§ 3.89 Nonprlortty creditors name and mailing address As of the petition filing date, the claim ls: check slltilaiappiy. $47,185.68
Comm Trade USA, inc Ei contingent
1934 West Gray Sf., Ste. 200 l] unliquidated
Houston, TX 77019 g Dlsputed
noteie) debt wee incurred Various sam forum cla|m_
Last 4 digits of account number _ _
ls tire claim subjects arisen l No Ei Yes
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Debwr Howell Munitions & Technology, |nc. Case number (ii mv~n) ' 18-50610-btl:i
Nama
i 3.90 Nonprlorfty creditors name and mailing address As of the petition filing date, the claim is: Check til/thai epply. $1,880.00
Community impact Newspaper Ei contingent
16225 impact Way, Ste. One E| unliquidated
Pflugervl"e, Tx 78660 n Disputed
Dats(s) debt was incurred Various Basis for me cca,m: _
Last 4 digits of account number
_ ls tne claim subject ta arisen l Na Ei vas
§ 3.91 l Nonpriorfty creditors name and mailing address As of the petition filing date, the claim is: Check auihai apply. $0.00
Compiete Capital Services, inc. Ei contingent
22811 Greater Mack Ave., Ste. 203 |:| unliquidated
Saint Ciair Shores, M| 48080 . Disputed
Date(s) debt was incurred
_ Basis for the claim: _
Last 4 digits of account number __
is the claim subject to arisen l Na Ei ves
3.92 l Nonpriority creditors name and mailing address As of the petition filing date, the claim le: check til/that appry. $11 1 ,434.80
Components Exchange [| Contingent
E;'LY°'; k ki L |Ii unliquidated
uc s n n. n D. ted
Pacir, lo 83545 '5"“
Dete(e) debt was incurred Various Bas[s for ma c|a[m: ”
Laat4 digits aiacceun¢ nmnj,n,_ is the claim subject to arisen Ei Na l Yes
3.93 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check sliinarapp/>t $0.00
Components Exchange, LLC El contingent
815 D Street Ei unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last4 digits of account number_
is the claim subject to offset? - No l:l Yes
§ 3.94 Nonprlorfty creditors name and mailing address As of the petition filing date, the claim is: check allihaiapply. $435.14
Comstock Propane inc Ei cantingent
36 Mlies Rd. Ei unliquidated
Carson City, NV 89706 E| Disputed
Data(e) debt was incurred Various ama for the dam _
Last 4 digits of account number _
is tha claim subject to atisan l Na Ei Yes
E Nonpriority creditors name and mailing address As of the petition filing date. the claim is: chachailinalepply. $1,045.30
Concept Automation Systems C| contingent
gg:::’§ Byrd ii w #101 n u""q"m'ed
esearc ay, n D's med
carson city, Nv 89105 ' °
Date(e) debt was incurred Various assn forum claim "
Last 4 mgm °, account number la the claim subject to anson l Na Ei Yes
3.96 Nonprlority creditors name and mailing address As ofthe petition filing date, the claim is: check alliiiar apply. $0.00
Corporation Service Company, as Rep Ei contingent
Attn: Lega| Dept. l:l unliquidated
PO Box 2576 - .
D lide
springiiaid, iL 62108 ‘sp
detain debt use incurred ucc 201 soosszorc B”'° ’°'“‘° °'“"“= -
Lest 4 digits of account number _ is the claim subjact iv 0053¢7 - N° n YH
Oii‘iclai Form 206 E!F Schedule Ele Credltors Who Have Unsecured Claims Page 39 of 76
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Debior Howell Munitions & Technology, inc. Case number (ii mann) 18-50610-btb
Nama
§ 3.97 l Norlpriority creditors name and mailing address As of the petition filing date, the claim ls: Check alifhal spply. $1,600.00
Covert Madison Ei contingent
3004 Hubbartd Fiace E| unliquidated
New Smyma Beach, FL 32168 jj Disputed
oate(e) debt was incurred Various ama forum dam
Last 4 mens of account number_ is the claim subject to offsei? - No l:l Yes
3.98 Nonpriority creditors name and mailing address As of lite petition filing date, the claim is: Check ali irrelpr $120.00
Craig Draper C| contingent
0842 W Mornin Mist St. C| unliquidated
Boise, lD 83709 Ei Disputed
nate(aj debt wee incurred Various Basis mm dam
Last 4 digits of account number _
_ is the claim subjected offset? - No Cl Yes
3.99 Nonpriority creditors name and mailing address As of the petition filing date, tito claim is: Check author appiy. $105.50
Creason, Moore, Dokken & Ge|d| E| contingent
PO Box 835 Ei unliquidated
Lewiston, ID 83501 - Disputed
Date(s) debt was incurred Lii’lf.f_l.ls
Basis for the claim: _
Last 4 digits of account number _
is the claim subject to offset? - No n Yes
§ 3.100 Nonpriority creditors name and mailing address As of the petition filing date, tito claim is: Check ellinareppiy. $473,476.29
Crow Shooting Supply Ei contingent
200 S. Front St. C| unliquidated
Montezuma. iA 80171 jj Disputed
oataiej debt me incurred Various sub form dam
Last 4 digits of account number _
" is the claim subjectto cfi‘set? - No m Yes
5 3.101 Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: Check alliliatapply. $739.33
Cuiligan, LLC. L_.l Contingent
FO Box 8332 |Ii unliquidated
Moscow, |D 83843 Ei Disputed
oatc(c) debt was incurred Various ama forms claim: _
Last 4 digits of account number
_ is the claim subjectto offsei? - No l:l Yes
§ 3.102 Nonpriorlty creditors name and mailing address As of tito petition filing date, the claim is: Check ali that eppi'y. $177.60
Custom Fiuid Power inc Ci contingent
Darren B"tt°'-"_ Ei unliquidated
16083 N Fiank|in Blvd. Ste. 1 n Disputed
Nampa, lD 83687
Dats(s) debt was incurred Various seats for the claim: _
Last 4 digits cr account number_ is the cteim subject to arisen l Na Ei Yes
§ 3.103 l Nonpriorlty creditors name and mailing address As of the petition filing date. tito claim is: Checka!lrhaiepply. $1,217.00
Custom MasterlFio King |:j Contingent
VALER'E |:l unit id ted
401 Lai<e sennett ct. g Dis:u`;e:
Longwood, FL 32750-6341
Date(s) debt was incurred Val’i°ll$ male forma c!a|m: _
Last 4 mens of account number _ is the claim subject to offsot? - No l:i Yes
Ofliciai cht 208 E/F Schedule ElF: Creditors Who Have unsecured Claims Page 40 of 76

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Debiol' Howell Munitions & Technology, |nc. Case number (lfknown) 18-50610-btb
NBI'RB
' 3.104 Nonpriority creditors name and mailing address As ofthe petition tillng date, the claim is: check eimiaiappiy. $5,400.00
DaJo Trucking, |nc. Ci contingent
4°93 Lucky Lane i:] Unllquidated
Lewiston, lD 83501 g Disputed
Datels) debt was incurred Various nash for ma claim: _
Last4 digits of account number_
lathe claim subject to offset? - No n ‘(es
§ 3.105 Nonprlority creditors name and mailing address As oftiie petition tiling date, the ciaim is: Checka!lihalappiy. $2,085.00
Dattglel'$ |nc. n Contingent
35 Oakdaie Ave. Ci unliquidated
Johnston, Ri 02818 E Disputed
Date(o) debt wee incurred Various 8an for mo dam _
Last 4 digits of account number _
is the claim subject to offset? - No El Yes
§ 3.108 Nonpriorlty creditors name and mailing address As of tile petition iiilng date, the claim is: Check alliiiaiappiy. $77.00
Danie| Atkinson Ei contingent
3840 N Vine n Un|iquidated
Tucson, AZ 85719 g Dispu,ed
oetetel debt wee inclined Various sam forum dam _
Last 4 digits of account number _
lathe claim subjectto offset? - No n Yes
l 3.107 Nonpriority creditors name and mailing address As of the petition lillng date, the claim ls: Check ellihaiapply. $45.04
Darcy Richard E| contingent
91 Wynnewood Ct. [] unliquidated
Fl'eehold, NJ 07728 n Disputed
ooto(e) debt wee incurred Various sam for the dam _
Last 4 digits of account number _
is the claim subject is otiset? - No m ¥es
‘ 3.100 Nonprlority creditors name and mailing address As of tile petition filing date, the claim is: check oiiiiiaiappty. $435,262.98
David Howell El contingent
Po Box 1503 n Uniiquidaied
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred Various
___ Basis forthe claim: _
Last 4 digits of account number _
is the claim subjectto offset? - No n Yes
Nonprtority creditors name end mailing eddreee ne otero petition filing date, tire claim ie: crooke/uneteppiy. $0.00
David Howell Renta|s E| contingent
P.O. Box 1903 E.l unliquidated
Lewiston, lD 83501 Ci Disputed
Date|o) debt was incurred _ Basis forms cmm: _
Last4 digits of account number _ _ _ -
is the claim subject to offset? No n Yes
3.110 Nonpriorlty creditors name and mailing address As of tile petition filing date, the claim is: Checka!!ihaiapply. $41.60
David Lane Cl Contingent
8850 Chumash Ln C| unliquidated
Riverslde, CA 92509 C| Disputed
neteie) debt wee incurred Various ama form claim: __
Last 4 dl IiB of t be
g swann nom r_ ls the claim subject to offset? - No E] Yes
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Debtor Howell Munitions & Technology, |nc. Case number (rt movn) 18-50610-btb
Nal'l‘¥e
Nonpriority creditors name and mailing address As of the petition iii|ng date, the claim is: Check ailihel apply. $151.24
DaViS Brian n Contingent
1056 Creekslde Ct. Ul'\lf 1A Ei unliquidated
Wheellng. lL 50090 Ei Disputed
i:lete(e) debt wes incurred Various Basis for the dam
L°“ 4 d'°"° °f °°°°""t “"'mb°'~ is tire claim subject to eileen l Nc El vee
l 3.112 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check ali that apply $8,710.13
Dayton Lam|na Ci contingent
500 Progess Road Ei unliquidated
Dayton, OH 45449 El Disputed
Data(e) debt was incurred Various Basis far the claim:
Last 4 digits of account number_ _
is the claim subjectto offsst? - No ij ¥cs
t 3.113 Nonprlorlty creditors name and mailing address As of the petition lillng date, the claim is: check eilihaiappiy. $50.00
Deburring Equ|pment Manufactrl El contingent
§|2':8 Hm _d A iii unliquidated
si e ve. n o- md
Noreo, cA ezssa '°°"
Date(a) debt was incurred Various aims for the c|alm: "
Last 4 mens d account number_ is the claim subjectto offset? - No n ¥es
j 3.114 Nonprlortty creditors name and mailing address As of the petition filing date. the claim is: check allthaiappiy. $5,811 .00
Deductib|e Recovery Group Ei contingent
ggeBJansa:szBe_|;1 n Unliql.iidated
°x |:| Di
l-lerrnitege, PA tsus-tose “'°"t°d
nete(el debt woo incurred various Ba°'° '°' "'° °'°"": _
Last 4 don of account number_ ls the claim subjected offset? - No n Yes
l 3.115 Ncnpricrlty creditors name end melting address Ae of inc petition tiiing date. tire claim is: cheek eli rnoreppiy. $1 8,805.00
Die-Namic, ii'tc E| contingent
Sue Leonard g U ,- -d ted
Po Box 30516, nepa roos n B;:u';:
Lanslng, Mi 48909-8016
Date(s) debt was incurred Various Basis forma claim: _
Last 4 diane of account number _ is the claim subject to oiiset? . No l:i ¥es
3.116 Nonprlorlty creditors name and mailing address As of the petition filing date, tile claim is: Cheaka!iihat apply $23.25
Douglas Newton Ei contingent
2400 W. Morrell El unliquidated
Jackson, Ml 49203 g Disputed
oete(e) debtweo incurred Various Basis for m mim_
Last 4 digits of account number _
* is the claim subject to otiset? l No E| Yes
j3.117 Nonpriortty creditors name and mailing address As of the petition filing date. the claim is: Checkeliiha!appiy. $126.43
East Side Plat|ng |:| Congngem
Debble Bergiand ij u n -d ted
8400 sE 26th Piece n D; qu`;'e:
Portlend, oR 91202 P
notete) debt woo incurred Various B°°'° f°' th° °'°"": -
Last 4 diana of account number_ is the claim subjectto offset? - No n Yes
Official Form 206 EIF Schedule ElF: Creditore Who Have Unsecured Claims . Page 42 of 76

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Debior Howell Munitions & Technology, |nc. Case number (ii known) 18-50610-btb
Name
, 3.118 Nonprlorlty creditors name and mailing address As of the petition filing date. the claim la: Check allihai apply. $0.00
Emii‘ Hidil‘ n Contingent
1382 Sokak 813 n Unliquidaied
A|sancak |sm|r l ms med
Turkey 35220 "
Date(a) debt was incurred Various B“h for me c'a|m: -
Last4 digits of account number_ 18 919 claim Subi@¢iw °"SBf? - N° n Yes
3.119 Nonpriorlty creditors name and mailing address As of tire petition filing date. the claim is: Check all therappiy. $99,01 9.48
Emir Hidlr n C°nh`ngen\
1382 Sokak 8,3 n unliquidated
Alsancak lsm|r n
Dl fed
Turkey 35220 s"“
Datsls) debt was incurred Various sub for the cmm: "'
Last 4 diem of account number_ la the claim subjectto offset? - Nc n ¥es
§ 3.120 Nonpricrity creditors name and mailing address As of the petition filing date, the claim is: Check all that appiy. $0.00
Engln Hldif m Contingent
1382 Sokak 8I3 El unliquidated
Aisancak |smir -
Dl l.iied
Turkey 35220 sp
Dats(s) debt was incurred Various Bas!s for me claim: -
Last 4 digits of account number _ ls lh° daim Subie°\ \° °HSB\'? - N° m Yes
3.121 » Ncnpriorlty creditors name and mailing address As of the petition iiling date, the claim ls: Check eiline¢ spp/y. $26,500.00
Environ-Metal, inc. El contingent
Tlna Larsen-Saies Rep t|arson@hevishot g Un“quidmd
1307 Clark Mill Sfi’eef L~_l
Dls ted
Sweet Home, OR 97306 pu
nato(e) dootwee incurred Various sam for the dam -
Last 4 mng annum number_ is the claim suejectto arisen Ei Ne l Yes
§ 3.122 l Nonpriority creditors name and mailing address As of the petition tillng date, the claim is: Cltcck aiiihai epply. $D.UO
Eric Nelson El contingent
2104 14th Street ij unliquidated
Lewiston, lD 83501 jj Disputed
Dete(s) debtwas incurred Various Basis forma alarm _
Last 4 digits of account number_ _
is the claim subject in oiisei? l Ne i:l Yes
3.123 Nonpriority creditors name and mailing address As of the petition filing date. the claim ls: check eilinaiappiy. $15,593.09
ashll_)Plng LLC l:l Contingent
;€gi:¢a ?7'§§;;¥ El unliquidated
°x n Dis uted
chicago, iL 60877-5332 '°
l :
Date(s) debt was incurred Various Basis forum c arm _
i.eet4 digits or account numb,,_ is the claim subject to canon l No Ei Yee
3.124 Nonprlority creditors name and mailing address As of the petition filing date. the claim is: Check ali inst appiy. $15,473.52
Estes Express Line l:l contingent
PO Box 25612 Ei unliquidated
Richmond, VA 23260 ij ggspu;ed
oeteio) debtwne incurred Various ama forum dam _
Last 4 digits cf account number_
is the claim subjectto onsel? - No n ¥es
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maris tamm
Debtor Howell Munitions & Technology, |nc. Case number (if kn°‘~") 18'5°31°"91!’
Name
3.125 Nonpr'lorfty creditors name and mailing address As of the petition filing date, the claim is: check aliihaiapply. $2,655.00
Falkor Defense El contingent
Teri Be|| L'.i unliquidated
2902 US Hwy 93 North m Dlsputed
Kallsp€ll, MT 59912
Basis forthe claim: _
Datelc) debt was incurred w
Last4 digits of account number _ ls the dam subject w men - N° n Yes
_=` 3.126 Nonprlorlty creditors name and mailing address As of the petition filing date, the claim is: Checkaiiihatappiy. $D.DD
Fastenai Company E| contingent
2001 Theurer Blvd. Ei unliquidated
Winona, MN 55987 - Disputed
Date[s) debt was incurred _ Bas|a for mo cmm: _
Last 4 digits of account number _
le tire claim subject to oileet? l No Ei Yee
§_3.127 Nonprior|ty creditors name and mailing address As of the petition filing date. the claim is: check eli that apply. $318.68
Fanei’ial NVCARU'{'15 m Contingent
PO Box 1286 Ci unliquidated
Winonal MN 55987-1286 jj Disputed
Detelc) debtwee incurred Various aasz forma c|alm:
Lest4 digits of account number _ _
is tire claim sublectto orreei? l Ne L'.i vee
§ 3.128 l Nonpriorlty creditors name and mailing address As of the petition filing date, the claim is: Check eilinei spply. $2,101.31
Fanel'lal NVCARU?S$ n Contingent
PO Box 1286 l] unliquidated
Winona, MN 5598'! g Disputed
Date|s) debt was incurred Various sub for me c'a|m:
Last 4 digits of account number _ _
ls the claim subjeciin offsef? - No n Yes
l 3.129 Nonpriority creditors name end mailing addreee Ac ortho petition filing date, tire claim ie: cnecirerliirarapply. $762.35
Fa$fenal WACOV2418 n Contingent
PO Box 1288 lIl unliquidated
Winona, lD 83501 n Disputed
Date(s) debt was incurred Various same for ma claim:
Last 4 digits of account number _
" ls the claim subject in offset? - No n Yes
3.130 Nonprlority creditors name and mailing address As of the petition ni|ng date. the claim is: Check climatapply. $2,006.10
FedEx Fl’elghf El Contingent
BSPBCH‘l 0306 Ei unliquidated
OX n D. ted
Paiatine, ii. sooss "°"’“
Dete(el debt wee incurred Various B°°'° f°"h° °'°'m: -
Last 4 mm discount numb,,_ is the claim subjected cfleer? l No |:| tree
j 3.131 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Checkclithafepply. $629.64
Fisher Systems Ei contingent
2117 12th Ave. Ei unliquidated
Lewiston, |D 03501 g mspqu
Dats(s) debt was incurred Various Basis for the claim:
Last 4 digits of account number _ _
le tire claim eubjectto oiieet? l No L'.i tree
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Debtor Howell Munitions & Technology, inc. Case number 01 known) 18-50610-btb
Name
"3.132 l Nonpriority creditors name and mailing address As of tire petition filing date, the claim is: check eliihaiapply. $50.00
FMG Pubiications |:l contingent
12345 Worid Trade Drive E| unliquidated
San Diego. CA 92128 |Ii Disputed
oete(e) debt wae incurred Various sam fmha dam
Last 4 digits cf account number _ _
is the claim subject to oileet? l No L'.i Yee
i 3.133 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check eli that apply. $23,493.50
Fort Worth Engineering El contingent
850 Grapsvine Trail L'.i uniiquidamd
Kenneda|e, TX 76060 ij Disputed
Data(s) debt was incurred _ Basis forma clalm.
Last 4 digits of account number _ _
is the claim subjectto onset') l No L'.i Yes
; 3.134 Nonprlonlty creditors name and mailing oddreee Ae ottiie petition tillng date. tire ciaim is: cneotellitielappry. $116.25
Francisco Magaiianes Ei contingent
6778 Orizaba Ave. Ei unliquidated
Long Beach, CA 90805 |_'_| Dispu,ed
oete(e) dehtwae incurred Various ama for the c|alm_
Last 4 digits of account number_ _
is ute claim eubjeciio oneet'i l No L'.i Yes
j 3.135 l Nortprierity creditors name end mailing address As of the petition filing date, the claim is: check allihaiapply. $7,000.00
Frasier Transport Inc. E| contingent
::7|!|¥ EB°E" t_ A n Uniiquidaicd
. xecu ivs ve. L-_| ms md
Nampa, in esser "
oateie) debt watt incurred Various sam for ma dam "
Last 4 mem of account number_ is the claim subject to ofiset? - No n Yes
l 3.1:36 Nonprlority creditors name end mailing address Ae ortiie petition iiling date, the claim ie: cheek either opp/y. $0.00
Frsedom Munitions, LLC L'.i contingent
815 D Street Ci uniiquidatod
Lewiston, ID 83501 - Disputed
i
Date(s) debt was ncurred _ Basis for the claim: _
Last 4 digits of account number _
le the claim subject to cifeet? l No E| Yes
3.137 Nonpriorlty creditors name and mailing address As ofthe petition filing date, the claim is: Checkalll‘hai apply. $2,033.85
Freight Quote.com L'.i contingent
B;r;k Wii;!sli Rep Ei unliquidated
ox 9 2 n .
Dls uted
Minnoapoile, llllN 55480-9121 "
th i i :
Date(s) debt was lncurred Various Basis for a c a m "
Last 4 done of account number_ is tile claim subject to offset? - No n Yes
E Ncnpriority creditors name and mailing address As of the petich illing date, the claim is: check all that apply. $1 8,330.31
Fuqua Park Row, LLC
clo M|ks Little |Ii contingent
J.M. Litds Attomey at Law, F.C. |:| unliquidath
5718 Westheimer, Suite 1840 L-_l ms uth
Houston, TX 77099 p l l
Date(s) debt wes incurred Various Basis for the c a m' -
Lasu mem of account number_ lathe claim subject to offsot? . No n Yes
Ofiiciai Form 206 ElF Schedule EIF: Credltore Who Have Unsecured Claims Page 45 of 76
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Debtor Howell Munitions & Technology, |nc. Case number (Hknm) 18-5061 O-btb
Name
‘ 3.139 Nonpriority creditors name and mailing address Ae of the petition t'iiing date. the ciaim ie: Check dinner opply. $100.41
Gary's Poo| & Spa Service LLC Ei contingent
1113 14th Ave. i:i unliquidated
Lewiston, lD 83501 El Disputed
eetele) debt was incurred Various ama m the dam
Last 4 dana of account number ' le tile claim subject to ofieet? l No n Yes
j 3.140 Nonpriority creditors name and mailing address As of the petition filing date. the claim io: Checkall that apply. $2,034.53
General Tool & Supply Co. Ei contingent
116 9th Street Ei unliquidated
Lewiston, lD 83501 |:| Dlsputed
Date(e) debt was incurred Various Basis forma clalm:
Last 4 mng of account number_ is the claim subject to oii’eet? - No I:\ Yes
3141 Nonpriority creditors name and mailing address Aa of the petition tiiing date, the claim is: Chedtallrilatapp!y. $524.57
George's Lock & Kew Service E| contingent
1728 Main Street E| unliquidated
Lewiston, iD 83501 |:| Disputed
Date(e) debt was Incurted Various Basis for me cla[m:
Last 4 digits of account number _ la me claim whde m chen - N° n yes
3.142 Nonprlority creditors name end mailing address Ao ofthe petition filing date, the claim is: Check e/iihetapply. $359.94
G|oba| industrial ij contingent
1?s’|aaan3 N fw k pl El unliquidated
e or o n D| ted
chieage, ll_ scm “"”
Date(s) debt was incurred Various Basis forum c|alm' _
Lm 4 diem of account number_ le the claim subleette desert l No EI Yee
§ 3.143 Nonprlority creditor'e name and mailing address As of the petition filing date, the ciaim Is: Check sliihatapply. $1,582.64
Goldenwest Lubricante |J contingent
M"Zy Mac|a$ E| unliquidated
1937 Mount Vernon Ave. E| Dlsputed
Pomona, CA 91768
eateie) debt was incurred Various ama f°"h° dam "
Laet4 digits of account number_ 15 the claim subject w men - N° m yes
3.144 Nonprlority creditor'a name and mailing address As otthe petition filing date, the claim is: Check eiiihatapply. $29,793.00
Gordon Partners Ei contingent
4900 Woodway Drive #1125 Ei unliquidated
Houston, TX 77056 g Dlsputed
netele) debtwee incurred Various sam form c|alm:
Leet 4 digits of account number _ -
is the claim subjectto offset? - No n Yes
i 3.145 Nonpnonty creditors name end mailing address As of the petition tiiing date. the claim ie: cheek elmer apply. $2,174.11
Grainger Ei contingent
Linda Fetuu g unliquidath
PO Box 419267 n Disputed
Kansas City, MO 64141
Date(e) debt wee incurred Various B°°l° f°' th° dam -
Last 4 digits of account number _ la the dam subject w °"s°t? - N° n yes
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3.146 Nonprlority creditor's name and mailing address As of the petition filing date, the claim is: check aliihaiepply. $119.99
Greenia Matt ij contingent
588 Timberiand Drive Ei unliquidated
Aflanfa, GA 3034-2 |:| Disputed
Date(s) debt was Incurred Various B“|s for me cmm: _
Last4 digits of account number_
le the claim subject ue oiieet? l Ne Ei vee
3.147 Nonprlority cmditofs name and mailing address As of the petition filing date, the claim is: check withersppr $10,602.32
Guardian Heating ij contingent
929 16th Ave. L`.i unliquidated
Lewiston, |D 83501 Ei Disputed
Dete(s) debt was incurred Various goals for the clalm: _
Last 4 digits of account number __
le tile claim subjectto ofieei') l Ne Ei Yee
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check allihetapply. $2,934.$$
GunBAmeriCa LLC n Contingent
5930 Royal Ll'l., St€. E n Un|iquidaied
PMB 329, TX 75230 n Disputed
Date(s) debt was incurred Various Basis for the claim: _
Last 4 digits of account number _
is the claim subjects enset? l No iIi Yee
i 3.149 Nonpriority creditor’s name and mailing address As of the petidon filing date, the claim is: Check ali ihai appiy. $1,320.00
Hahl'l Supply, ll'lc. E] Contingent
2101 Maln Street E] unliquidated
Lewiston, lD 83501 g msqu
eete(e) debt wee incurred Various seals for the c,alm: _
Last 4 digits of account number_
is the claim subject to offsst? - No i:l ¥es
3.150 Nonpriorlty creditor's name and mailing address As ofthe petition filing date, the claim is: Check alithaiapply. $23.25
Hammond Fradrick Ci contingent
9802 Magei|an Drive Ei unliquidated
Key Largol FL 33037 Ei Disputed
eete(e) dehtwae incurred Various ama forma mm _
Last 4 digits of account number
_ is the claim subject to ofiset? - No n ¥es
l 3.151 Nonprlority creditors name and mailing address As otthe petition filing date, the claim is: check alliiiai appiy. $715.95
Hampton inn & Suites Carson Ci Ei contingent
10 Hospiw|ity Way Ei unliquidated
Carson City, NV 89706 Ei Disputed
oeteie) debt was incurred Various sam forum dam _
Last 4 digits of account number _ _
is the claim subject to offset? - No n Yes
3.152 Nonpriority erediter'e name end mailing eddreee Ae ettiie petition iiilng date. the eieim ie: cneeli nllmeiepply. $1 .188-13
Hangtown Range Ci contingent
ili::€tBowndRanga Ei unliquidated
"°a Way Ei eis uted
Plaeerviiie, cA 95661 '°
. f fo th l l :
eeteiei debtwee incurred Various B“ s r s c a m _
Last 4 drew of account number_ is the claim subjectto onset? - No ij Yes
Oiiiciai Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 47 of 76
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Debtur Howell Munitions & Technology, inc. Case number (ifkmwn) 18-50610-bfb
Name
l 3.153 Nonpriority creditors name and mailing address Aa of the petition filing date, die claim is: check elliiiaiapply. $40.48
Henry Thomas El contingent
21 Churciil Downs Drlve El unliquidated
St. Peters, MO 63376 I:] Disputed
Date(s) debt was incurred Various eagle for ma clalm:
nt b
Last 4 diem of snow wm ar' is the claim subject io offset? . No n ‘(ss
§ 3.154 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check allihei epply. $355.45
Heriberto Martinez Ei contingent
10 Vista Rd. i:i unliquidated
Reading, PA 19610 jj Disputed
eate(e) debt wee incurred Various Basis for mo dam
L 4 dl its f nt numb
ssi g o uaw er_ is the claim subjec‘iio offsst? - No i:l ‘(es
1 3.155 Nonpriority creditors name and mailing address Ae of the petition filing date, the claim is: Check a/iilletapply. $351.25
ngh Slerra Business Systems |Ii contingent
2814 N Carson St. l:l unliquidated
Carson City, NV 89706 j:j Disputed
oateiej deetwee incurred Various Basis wm dam
Last 4 digits of account number_ _
is the claim subject to ofteet'r - No Ei Yeo
3.155 Nonprior|ty creditors name and mailing address As of the petition filing date, the claim is: check eli maiappiy. $58,977.85
Howell Constructlon Ei contingent
29978 Thiessen Road Ei unliquidated
Lewiston, |D 83501 - Dispuwd
Dats(s) debt was incurred w
Basis for the claim: _
Last 4 digits of account number _
le the claim subject to oiieet? l Ne El vee
§ 3.157 Nonpriority creditors name and mailing address Ae ofthe petition filing date, the claim is: Check aiiillaiapply. $D.UO
Howell Machine, |nc. Ei contingent
815 D Sffeef l:l Uniiquideted
Lewiston, lD 83501 - Disputed
Dstais) debt was incurred
" Basis for the claim: _
Last 4 digits of account number _
le tire claim subject to arisen l Ne El Yes
l 3.158 Nonpriority creditors name and mailing address A.e oftite petition filing date, the claim is: check eilinaieppiy. $323.61
Huber Action Freight Ei contingent
po BOX 709 m Unjjqujdaied
Coifax, WA 991 11 g Disputed
Date(s) debt was lncun'ed Various Basis for the °|a'm: _
Last 4 digits of account number_
le the claim subject to arisen l No Ei Yes
l 3.159 l Nonpriority creditors name and mailing address As of the petition filing date, the claim is: children weisppiy. $40,621.70
iMC-Metais America, LLC |:j Comjngem
Marcla Melocik, Donna g unliquidated
99 E. River Dr., Riverview Squaro 2 m Disputed
East Hartford, CT 06108
Date(s) debt was incurred Various Basis for me claim: _
Last 4 alng of account number _ le tire claim subject to offset? l No E| vee
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j 3.160 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim la: Check alllhaiapply. $353.16
industrial Hearing Service |nc. i`_'i contingent
12021 NE Summer St. i'_`i unliquidated
P°l'tland, oR 97220 g Disputed
oeteie) debt wee incurred Various ath for m claim
Last 4 digits of account number_ _
le the claim subject to ofteet'i l No Ei ven
l 3.161 Nonprlority creditors name end mailing eddreee Ae ortho petition tillng date, the claim lo: cnecnall meieppiy. $90.00
inland NW Metaliurgica| Servicas ij contingent
16203 E Mariatta Ave Ei unliquidated
Spokane, WA 99216 i'_'i oleputed
Date(s) debt was incurred Various each forma claim
Last 4 digits of account number _ _
le the claim subject to ofieet'i l No Ei Yes
3.162 Nonpriority creditors name and mailing address As oi‘ the petition iiilng date, the claim is: Check eiiiheiepply. $3,124.25
lnstructure inc i'_'l contingent
6330 S. 3000 EaSt, Sfe. 700 m Unliquidated
Salt Lake City, UT 84121-6237 |'_'| Disputed
bete(e) debt wee incurred Various sam for m cla|m_
Last 4 digits of account number _ _
ls the claim subjeclto cflsot’r - No cl Yes
3.163 Nonpriority creditors name and mailing address Aa of the petition Hiing date, the claim la: Check eurheiappiy. $0.00
integrity Bank, SSB l:l Contingent
4040 Washington Ave. |:i unliquidated
Houston, TX 77007-5606 - Dlsputed
Date{e) debt was incurred
" Basis fertile claim: _
Last 4 digits of account number _
ls the claim eubieotto owen l No iZi ven
3.164 Nonpriolity creditors name and mailing address As of the petition filing date, the ciaim la: Checkeilthaiappiz $28.00
isaac Jacks |`_`l contingent
19 Mapiecrest Dr. i`_`l unliquidawd
Chariaston, SC 29412 iIi Disputed
oeteie) debt wee incurred Various Basis form claim _
Last 4 digits of account number_
is the claim subject to ofiset? - No n Ves
l 3.165 Nonprlortty creditors name and mailing address As of the petition filing date. tila claim la: check ellinerapply. $145.73
Jack Landis Ei contingent
216 5 Caiifornia St Ei unliquidated
Yarington, NV 89447 Ei disputed
Date(s) debt was incurred Various Basis for the clalm: _
Last 4 digits of account number_ _
is the claim subject to ofisat? - No n Yes
3.166 Nonprlcrity creditors name and mailing address As of the petition fii|ng date, the claim Is: Check elmer appiy. $16,000.00
Jagemann Stamping Company |:| contingent
g;;r%s igaybousme l:l unliquidated
7 . uster t. n .
Dls uied
Manitowoc, Wi 54220 p
Date(s) debt was incurred Various Basla for ma clalm' "
Last 4 mem d gencom number_ le the claim eubjectto ctieet'i l No E| Yes
Oiiicia| Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 49 of 76
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Name

 

 

 

 

 

 

 

i 3.167 § Nonpriority creditors name and mailing address As of the petition filing date, the claim is: checksil that apply $0.00
Jansen Jones E| contingent
3790 Foo\hil| Drive l:| unliquidated
Lewiston, iD 83501 . Disputed
l ned Va
oeteie) debt was ncu rious sam for m claim: _
Last 4 digits of account number _
is the claim subject to otiset? l No Ei Yes
§ 3.168 Nonpriority creditors name and mailing address As of the petition filing date, the claim la: check ali that eppry. $117.08
Jeff McC|aln |:l contingent
5147 Canary Lane Ei unliquidated
Nampa, lD 83687 g Dlsputed
nete(o) debtwoe incurred Various mm for the dam
Lat4dl itsofacco ntn mber _
s 9 n u ' is the dnirn subjeotto otiset? l No E| ves
§ 3. 169 Nonprioth creditors name end mailing address As of the petition filing date, the claim is: Check all that apply. $1 75.04
Jeffrey Romanowskl |:| contingent
6569 Kall DI'. l:l Unliquidaied
Eidersburg, MD 21784 g Disputed
nete(e) debt was incurred Various sam for me mm
Last 4 digits of account number_ _ -
is ihe claim subject to oiiset? No l:\ Yes
§ 3.170 Nonpriority creditors name and mailing address As of the petition filing date. the claim la: Check ailth appy. $1 ,153.1 0
Jeremy Buok El contingent
12405 S. Aican St. Cl unliquidated
Olathe, KS 66062 Cl Disputed
Dats(e) debt was incurred Various Basla for me claim:
Last 4 digits of account number_ _
is the claim subject to offeet? - No |:l Yss
§ 3.171 Nonpriority creditors name and mailing address As of the petition filing date, tile claim is: Chedt ailmetspply. $286.64
JBl'l'y Sa\iage i:l Contingent
5073 Dyer Lane l:l unliquidated
Tayiorsvilie, UT 84129 g Dlsputed
oete(e) debt won incumd Various sam forma claim:
Laet 4 digits of account number _ _
ls the claim subjectto onset? l No E| Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check enthateppry. $224.46
Joey Hayashi E| contingent
262 Tangerlne Drive |:| unliquidated
Buda, TX 78610 Ei Disputed
oeteie) debt wee incurred Various ama forma dam
Last 4 digits of account number _ _
is the claim subject to oii'aet? - No n ¥ea
§ 3.173 Nonpriority creditors name end mailing address Ae et ute petition tillng deto, the claim is: chest oiltlietepply. $146.48
John Hendrickson |:l contingent
19412 Pompano Ln., Unit 105 |:| ungquidaied
Huntington Beach, CA 92648 g Dlsputed
Date(s) debt was incurred Various Baals for the claim
Leet 4 digits of account number _ _
is the claim subjectto offset? - No |:l ¥ss
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Debfor l Howell Munitions & Technology, |nc. Case number (if vwn) 18-50610-btb
Nams
1 3.174 Nonpriority creditors name and mailing address As of the petition filing date, the claim la: Check eiithatapply. 522.75
John Johnson l:i contingent
803 Shirez Drive |:| Un"quidan,d
Grovetown, GA 30813 g Disputed
Dete(a) debt was incurred Various game for me cla|m_
Last 4 digits of account number_ _
ls the ciaim subject to offsei? . No i:i ¥ea
§3.175 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: check ailmetepply. $265.26
John M¢Clinfin l:i Contingent
9701 Trumbull SE Ei unliquidated
Albuquerque, NM 87123 g Dlsputed
nate(e) debt wes incurred Various ama for me c|a|m_
Last 4 digits of account number _ -
is the deirn subjectto eileen l Ne Ei Yes
3.176 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim ls: Checka!ltliaieppiy. $22.09
John Visscher lIi contingent
10038 River Drive Ei unliquidated
Gibsonton, FL 33534 Ei Disputed
oatelet debt wire incurred Various ama fmha claim
Last 4 digits of account number _ _
is tire claim subject to desert l Ne El Yes
§ 3.177 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Check all that appiy. $120.00
Jones, Brower & Caiiery, PLLC |:| contingent
?;&?dr°::erst ij Uniiquidaled
a 0 m .
Dis uted
Lewiston, in 83501 °
Date(si debt was incurred Various Baala for the clalm: _
Lm 4 mm of account number_ is tire claim subject te oneet? l No iIi Yes
i 3.178 § Nonpriority creditors name and mailing address Ae of the petition filing date. the ciaim is: check author appiy. $2,815.00
Jose Luis Femandez Ei contingent
711 9 |lex Street Ei unliquidated
H°ust°n, Tx 77087 n niapu¢ed
Date(s) debt was incurred Various Basis fm the claim:
Last 4 digits of account number _ _ _
is the daim subject to offset? - No Ei Yes
§ 3.179 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkaii that apply. $146.48
Joseph Cambern Ei contingent
629 N 96th Streat El unliquidated
Mesa, AZ 85207 g manning
Date(ei debt was incurred Various Basl. for the claim:
Last 4 digits of account number _ _
le the claim subject to ofiset? . No m ¥es
As of the petition filing date, the claim is: cnedrelllnal epply. $0.00

3.180 Nonpriority creditors name and mailing address

Joseph Chase
434 Linden Ave
Lewiston, iD 83501

nate(e) debt wee incurred Various
Last 4 digits of account number _

m Contingent
m Unliquidsted

. Disputed

Basis forthe claim: F0|' I\O\i¢e EU[Q°SBS Of'll!
is the claim subject to arisen l No i.'.l rec

 

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Schedule EIF: Creditors Who Have Unsecured Claims

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Debior Howell Munitions & Technology, inc. Case number (ii krii'ii") 18-5°51°'bfb
Name
§ 3.161 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkali thai app'y. $198.79
Ji..ili° S Chavez L_.i Contingent
8888 Cltrus Ave., Unit C-22 iIi unliquidated
Fontana, CA 92335 Ei Disputed
Date(s) debt was incurred Various Basis for me clalm:
"°°t 4 drum °f a°°°"m number_ is tire claim subject to clieet? l No i:i Yes
§ 3.182 l Nonpriority creditors name and mailing address Ae of the petition filing date. the claim is: Check ali rhalapply. $610.90
KC Auto Paint & Supp|ies |Ii contingent
151 Thain Road |Ii unliquidated
Lewiston, iD 83501 Ei Disputed
Date(s) debt was incurred Various Basis for ma claim:
Last 4 mann of account number_ is the claim subject to offset? - No i:i ¥es
l 3.183 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check ali trial appiy. $1,125.00
Keith Kaizenberger |:i contingent
1825 Powers Drive |:i unliquidated
Lewistonl iD 83501 |:] mspan
Datele) debt was incurred Various eagle forma claim:
Last 4 digits of account number _
_ is the claim subjectto oifsst? - No l:i Yes
3.164 Nonpriority creditors name and mailing address As ofthe petition filing date. the claim is: check aillliai apply. $198.00
Kel|y's Cleanlng Service Ei contingent
3536 8th St. C |Ii unliquidated
Lewiston, lD 83501 |Il Disputed
Datela) debt web incurred Various seals forum dam
Last4 digits of account number _
_ is the claim subjectto offsei'? . No i:i Yes
, 3.185 Nonpriority creditors name and mailing address As of tile petition filing date, tile claim ie: check aI/lilai apply. $2,000.00
Kendal Watkins |Ii contingent
102 Spinnaker Clrcle |Ii unliquidated
Daytona Beach, FL 32119 |:| Disputed
Date(e) debt was incurred Various saab for me clalm:
Last 4 digits of account number _
_ is the claim subject to offset? - No l:i Yes
‘ 3.186 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: checks/liner epply. $1,248.50
Keyence Corp. of Ainerica |] Contingent
Andy Scheller g U ,. ,d ted
oept. cit 111za g n;::e:
Palatine, lL 60055-71 28
Date(s) debt was incurred Various Basis for me c|a|m: _
Last 4 digits of account number _ is me dam sub-ied w men - N° m Yes
3.187 § Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check elmer opm $530.00
Krieger Barre|s, |nc. |:| Contingent
Davldl Sandy g u , id md
2024 Meyrieid Rd. n D;;“u'§e:
Rifchfield, Wl 53076
Dete(s) debt was incurred Various nash for the claim: °'
Last 4 drum of account number _ is the claim subject to offset? . No i:i Yes
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Debtor Howell Munitions & Technology, |nc. Case number (ii wv~n) 18-50610-btb
Na.me
§ 3.188 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all that appiy- $899.48
Laird plastics m contingent
Ron McKay Ei unliquidated
7017 E. Mlssion Ave. Ei Disputed
Spokane Vailey, WA 99212-1198
Date(a) debt was incurred Various seals for the claim: _
Last 4 dlgns of account number_ le the claim subject to offset? - No n Yes
§ 3.189 Nonpriority creditors name and mailing address As of the petition filing date, the claim |e: Check alllhat apply $84.25
Landscapes By Deslgn Ei contingent
721 _Blyd°n AV€ |'_'i unliquidated
Lewlst°n, |D 83501 m Disputed
Dete(s) debt was incurred Various 5a 818 fm the claim
Last4 digits of account number_ -
lathe claim subjectto offset? l No n ¥es
§ 3.190 Nonpriority creditors name and mailing address As of the petition filing date, the claim |s: check ellthal‘app!y. $4,166.67
Larysa Unleashed LLC Ei contingent
8218 Santa Rosa Ct. Ei unliquidated
Sarasota, FL 34243 g Disputed
Date(s) debtwas incurred Various seals forum cla[m: _
Last 4 digits of account number _
la the claim eucjeetlo arisen l No Ei Yes
§ 3.191 Nonpriority creditors name and mailing address Ae of the petition filing date. the claim is: Check ali that eppiy. $0.00
Lax Firlng Range E| contingent
234 S. Hlndry Ave. E| unliquidated
lng|ewood, CA 90301 - Disputed
Date(s) debt was inclined _
Basis for the claim: _
Last 4 digits of account number_
is the claim subject to ofiset'? m No l Yes
§ 3.192 l Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: check gillnateppty. $212,684.90
Leader Too| Co inc Ei contingent
ggag Gué\sn Ei unliquidated
°x l:i Dis uted
l-larbor Beach, Mi 48441 "
. l i :
nata(e) debt was incurred Various ama mm c a m '
Laat4 digita or account number_ ‘5 me °'3"“ S"°i°°" ‘° °"se*? - N° m Y"‘°‘
' 3.193 Nonpriority creditors name end mailing address As of the petition filing date, the claim ls: Check eil!helapply. $2,578.50
Lewls Clark Recyciers Ei contingent
PO BOX 1687 m Unllquidaied
Lewiston, |D 83501 Ei Disputed
Date(s) debt was incurred Various sub for the claim:
La f 4 dl its f t h
8 g ° swann wm ar _ ls the claim subjectte arisen l No n Yes
l 3.194 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check elltnetsppiy. __M
Lewis-C|ark Ammunitlon Components, LLC Ei contingent
815 D Stl'e€t El Uniiquidatad
Lewiston, lD 83501 - Disputed
umw debt m wound _ Basis for the claim: _
Last 4 digits of account number _
la the claim aueiactto eileen l No Ei Yes
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maria lamm
Debtor Howell Munitions & Technology, inc. Case number (" "“°‘”") 13'5051°'!’“’
Nafne
3.195 § Nonpriority creditors name and mailing address As of the petition filing date, fire claim la: Check allihaieppiy. $124.44
Lewiston Auto Parts |:| contingent
208-746-1322 FOR LOCAL ORDERS |:] Un"quidated
PO Box 2648 lIi Disputed
Hayden, iD 83835
. Basis for tire claim: _
Date(s) debt was incurred M
Laat4 digila cfaocoun¢ number_ le the claim subject le onset? l No Ei rea
3.196 Nonpriority creditors name and mailing address As of the petition filing datel the claim is: Check eilthstapply. $114.96
Lewiston Sprlnkler Company Ei contingent
1602 1th Ave. n Unliquidatsd
Lewiston, lD 83501 [:| Disputed
Date(s) debt was incurred Various Basla for the c,a|m:
Last 4 diana of account number_ ls the claim subjectto offset? - No ij Yes
` 3.197 Nonpriority creditors name and mailing address As of the petition filing date. tire claim is: check elllhalappiy~ $1,464.20
L|berty Mutuai insurance Ei contingent
P0 Box 85307 E| unliquidated
San Dlego, CA 92186 g Disputed
Date(s) debt was incurred Various auto for ma clalm:
Last4diglta of account number_ _
ls tila claim subjectto oifsct? . No n Yes
§ 3.198 Nonpriority creditors name and mailing address As of the petifion filing date, the claim is: Check earner epply. $6,048.83
LlfeMap Assurance Company E| contingent
PO Box 6840 E| unliquidated
Port|and, OR 97228 g Disputed
Date(s) debt was incurred Vari°l.i$ seals for the cla|m:
Last 4 digits of account number _
_ is the claim subject to offset? - No n Yes
§ 3.199 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: checkailineiappiy. $1,600.00
Lindsey Monroe Ei contingent
1986 Shubert Ln. Ei unliquidated
Port Orsngs, FL 32128 g Disputh
Datc(s) debt was incurred Various each for ma c!a|m_
Last 4 digits of account number -
” lathe claim eubiectto offset? l No Ei res
§ 3.200 Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: check authoreppry. $56,539.50
LiSfi’ak n Contingent
100 W. Mll|port Rd. l:| unliquidated
Lliitz, PA 17543 |:| Disputed
Date(s) debt was incurred Various eula for the alarm _
Last 4 digits cf account number
_ ls the claim subject to offset? ' No m ¥es
3.201 Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: Check airthatdpply. $7,500.00
Logicbroker, inc Ei contingent
Cralg Regan Ci unli id ted
one Enterprlee Drive, stc. 425 g ois;:°:
Shelton, CT 06484
oatela) debt was incurred Various B°°‘° f°'u‘° °'“'"" -
Last 4 mann of account number_ is the claim subject to oHsst? - No i:l Yes
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DeblOr Howell Munitions & Technology, |nc. Case number (lfkn°wn) 18-50610-btb
Name
§ 3.202 Nonpriority creditors name and mailing address As of the petition filing date, the claim la: Check nllihal‘appiy. $0.00
Lo|o Sporting Goods, |nc. |Ii contingent
1026 Maii'l St. l:i Unliquidaved
Lewiston, lD 83501 - Disputed
oats a debt was in d Various
( ) cum ___ Basis fortna claim: For Notlce Pu[goses Oni!
Last 4 digits of account number __
is fha claim subject to offsef? - No l:i Yes
3.203 Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: cnacirsiiliralapply. $3,294.30
L00miS ij Contingent
DBPf- CH 1050° |Ii unliquidated
Pa|at|ne, iL 60055 g empoth
oata(si dobtrrros incurred Various ama forma dam _
Last 4 digits of account number _
is the claim subjective offset? l No l:i Yes
1 3.204 Nonpriority creditors name and mailing address As of tire petition filing date, the claim is: Check oil inst appiy. $148,247.28
Luvata Appleton, LLC i:l contingent
Po Box 20°498 n Un|iquidaied
Pittsburgh, PA 15251 g Disputed
Date(s) debt was incurred Various sub forma c|a[m: _
Last 4 digits of account number _
is the claim subjectto offaef? - No ij ¥es
§ 3.205 ] Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check aiiinaiappiy. $4,318.55
Maintenance Connection inc |:| Congnggm
il:freriS"terA st 103 n U""q"idm
raw ve" e' n Dis ufed
Davie. cA 95616 "
l :
Data(a) debt was incurred Various Basis for me cia m _
Last 4 digits ot account number_ is tire ciaim subject to susan l No E| roe
3.206 Nonpriority creditors name and mailing address As of tha petition filing date, the claim is: Chedralilhaiapply. $87.47
Mai'k Ginfei' ij Contingent
9595 Coy°fe Ct. n Unliquidated
Nob|esviiie, |N 46060 g Disputed
Date(s) debt was Incuned Various Basis for me claim: _
Last 4 digits of account number
'° is tire ciaim subier:tto onset? l No Ei Yes
§ 3.207 Nonpriority creditors name and mailing address As of the petition itiing date, the claim is: Check alitnalapply. $116.50
Martin Heaid |Ii contingent
112 Kearsarge Vai|oy Rd. |:] uniiqutdoted
Wiimot, NH 03287 g Disputed
Date(o) debt was incurred Various sam for the dam _
Last 4 digits of account number _ _
ls the cialm subject fo offsei? - No l:i Yes
3.208 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check aiitrrstappiy. $1,150.83
McMaster-Carr Supply Co iIl contingent
PO Box 7690 iIl uniiquidated
Chicago, lL 60680-7690 El Disputed
Dato(s) debt was incurred Various Basis forms claim: _
Last 4 digits of account number
' is tire oieirn subject to oneat') l No iIi Yes
Oiilcia| Form 206 ElF Schedule ElF: Creditors Who Have Unsecured Claims Page 55 of 78
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rizziia tamm
Debtor Howell Munitions & Technology, |nc. Case number (ii knvwn) 18-50610-btb
Nams
3.209 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkeiilhalapp‘y. 523,923.00
Media Lodge, inc \:l Contingent
P0 Box 2511 El unliquidated
Kennesaw, GA 30156 jj Disputed
oate(ej debt was incurred Various ama form claim:
Last 4 digih of account number _
ls the claim subject to offset? - No \:l Yes
j 3.210 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check a!/ihaiapply. $7,129.92
Mesa County Sherifi's Ofi`ice Ei contingent
544 Rood Ave. Ei unliquidated
Grand Junctlon, CO 81502 g Dlsputed
Date(s) debt was lncun'ed Various Basis for the claim:
Last 4 digits of account number_ _
ls the claim subject to ofisst? - No i:i Yes
§ 3.211 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all mtapply. $0.00
Mlami Po|ice Depot, inc. E| contingent
2540 W. 84th S‘L |:l unliquidated
Hiaieah, FL 33016 - Disputed
Data(s) debt was incurred _
Basis fortho claim: _
Last 4 digits of account number _
is tire alarm eubjectio arisen E| No l Yes
j 3.212 j Nonpriority creditors name and mailing address As of the petition filing date, tire claim is: Check ail!hatapply. $73.50
Michaei Cai'l'ies n Contingent
1084-1 Pi'aii'ie Lane |:| unjjqrjidaj¢d
Mokena, iL 60448 |:| Disputed
Date(s) debt was incurred _ sub for the clafm:
Last 4 digits of account number_
le tire oiairn subjeetto otteat? l No El Yes
3.213 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all thai spply. $207.16
Michaei Jackson El contingent
25111 Linda vlsw Dr. n Unliquidg[ed
Laguna Hilis, CA 92653 jj Disputed
ootajs) debt was incurred Various seals for the claim:
Last 4 digits of account number _ _
le tire claim eubjeotto arisen l No E| Yes
j 3.214 Nonpriority creditors name and mailing address As of the petition filing date, tha claim is: Check siliilatapply. $828.64
Michaei McWhorter Ei contingent
3159 Bear Holiow Road |:| gnjrqurdmed
Uniontown, OH 44685 Ei oisputed
Data(s) debt was incurred Various male for ma clacm,
Last 4 digits of account number_ _
is tire oiairn subjeetto onoat? l No Ei Yes
j 3.215 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check ailth $85.68
Michaei Nguyen El contingent
2085 Mal'tel' Ave. n unjjqujdated
Simi Vailey, CA 93055 jj Dlsputed
oete(o) debt was incurred Various ama for ma cla|m_
Last 4 digits of account number _ _
is the oiairn eubjaotto onset') l No iIl yes
Oiiiciai Form 206 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 56 of 75
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Debior Howell Munitions & Technology, inc. Case number (lluwn) 18-50610-btb
Narne
i 3.216 Nonpriority creditors name and mailing address As of the petition fliing date, the claim is: Check ailtnai apply. $54.40
Michaei Whife l:l Contingent
2001 Vil'lfn€l'$ Ct. n Un|iquidated
Raleigh, NC 27610 El Disputed
Dats(s) debt was incurred Various Basis for the cla|m: _
Last 4 digits of account number _
ls the claim subject to offsst? - No n Yes
3 3.217 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check elllhatappiy. $553,667.00
Midwest Brass, LLC E| contingent
9254 US_-31 \:\ Unliquidawd
West O|ive, Ml 49460 E| Disputed
Dats(s) debt was incurred Various goals for mo c'a|m: _
Last 4 digits of account number_
is the claim subjectto offset? - No n Yes
§ 3.218 Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check ailihaiapply. $11 .88
Mlke Kasaba El contingent
18635 Flimore St. El unliquidated
LiV°l'lla, Ml 48152 n Disputed
Dats(s) dsbtwss incurred Various seals forum alarm _
Last 4 digits of account number _
is the claim subjectio offset? - No l:l Yes
§ 3.219 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Mi|an Biago]svic-Namenska A.D. El contingent
:;;i:c:t:ita bbi El unliquidated
"°a" El eis utod
Repub|lc of Serbia p
th l :
Date(s) debt was incurred Various seals for a c elm ”
wm drum of account number_ la the olaim subject to onset? l No E| Yes
3.220 l Nonpriority creditors name and mailing address As of the petition filing date, the claim la: Check a!llhal appty. $1,844.05
Miies Chemical El contingent
12801 Rangoon St. El unliquidawd
Al’iefa, CA 91331 n Disputed
Date(s) debt was incurred Various Basis for the c|alm: _
Last 4 digits of account number _ .
lathe claim subject to cflsst? - No n Yes
l 3.221 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all inst apply. $1 ,01 6.96
Mitch Savoie Ei contingent
825 Ombrage Rd. El unliquidated
Carencro, LA 70520 jj Disputed
Dats(s) debtwas incun'ed Varloi.ls Basla for the claim: _
Last 4 digits of account number _ _ '
la the claim subject to cflset? - No l:l Yes
3.222 Nonpriority ereditore name and mailing address Ae oi the petition ming date, the claim la: cheek ellinai apply. $17,183.00
Moss Adams LLP E| contingent
PO Box 101822 Ei unliquidated
Pasadsna, CA 91189-1822 Ei disputed
Date(s) debt was incurred Various Baals for the claim: _
Last4 di its f t b
g ° a°°°"" ""m °'“ lathe olairn aubiecttoofiaet? l No E| Yes
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Debtor Howell Munitions & Technology, |nc. Case number (" '“W") 18‘5°51°'*’“’
NBmB
ny 3.223 l Nonpriority creditors name and mailing address As of the petition filing date, the claim la: Check alliliaiappiy. $3,235.89
Motion industries, inc Ei contingent
ken m Unllquidatcd
9922 E. Montgomery, Units 18 & 19 n Disputed
Spokane Va|ieyl WA 99206
Basis for the claim: _
eate(e) debt web incurred Ms_
Last 4 dlgibr or accoun¢ umw _ ls tire claim subject to oiieat? l No E| van
§ 3.224 Nonpriority creditors name and mailing address As of tire petition filing date. tire claim ls: Check allrhatapply. $1 ,065.92
Mound House Trus Value Hardware El contingent
10189 i-iwy 50 E E| unliquidated
Carson Cltyl NV 89706 El Disputed
eatele) debt wee incurred Various mm m ma dam
La“ 4 along of account number ` ls the claim subject to offset? - No |:i Yes
§ 3.225 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check alithaiappiy. $4,561 .$3
MSC industrial Supply Co Ei contingent
PO Box 953635 l:l unliquidated
Sa|nt Loulel MO 63195 g Disputed
Date(s) debt wes incurred Various goals for ma clalm:
Last 4 digits of account number_ n
is the claim subjectfo offset? l No l:l Yes
w Nonpriority creditors name and mailing address Aa of the petition filing date. the claim ls: Check alirhai apply $4,000.00
Mytota, |nc. E| contingent
12435 Tesuque Dr Ei unliquidated
App|e Va|ley, CA 92308 g mspqu
oato(a) debt was incurred Various ama for m claim:
Last 4 digits of account number _ -
is the claim subject to ofisst? l No n ¥es
l 3.227 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check allihatepply. $10,699.16
National Machinery, LLC jj congngenj
Tammi Dryfus i:i Unliquidatcd
161 Greenfleid Street n Disputed
Tiffln, OH 44883
Date(s) debt was incurred Various Baals for the cla|m: _
Last 4 drum of account number_ is the claim subject to offset? - No n Yes
EB:| Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkalithsieppi¢ $°.00
NET Global l:i Contingent
359 W. Elm Stl'e€t n Uniiquidated
Penbroke, MA 02359 . Disputed
Data(s) debt was incurred Various
_ '_ Basis for the claim: _
Last 4 digits of account number _
is the claim subjed to offsst? - No ij ¥sa
3.229 l Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check allihaiepply. $5.00
Nsvada Empioyment Security D|v E| contingent
500 E Third St. E| unliquidated
Carson City, NV 89713-0030 g Disputed
Date(s) debt was incurred Various Basis for am clacm_
Last 4 digits of account number _
_ le tire claim subject to orieeri l No |Zi tree
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§ 3.230 Nonprtority creditors name and mailing address As of the petition ililng date, the claim is: Check allthatapply. $1,169.88
Nevada Occupationa| Hsaith Cen ill contingent
PO BOX 2:| 226 ij unliquidated
Carson City, NV 89721 g mspu,ed
Date(s) debt was incurred Various Basis forma claim: _
Last 4 digits of account number _
is the claim subjectto offsai? - No l] Yes
3.231 Nonpriority creditors name and mailing addreee Ae or tile petition ming date, ute claim let check air veracity $684.91
Nickolaus Mans El contingent
173 Flscher ij unliquidated
Spur, GA 30265 jj Disputed
nataiei debt was incurred Various Basis form dalm: _
Last 4 digits of account number _
is the claim subject to offsei? . No n Yes
` 3.232 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check eiltnatappiy. $O.UD
NMHG Financiai Services, |nc. Ei contingent
P._O_. Box 35701 Ei unliquidated
Bl||ings, MT 59107 . Disputed
oate(e) debtwaa incurred Various
Basis for tito claim: _
Last 4 digits of account number _
is tire claim cubjectte otiser) l rtc lI| yes
Nonpriority creditors name and mailing address Ae of the petition filing date, the claim is: check eliihaiapply. $1,259.$1
North Coast E|ectric Ei contingent
4105 North Gov't Way ij unliquidated
Couer d' Alene, lD 83815 jj ojspmd
Dste(e) debt was incurred Val'lOUS Basis forma cla'm: _
Last 4 digits of account number_
is the claim subject to arisen l No ij Yes
§ Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check dinner eppiy. $6,800.00
Northwestem Mutuai E| contingent
PO BOX 2062 l:] Uniiquidaied
Miiwaukee, W| 53201 jj Dispmd
Date(s) debt was incurred Various Basis for me clajm: _
Last 4 digits of account number _ _ -
is the claim subject to arisen No U Yes
@ Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check aliihsiappy. 5425.00
Novatlon, |nc. l:l Contingent
2616 N. Locust Rd. Ei unliquidated
Spokane, WA 99206 jj Disputed
neteiai debt was incurred Various ama fm m dam _
l 113 f f
mem d g o acc°un number_ is the daim subject to offsat? - No n Yes
3.236 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Check ali ihaispply. $1 05.00
Nu-Systems, inc El contingent
1266 Dressiorvi||e Rd. El unliquidated
Gardenvi|le, NV 89721 |:] Djspujed
Dste(s) debt was incurred Various nash for the clajm: _
Lm 4 alng °f account number ” is the claim subject to cfiaet? l No |'_`| Yes
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anna umwa
Debior Howell Munitions & Technology, inc. Case number (" “"“’”") 13'5°51°"'3"*
Name
§ 3.237 Nonpriority creditor’s name and mailing address Ae of the petition filing date, the claim is: check allrharappiy. $1,424.00
NL|V°dla, LLC n Contingent
801 S Stevens Street ij unliquidated
Spokane, WA 99204 ij Disputed
Dcm(c) debt was incurred Various ama for ma dam
Last 4 d'g"’ °' account number_ is inc claim subjectw cfisai? l Nc Ei Yes
§ 3.238 l Nonpriority creditor‘e name and mailing address As of the caution tiling date, the claim is: Check allmaiapply. $5,484.42
NV El'lel'gy l:l Contingent
PO BOX 30065 l:l Unliquidatcd
Reno, NV 89520 [] Disputed
Date(a) debt was incurred Various Basis for me claim:
Last 4 mann of account number_ ls the claim subjected offset'? . No l:l Yes
§ 3.239 Nonpriority creditch name and mailing address A.s of the petition filing date. the claim is: check ailihatapp.‘y. $13,542.34
Oak Harbor Fre|ght l:l contingent
PO BOX 1459 l:l Un|iquldated
Allbl.lm, WA 98071 m mspqu
oawid) ddlnwds incurred Various ama mm claim:
La 4 l I'LB f f b
st d g ° swann nom °r' is the claim subjeciw circh l Nc Ci ch
3.240 Nonpriority cmdlwfs name and mailing address Aa of the petition filing date, the claim is: check aliiliaiappiy. 529,142,29
old Dominlon Frelght Lines ij ccnn'ngcni
PO Box 742296 Ei unliquidated
Los Ange|es, CA 90074-2296 E| disputed
Date(s) debtwss lncurred Various goals for the c!a[m_
Laet 4 digits of account number _ _
ls the claim subjected chen . No m Yes
l 3.241 Ncnpricrity creditors name and mailing address Ac ortho petition filing date, me claim is: crim niliiuiappiy. $115,773.00
Orac|e America |I| ccniingern
::l;\gholip P kw E| unliquidated
rac a ar ay - .
Redwood Shoras, CA 94065 Disputed
Data(s) debt was incurred Various seals for mo umw -
Last 4 digits of account number_ le the claim subject to o‘i\‘sat? - Nc cl Yes
3.242 Nonpriority creditor‘s name and mailing address Aa of the petition filing date, the claim la: Check all inatapp.‘y. $2,508.57
Orange County Sherrit‘s Ofi'lce Cl contingent
PO B°X 445 Ei unliquidated
Orange, VA 22960 g Disputed
Data(s) debt was incurred Various Basis for um claim: _
Last 4 digits oi account number _
ls the claim subject to offset? . No n Yes
§ 3.243 l Nonpriority creditor's name and mailing address As of the petition filing date, the claim la: Checkaliiriaiappl¢ 5667.25
Oxal'¢: n Contingent
1513 3rd Ave El uniiquldcicd
Lewiston, lD 83501 |:] Disputed
Date(s) debtwaa incurred Various sub forum claim: _
Last 4 digits of account number _
ls the claim subject to cfrset? - No n Yes
Oflicial Form 206 E/F Schedule E/F: Cradiliurs Who Have Unsecured Claims Page 60 of 76

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3.244 Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim la: Check allihelapply. $3,653,103.80
F Kay Metal, inc E] Contingent
LarryEKazyE,th Stre t n Un|iquidated
2448 . 9 n . ted
Los Angeles, CA 90058 Dlspu
Date(s) debt was incurred Various Basis forma claim: _
Last 4 digits 01 account number_ lathe claim subject to offset? m No - Ves
§ 3.245 § Nonpriority creditors name and mailing address As of the petition filing date, the claim la: Check alithatapply. $3,060.64
Pacific Steel & Recyc|ing |:] cmnngem
Clndy Hanson E| unliquidewd
FO BOX 1570 n D- men
Heyden, in assas 's"
amici deemed incuned Various B°°'s f°'"'° dam ~
Last 4 niigilin of account number_ ls the claim subject to offsat? - No l:l Yes
§ 3.246 Nonpriority creditofs name and mailing address As of the petition lillng date, the claim la: Check all that appiy. $27,313.39
Packaglng Corporation of Ameri E| condngem
Tawnya McKinney ij uniiquidaied
PO Box 51584 i:i D. ind
Los Angeles, CA 80051 lspu
naceie) debt was incurred Various Ba°'° f°"h° dam ~
Lnni 4 digits of account nnmnn, le ina ciaim subjecl ic eiicei'r l Nc El res
§ 3.247 § Nonpriority credltor's name and mailing address Aa ofthe petition filing date, the claim is: check elllhelepply. $928.99
Pape Materia| Hand|ing H40FT E| contingem
Tim Tlmmerman ij uniiquidnied
FO Box 5077 ij . ind
Periiand, on 91208-0501 °'“"“
oateis) dear wee incuned Various B°°'° f°'th° °'a""' -'
i_nnt 4 diana ni account number is me claim subjeciie arisen l Ne E| rec
3.248 Nonpriority creditoi‘s name and mailing address As of the petition filing date. the claim ls: Check allriiarappiy. $D.UU
Para|lel Group E| contingent
1380 Hamel Road |J unliquidated
Hamel, MN 55340 - Dispnien
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subjectto offset? - No El Yes
§ 3.249 Nonpriority creditors name and mailing address As of the petition filing date. the claim la: check au!hateppi'y. $11,001.02
Parallel, LLC l:l Contingent
:§;‘3"|:|, LL|CRd Ei unliquidated
amc ' Ei e' r d
iviedine, illil 55340 '“’" °
Date(s) debt was incurred Various Basis for the c|a|m: "
Last 4 diana of account number ls the claim subjected offset/ii - No n ¥es
§ 3.250 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check ailthat apply. $63.00

Patrick Harvey
2818 Cambridge Rd.
Lake Worth, FL 33462

oereie) debt wee incurred Various
Laet4 digits of account number_

l:l Contingent
El Un|lquldated
n Dlsputed

Basis for the claim: _
is inc claim subject to arisen l Ne El ves

 

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Debtor Howell Munitions & Technology, |nc. Case number (ii knwn) 18-50610-btb
Name
Nonpriority creditor‘s name and mailing address As of the petition filing date, the claim is: Check ailihaiapply. $3,655.00
PCB Piezotronlcs, inc. El contingent
§;;;ew |d A m Un|iquidated
a en VB. m D~ med
Depew. NY 14043 'sp
Date(a) debt was incurred Various eagle for me cla|m' _
Last 4 digits of account number_ ls the claim subject to offset? . No m ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alithatappiy. $843.96
Perfection T|re of Lewiston Ei contingent
533 Thain Road Ei unliquidated
Lewiston, lD 83501 El oisputed
Date(s) debt was incurred _ Basis forma claim:
Last 4 diglw of account number _ _
is the ciaim eubiectto arisen l No Ei Yes
i 3.253 Nonpriority creditor‘s name and mailing address As of fha petition filing date, the claim la: Check allthalappiy. $155.42
Philllp A SWldBl’Skl Sl' n Contingent
15971 Smokey Hoiiow Road E| unliquidated
Traverse City, Ml 49686 g Disputed
Date(s) debt was incurred Various Basis for me claim:
Last 4 digits of account number _
"' ls the claim subjectto offset? - No m Yes
i 3.254 Nonpriority creditor's name and mailing address As ofthe petition lillng date, the claim is: Check silthatspply. $178.63
Pinnacie investigations Corp Ci contingent
920 N Ai`gOnl`iB Rd., Sfe. 200 n Uniiquidgged
Spokane Va|iey, WA 99212 g annum
Date(s) debt was incurred Various Basis for the cinim_
Last 4 digits or account number '
_ is the claim subjecttc cfi‘set? - No l:l ¥es
§§555 Nonpriority creditor's name and mailing address Ae of the petition filing date, the claim ls: check alithalappi‘y. $1,084.98
Pitney Bowes l:l contingent
PO Box 371874 |Ii unliquidated
Pitlsburgh, PA 15250 Ei oieputed
Date(s) debt was incurred Various again for inn ciaim:
Last 4 digits of account number_ _
ls the claim subject lie cffset? . No cl Yes
3.256 Nonpriority creditor‘s name and mailing address As of the petition filing date. the claim la: Check eli that apply. $3,1 88.25
Pivof P|'eclSlOl'i m Contingent 1
1-71 5-625-8000 ['_'| uniiquidatnd
6550 Campbell Blvd. i-_-i unpuin
Lockport, NY 14094~9228
Date(s) debt was incun'ed Various Basis for the c|a|m: _
i_nni 4 diniw of mount number_ le tire claim subject to arisen l No Ei vac
i 3.257 Nonpriority creditor’s name and mailing address Ae of the petition filing date, the claim ls: check ali that eppiy. $0.00
Preclslon One Ammo El contingent
2071 Wambaw Creek Road El unliquidated
Charleston, SC 29492 |:| Dinnmnd
Date(s) debt was incurred _ Basis for me claim:
Laet4 digits of account number _
_ ls the claim subjectto offset? l:l No . Yes
Of|icial Form 206 E/F Schedule EIF: Credltors Who Have Unsecured Claims Faga 52 of 76
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Debior Howell Munitions & Technology, inc. Case number (tt kne~n) 18-50610-btb
Narne
5 3.258 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: check a!ltnaropply, $2,634.68
Precision Punch Corporation ij contingent
304 _Chrlsttan Ln. Ei unliquidated
Beriln, CT 06037 g Disputed
Date(s) debt was incurred Various Basis for the claim: _
Last 4 digits of account number __
is the dann sovieetto arisen l No ij yes
f 3.259 Nonpriority creditors name end mailing address As of the petition filing date, the claim is: checkelllhatspply. $90.91
Primeiand Cooperatlves Ei contingent
P.O._Box 467 Ei unliquidated
Lewiston, lD 83501 g Disputed
Date(s) debt was incurred _ eads for the claim: _
Last4 digits of account number_
ls the claim subjectto cfrset? - No i:l Yes
3.260 Nonpriority creditors name and mailing address As of the petition iiilng date, the claim is: check all that apply $231 .00
Ral.ll Sofelo l:] Contingent
19439 Rosebud Rldge Way |:l unliquidated
spri"gr Tx 77379 n Disputed
Date(s) debt was incurred Various Basls for me claim: _
Last 4 digits of account number
" ls the claim subject to onset? - No i:l ¥es
i 3.261 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Chedt all that apply $27,295.00
RBa_CO, LLC m Contingent
gang Buzrgss Ei uniiquideted
°x El o'e uted
Kearney, NE 68848 l p
oete(ei debt was incurred Various ama '°r me °'a'm' *
uaw diana of account number_ ls the claim subject to offset? . No i:l Yes
3.262 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that epply. $5,150.00
Rex Layton E| contingent
1134 Bth St. i:i unliquidated
Clarkston, WA 99403 iZi nlsputed
Date(s) debt was incurred Various Basfo forum claim: _
Laet4 digits of account number
“ le tne elenn subieette eileen l No E| Yes
@ Nonpriority creditors name end mailing address As of the petition filing date. tile claim is: Check e!l that trinityI $300.00
Richard James & Associates inc Ei contingent
4317 NE Thurston Way, Ste. 270 Ei unliquidated
Vancouver, WA 98662 Ei Disputed
nete(e) devtwae incurred Various Bas,a forum claim: _
Last 4 digits of account number
' is the eleim subieet to ended l No Ei Yee
l 3.264 l Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check eli thalspply. $15.96
Richard Withers Ei contingent
8110 201 st Street East |Ii unliquidated
Spanaway, WA 98387 |;| Disputed
umw d°bt was ln°""°d -__varl°us Basis for the claim: _
Leet4 digits of account number_ ls the claim subject w mo - No n yes
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Debior Howell Munitions & Technology, |nc. Case number (ii mmi 13'50510'!|¢|3
Neme
3.265 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check allihsi apply. $73.02
Robe|'f Hari$hom ij Conb'ngent
7012 NE 141st Ct El unliquidated
Vancouver, WA 98682 i:| Disputed
Dete(s) debt was lncurred Various Ba,|s for tha claim:
Last4 digits of account number_ ls the claim Subjedb owen - N° m Yes
§ 3.266 Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check aliiliaiapply. $46.04
Robel't KBG n Contingent
91103 Youngs River Road E| unliquidated
ASfol’ia, OR 97103 |:| Disputed
oate(el debt was ineuned Various ama forum dam
b
"“°“ d'°"” °f°°°°""t mm °"' le tile oleiin aubiectto arisen l No i:| Yee
l 3.267 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check slithaiapply. $97.30
RobBl'\ Sfopa m Contingent
1101 S Hunt Club Dr., Apt 412 |:| unliquidated
Mt. P|’OSpeCt, lL 60056 n Disputed
Date(s) debtwas incurred Various sum for the c|a|m:
di ltd f f b
usi 4 g ° a°°°m mm er ~ is the oiaim subject to arisen l No El yes
3.268 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check alliheiapply. $20.93
RobBl't Wallace i:l Contingent
2298 Willow Street Pike L'.i unliquidated
Lancaster, PA 17602 |:| Disputed
Date(s) debt was incurred Various Basis for the cca'm:
Last 4 digits of account number_ _
ls the claim subjectto oiiset? - No \:l Yes
l 3.269 Nonpriority creditors name and mailing address As of tile petition filing date, the claim is: Checkaii that sppiy. $792.00
Rodeo |ntemet Services i:i contingent
909 6th St. Ei unliquidated
Ciarkston, WA 99403 ij Dlsputh
natelei debtwae incurred Various ama forma dam
Last 4 digits of account number_ -
is the claim subject to offset? . No n ¥ss
`i 3.270 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check alitnstspply. $69.75
Ro|f Johnsen Ei contingent
39 Greenwood Drive Ei unliquidated
South San Francisco, CA 94080 g mspqu
Date(s) debt was incurred Various Basis forum clalm: _
Last 4 digi1s of account number _
le the oiaini aubieet to arisen l No El Yes
, 3.271 Nonpriority creditors name and mailing address As of the petition filing date, the claim la: Check eli that spply. $313.50
Ronnie Earie i:l contingent
61 Wiidemess Ct. iIi unliquidated
Harpes Ferry, wv 25426 n Disputed
Date(s) debt was incurred Various Basis forma cmm: _
Last 4 digits of account number _
is the claim subjectto offset? . No n ¥es
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Debl°r Howell Munitions & Technology, inc. Case number (ii mown) 18-50610-btb
Name
3.272 l Nonpriority creditors name and mailing address As of the petition filing date. tile claim la: Check ellihatappiy. $1,870.02
Royai Diversified Products, in i:i contingent
PO BOX 444 Ei unliquidated
Wal'ren, Rl 02885-0444 n Dlsputed
Date(s) debt was incurred Vari¢us Basis forma claim: _
Last 4 digits of account number
' le tile elaim subjeet to eileen l No Ei Yes
5 3.273 l Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all trier apply. $13,415.69
Royai Metal |ndustries, inc |:| contingent
Visanu Chawla ij U |- -d ted
7240 Sycamore Canyon Blvd. n Dir;:;:
Riversidel CA 92608
oete(o) debt wee incurred Various ama f°"h° °'a'm: '
Last 4 mng owenth number_ is the claim subjectto ciiset? . No n Yes
l 3.274 Nonpriority creditors name and mailing address As of tile petition filing date, the claim is: Check elltllateppiy. $79.36
Rudoiph's Auto Service E| contingent
508 Beachey Street i:i unliquidated
Lewiston, in 83501 n Disputed
Date(s) debt was incurred Various Basls forum clalm: _
Last 4 digits of account number
_ is the claim subjectto offset? l No |:i Yes
i 3.275 l Nonpriority creditors name and malilng address As of the petition filing date, the claim is: Check ali thatappiy. $12,115.52
Rudy Zaruba n Contingent
10202 RuSSBf Field Ct. E] Uniiquidated
Houston, TX 77070 - Disputed
nate(o) debtweo incurred Various
Basis for tile claim: _
Last 4 digits of account number _
is the elainl euvieetto eisen |Zi No l Yes
§ 3.276 Nonpriority creditors name and mailing address As ofthe petition filing date. the claim is: check all that appiy. $64.00
Ryan Pattrnan E| contingent
1201 Canterbury Blvd. Ei unliquidated
Altl.lS, oK 73521 m Disputed
Date(s) debt was lncun'ed Various Bas|a for nw claims _
Last 4 digits of account number
" is tile eieirn subject to ofreen l Ne Ei Yes
§ 3.277 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check aurheiapply. $9,009.00
S & A Wood Speciaities ij contingent
!|a:;;§ A RI A g Unliquidated
P°" V°- Ei D' ted
Lewiston, in 83501 'S'°“
Date(s) debt was incurred Various Baels for ma claim _
mt 4 mm of mount number_ le lite deirn subject to eileen l Ne |I| Yes
f 3.278 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: checkaiiihaiappn/. 56,250.00
SAAM| m Contingent
1R1arl`ddliy Hill Rd g unciquidamd
° - Ei et ted
Newton, cT 06470 s°u
Date(s) debt was incurred Various Basis for me emm- _
Last 4 digits of account number _ "°' me dam subject w owen . N° n Yes
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Debfor Howell Munitions & Technology, |nc. Case number (" “"°‘*'“) 18'5051°'|3“’
Namo
l 1219 nonpriority e;editore name end mailing eddieeo Aa ottne petition filing date, tile claim ie: cnaclieiiinaleppiy. $942.28
Safety- Kieen Systems |I| contingent
1200 Marietta Way E| unliquidated
Sparks, NV 89431 El cieputed
Date(s) debt was incurred Various Basis for me claim:
mt 4 ‘"9"° °f°°°°""' number_ le lite claim subject to eileen l No |I| Yee
j 3.200 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check allirlaispply. $5,400.00
Saginaw Machlne Systems Ei contingent
iiii.“:i°'i. et U…
. am on . g D- ted
saginaw, Ml 48602-4354 's°“
. Basis for the claim: _
oete(e) debt wee incurred w
Last 4 diana of account number_ is the claim subject to offsei? - No cl Yes
_§ 3.281 Nonpriority creditors name and mailing address Ae of tile petition filing date, the claim is: Chedr all iilei sppiy. $375.62
Sa|a Motor Freight E| contingent
FO Box 730532 E| unliquidated
Da"as, Tx 75373 n Disputed
Date(s) debt was incurred Various mm for the cla[m:
f b
Last 4 mem o account mm er_ lathe claim subject to offsot? . No l:i Yes
3.282 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check autharapply. $107.90
Schurman's True Value |Zi contingent
801 6th Street iIl unliquidated
Ciarkston, WA 99403 E| oieputed
oate(ej debt wee incurred Various ama w me claim:
Last 4 digits of account number _
' is the claim subjecito offset? . No g ¥es
3.283 Nonpriority creditors name and mailing address As of the petition iiiing date, the claim is: Check ailirlatepply. $6,925.61
Schwab's Screw Machine Product El contingent
24458 Webb Rd. Ei unliquidated
Lapwai, iD 83540 g oispuwd
Dete(e) debt was incurred Various ama form dam
Last 4 digits of account number _
” is the claim subject to offset? l:l No - Yes
` 3.284 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Check ellthaiapply. $271.38
Sean B|ake|y |:| contingent
2671 Sw WindShlp Way |:| unliquidated
Stuart, FL 34997 g mspqu
Date(s) debtwas incurred Various sub for me claim:
Last 4 digits of account number _
” le tile claim subject to eileen l No Ei Yes
j 3.285 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check ellihaiapply. $1,130.00
Seaport Mach|ne |Zi contingent
1 719 1 3th Street iI| unliquidated
Clarkston, WA 99403 g Disputed
Dats(s) debt was incurred Various Baa|a for the clalm_
Last 4 digits of account number _
' is tile claim subject to eileen l No iZi tree
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Deblor Howell Munitions & Technology, |nc. Case number (ii known) 18-50610-btb
Nerne
3.286 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check alllllaiapp!y. $3,992.74
Shumaker, Loop & Kendricit iIi contingent
240 S. Pineapple Ave. El unliquidated
Sa|’a$ofa, FL 34235 l:i Disputed
Date(s) debt was incurred Various goals for me c|alm.
Last 4 digits of account number _
’ le inc claim eublectto nilsen l No E| Yes
§ 3.287 Nonpriority creditors name and mailing address As of the petition ming date, the claim ls: cheek authalapply. $0.00
Si|ver State Builets, LLC Ei contingent
Jim & Diane House Ei unliquidated
PO Box 2270 - D. md
Dayton, Nv 39403 's”
Dats(s) debt was incurred Various Basis for me °mm: -
Last 4 digits of account number __ ls the claim subjact f° chen n N° . Y°S
3.288 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check aiilnal apply. $0.00
Southwest Gas Ei contingent
PO Box 98890 |:l unliquidated
Las Vegas, NV 89193 g Disputed
oeteie) debt was incurred Various ama m me dam
Lastl 4 digits of account number __
' le the claim subjectto eileen l No El Yes
13.289 Nonprioth creditors name and mailing address A.s of the petition filing date, the claim is: Check author appiy. $1,009.41
Spokane House of Hose Ei contingent
gs€;;yEZig kg"af A i:l unliquidated
. prague ve. g D~ ted
spokane valley, wA 99212 's""
Date(e) debt was incurred Various Basis for me dam "
Last 4 mgm of account number _ is tire claim subjeetto eileen l No i:l Yes
§ 3.290 Nonpriority creditors name and mailing address As of the petition iiiing date, tile claim ls: checka!ithatapply. $11,938.59
Spokane Packaging Ei contingent
3808 N. Su|livan Rd., Bldg #21 Ei unliquidated
Spokane, WA 99216 n Disputed
oate(e) debt was incurred Various ama forum dam
Last 4 digits of account number_ , _
la tire claim subjectto arisen l No Ei Yes
Nonpriority creditors name and mailing address As of the petition filing date, tire claim is: check a!ilnar sppiy. $772.10
SPS Commerco, |nc. Ei contingent
PO Box 205782 Ei unliquidated
Dai|as, TX 75320 Ei Disputed
oato(e) debt was ineuned Various sam fmha c,a,m:
Last 4 diem of account number_ is the dalm subject to ofisat? l No U Yes
` 3.292 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all that appiy. ______MO_
St. Marks Powder Ei contingent
Jodi Mc|ver Ei unliquidated
Po Box 222 n Di md
saint Marlts, Fl_ 32321 s°“
oate(e) debt was incurred Various sam for the dam "
l.aet 4 digits or account number_ is the claim subject to onsen l No Ei Yes
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Debtor Howell Munitions & Technology, |nc. Case number (ifknw") 18-50610-|>“3
NBmB
§ 3.293 l Nonpriority creditot‘s name and mailing address As cf the petition fi[lng date, the cielm le: Check allrhar epply. $4,335.13
Staples Bus|ness Advantage E| contingent
PO Box 83689, Dept. LA |I| unliquidated
Chicago, lL 60696-3689 El Disputed
Dete(s) debt wes incurred Various seals for the alarm
h
Last 4 digits of account num er_ ls the claim subject w n - N° m Yes
[ 3.294 Nonpriority creditot‘s name and mailing address As of the petition filing date, the claim is: check all that apply. $0.00
Starline, inc E| contingent
Debble Myers El untiquidowd
1300 W. Henry . .
. Drs uted
sedalra, Mo 65301 "
Date(s) debt was incurred Various Basis for me claim -
Last4 digits cf account number_ ls the claim subject to offset? . No cl ¥ce
l 3.295 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check allrhelepply. $116.25
Steve Olson E| contingent
562 East Wigeon Way E| unliquidawd
Sulsun City, CA 94585 g Disputed
oete(e) deutwao incurred Various ama forma dam _
Last 4 digits of account number_
ls the claim subjectto offset? - No l:l ¥es
3.296 l Nonpriority creditol's name and mailing address As of the petition filing date, the claim is: Checkall that epply. $432.40
Steven Robedeau E| contingent
1643 Grayfrlars El unliquidated
Ho|t, M| 48842 E| olsputed
Date(e) debt was incurred Various Basis for the claim: _
Last 4 digits of account number _
le the claim subject to otteet? l No El Yee
l 3.297 Nonpriority crediter’s name end mailing address As cf the petition filing date, the claim la: check dinner apply. $0.0°
ST| Brasil (Tactical Gear imporw)
AV. Professor Mario Werneck E| contingent
2275 Balrro Burltis Ei untiquideted
Belo Horlzonte -
Dis utsd
Mlnal ceraie, erale "
Date(s) debt was incurred _ sears forma c'alm: _
Lm 4 mem of account number_ is the claim subject to oneet? l No El Yes
a.2ee Nonpriority creditors name end mailing address ns of tire petition ming deto, the claim le: cheek ellinetspply. $31,904.00
ST| lntemationa| E| contingent
114 Halmar Cove [:| unliquidated
Georgetown, TX 78628 g Disputed
oste(s) dootweo incurred Various Bash for me claim: _
Laet 4 digits of account number _
le the claim subjecitn offset? . No m Yes
3.299 Nonpriority creditor'e name end mailing address Ae of the petition filing date, the ciaim is: check eurheteppiy. $15,243.00
Stonebraker McQuary insurance |:| Contingent
D°" M°Q"a">' Ei unliquidated
po B°x 9 E| nis uwd
clarketon, wA 99403 " -
oete(e) debt was incurred Various B°°'° f°' 'h° °'°f'"’ -
Last 4 draw of account number _ le the ciaim subject to offset? . Ne n Yes
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Debfof Howell Munitions & Technolongl inc. Case number (llknc~rn) 18-50610.|;¢|;
Name
§ 3.300 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check allrlier epply. $325.18
Sunnen Products Co. Ei contingent
Po Box 952481 n Un|iquida¢ed
Sa|nt Louis, MO 63195 |J oieputed
Date(e) debt was incurred Various same for the cmm_
Last4 digits of account number_ _
is the claim subject to otteet? l No E| Yes
3.301 Nonpriority creditors name and mailing address M of the petition filing date, the claim ls: Chedtalluiel apply. $1,635.00
Sutheriand Asbi|i & Brennan LL l:| contingent
999 Peachtree St., NE, Ste. 2300 [I unliquidated
Atlanta, GA 30309°3996 n Disputed
Data(s) debt was incurred Various Basis forma clacm,
Last 4 digits of account number _
" le tire claim subject to ofteet? l Ne Ei tree
3.302 ‘ Nonpriority creditors name and mailing address A.s of the petition filing date, the claim is: check all that apply. $6,300.00
TalklngLBad, LLC n Contingent
306 Royai G|en Blvd. Ei unliquidated
Murfreesboro, TN 37128 Ei Disputed
nate(e) debt was incurred Various Basis forum clalm_
Last 4 digits of account number _
" ls the ciaim subject to offset? - No m ¥es
l 3.303 Nonpriority creditors name end mailing address ne orthe petition filing date, the claim is: Check ellinarapply. $51.75
Taylor Staniey E| contingent
40 Sant|ago Road E| unliquidated
Debal’y, FL 32713 |:| Disputed
oete(s) debt wes incurred Various ama forma claim: _
Last 4 digits of account number
_ is the claim subject to offset? - No n ¥es
l 3.304 Nonpriority creditors name and mailing address As of the petition filing date, the claim la: check eli therapply. $1,050.00
Tharco l:l Contingent
PO Box 51584 Ei unliquidated
Los Angeies, CA 90051 El oieputed
Date(s) debt was incurred Various eagle for the claim:
Last 4 digits of account number _ _ _
is the claim subject to offset? - No n Yes
§ 3.305 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check elllliet epply. $24,999.90
The High Road Group, |nc. l'_'| contingent
Ron Bice, Miche|ie Paweiek g Un,iqurdmd
1492 S. Seguln Ave. n D. ted
New Braunrele, Tx 13130 ‘s°"
Basis for the claim: _
Date(s) debt was incurred !§_ll¢_>£
L“M mens of account number_ is the claim subjedto offset? - No n Yes
3.306 Nonpriority creditors name and mailing address As of tire petition hling date, the claim is: Check ailrhet epply. $0.00
Thermal Mod El Contingent
19830 SW Teton Ave El unliquidated
Tl.lalatin, OR 97062 ij Disputed
Date(s) debtwas incurred Various nash for the clalm:
Last 4 diana of account number _ is the claim subject to offset? - No n Yes
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Deblor Howell Munitions & Technology, |nc. Case number (" '°"°"") 18‘5°51°'btb
NB.f'nB
§ 3.307 l Nonpriority creditors name and mailing address Ae of the petition filing date, the claim is: check ellrnalepply. $1,820.00
Thlessei'i Oll C0 n Contingent
Kerri Jones, Tarrin, Al|en, Jay |:| Unjjqujdmd
815 Snake River Ave. n milwth
Lewiston, lD 83501
. Basis forthe claim: _
Date(s) debt was incurred w
Last 4 digits of account number_ ls th° claim subject w New - N° g yes
l 3.308 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all rhsr apply. $99.25
Timothy Charbonneau |Ii contingent
479 Hennessey Road Ei unliquidated
Enosburg Falis, VT 05450 |:j Dispude
Date(s) debt wes lncurred Various seals for me claim:
La 4 di its f t mb r
st g o acc°un no s _ is the claim subjectto offset? - No m Yes
" 3.309 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check ellrharepply. $3(]0.00
TLR l:l Contingent
=“‘:;gl£'reNE Gl W` dl D n unliquidated
enn ln ng r. j_-_j ms md
Portland, on 91220 '°
Date(s) debtwas incurred Various eagle forum cla[m` "
Last 4 club ofaccount number_ is the claim eubjectio offset? - No n Yes
3.310 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: check allrllat apply. $0.00
Total Log|stics Resource E| contingent
11855 NE G|enn W'inding Dr. El unliquidated
Portiand, OR 97220 jj Disputed
Date(s) debt was incurred Various Basis for the claim:
Last 4 digits of account number _ _
is the claim subject to cfieet? . No g Yes
§ 3.311 Nonpriority creditors name and mailing address As of the petition filing date, tire claim is: Check allmarspply. $0.00
Toyota industries Commerc|a| F|nance, in Ei contingent
PO Box 8050 |Ii unliquidated
Coppell, TX 75019 . Dlsputed
Date(s) debt was lncuned __
Basis for the claim: _
Last 4 digits of account number _
le tire cleirn subject to onset'r l Ne Ei Yee
3.312 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Check allrtlarapply. $6,404.00
Traveiers |Ii contingent
PO Box 660317 E| unliquidated
Dallas, TX 75266 jj Disputed
Date(s) debt was incurred Various seals for me c'a|m.
Last 4 digits of account number _ _
le the claim subject to eileen l No Ci Yes
" 3.313 l Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkallrlialapply. $395.08
Travers Tooi Co, inc E| contingent
128-15 25th AVB. |:l unliquidated
Fiushing, NY 11354 |Ii Disputed
nste(sj deciwes incurred Various ama for ma dam
Last 4 digits of account number _ _
lathe claim subject to cfiset? - No L_.l Yes
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Debior Howell Munitions & Technolog_y, inc. _ Case number (ii known) 18-50610-btb
Nm
§ 3.314 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Check sllthatappiy. $1,221.78
Travis Pattern & Foundry |J contingent
1413 E. Hawthome Rd. Ei unliquidated
Spokane, WA 99217 Ei Disputed
Date(s) debt was incurred Various Basis for we c'a|m_
Last 4 digits of account number _ _
is the claim subject to oifset? . No cl Yes
3.315 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check author appiy. $219.94
Treasure Vai|ey Coffee |Ii contingent
PQ Box 6145 |J unliquidated
Kennewlck, WA 99336 g Disputed
Date(s) debt was incurred Various Basis for mo cgalm: _
Last 4 digits of account number_
le the daim subject to ofteet? l No Ei Yes
3.318 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Checkelllhatappiy. $195.00
Tl’BVOI' ElllCO l:l Contingent
6393 Orangewood Drive |J unliquidated
Rancho Cucamonga, CA 91701 g Disputed
Date(s) debt was incurred Various Basis forum cla[m_
Last 4 digits of account number _ _
|s the claim subjectto offset? . No m Yes
§ 3.317 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that sppiy. $0.00
Twin River Contract Loading, inc. Ei contingent
815 D Street El unliquidated
Lewiston, lD 83501 l Disputed
Date(s) debt was incurred _
Basis for tire claim: _
Last 4 digits of account number_
is the claim subjectto offset? l No ij Yes
3 3.31B Nonpriority creditors name and mailing address As of tile petition filing date, the claim ls: Checkalltharapply. $1,484.80
Uline l:] Contingent
PO BOX 88741 U Un|iquidaicd
Chlcago, lL 60680-1741 |:] Disputed
Date(s) debt was incurred Various seals for the clalm: _
Last 4 digits of account number _
is the daim subjectto offsei? . No l:] ¥es
§ 3.319 Nonpriority creditors name and mailing address Ae of tire petition filing date, tile claim is: check allrnatapply. $0.00
Unls "Ginex" d.d. Gorazde El contingent
Vlsegradska bb El unliquidated
73000 Gorazde, l Disputed
Bosn|a and Herzegovina
adam debt ms mcqu _ Basis for the clalm: _
mm 4 diggs of account number _ le the olalm subject to oneet? l No E| Yes
f 3.320 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check ell that apply. $130.00

United Tool Corporation
3718 E Newby Street Suite 108
Nampa, lD 83681

Date(s) debt was incurred Various
Last 4 digits of account number _

I:l Contingent
El unliquidated
m Disputed

Basis fortna claim: _
is the ciaim suhjectto of|eet? l No ij Yes

 

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Schedule EIF: Creditors Who Have Unsecured Claims

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mma tamm
Debior Howell Munitions & Technology, inc. Case number (H knv~n) 18-50610-btb
Nams
33.321 Nonpriority creditors name and mailing address As of the petition iiling date, the claim is: Check all that apply. $97,697.98
UPS m Contingent
Lockbox 571 El unliquidated
Carol Stream, lL 60132 - Disputed
Date(s) debt was incurred Various sub for mo claim
Last 4 digits of account number __ '_
is the claim subjectto cfisat? l:i No - Yes
3.322 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all thai apply. $0.00
US Dept. of Treasury
Alcohol & Tobacco Tax & Trade Bureau El contingent
Nat|onal Revenue Center Ei unliquidated
550 Main Streef, Sl.llfe 8002 l Disputed
Clncinnati, OH 45202-5215
Basis for the clalm: _
Date(s) debt was incurred _
l_aet 4 dlglte ot account number_ le the claim subject to ofteet? l No El Yee
§ 3.323 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $4,657.84
USF Reddaway, lrlC m Contingent
26401 Network P|ace E| unliquidated
Ch|cago, |L 60673-1264 g Dlsputed
oate(e) debt wee incurred Various Basis for the clalm:
Last 4 digits of account number _
_ is the claim subject ic offset? l:l No - Yes
j 3.324 Nonpriority creditors name and mailing address As of the petition filing date, tire claim is: Checksilinatappty. $30,000.00
Val Mundell l:] Contingent
1438 Greco Drive |:i unliquidated
Clarkston, WA 99403 g Disputed
Date(s) debt was incurred Various Bas|. for me clalm:
Last 4 digits of account number _ _
is the ciaim subjectto oii‘sei? . No l:l ¥es
§ 3.325 Nonpriority creditors name and mailing address As of the petition filing date, the claim la: check alli!taiappiy. $450.00
Vai|ey Car Sales El contingent
::‘BY§?B§FN t El unliquidated
all'| fee n l d
Lewiston, lD 83501 ° sp"‘°
oatcie) debt wee incurred Various B°°'° f°" "'° °'°"": -
Last 4 diana of account number _ is the claim subjecttc offset? - No cl Yes
§ 3.326 Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check ellinafappiy. $70.00
Vai|ey Drug Testing |J contingent
PO Box 861 E| unliquidated
Lewiston, ID 83501 m Disputed
oatoie) debt wae incurred Various ama for me clalm:
Last 4 digits of account number _ _
is the claim eubjecttn ofteet? l No El Yes
3.327 Nonpriority creditors name and mailing address As of the petition tiiing date, tire claim is: Check ailmatapply. $5,000.00
Vai|ey V|sion, inc. Ei contingent
111 Main Street Suite 130 El unliquidated
Lewiston, |D 83501 g mspm
Date(s) debt was incurred Various sub for the clalm:
Last 4 digits of account number _
” le the claim subject to oneet? l No Ei Yes
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Deblor Howell Munitions & Technology, inc. Case number (ii hivwn) 1 8-50610-btb
Niarle "
j 3.3zs ] Nonpriority creditors name and mailing addreee Aa ottlte petition filing date, tile claim la: oneoiraiiltlaiappiy. $5,795.67
Vanguard El contingent
New York, NY 10087 g Disputed
Date(s) debt was incurred Various ama for the dam
Last 4 digits of account number _ _
is the claim subject to ofisel? - No l:i Yes
§ 3.329 Nonpriority creditors name and mailing address Ae of tile petition filing date. the claim is: Cheokeiilhalappry. $2,925.00
Velocify EHS l:l Contingent
586 Argus Rd., Ste. 201 Ei unliquidated
Ontariol Canada L6J3J3 lIl nisputad
Date(s) debt was incurred Various Basis forum clalm,
Last4dlgiw of account number_ _
ia the claim subjectte otiaet? l No El Yes
j 3.330 Nonpriority creditors name and mailing addreee Aa oftile petition filing date, tba claim is: check a//inaiappiy. $469.85
Veflzon Wireles$ n Contingent
PO Box 660108 El unliquidawd
DallaS, TX 75266-0108 [:| Disputed
oate(e) debt wee incurred Various sam forma c,a,m.
Last 4 digits of account number_ _
is the claim subject to ellison l No Ei Yea
§ 3.331 Nonpriority creditors name and mailing address Ae of the petition filing date, the claim is: Check ali inst dpply. $2,000.00
Victoria Johnsen El contingent
1551 Moblle Ave. n unliquidated
Daytona Beach, FL 32117 jj Disputed
nate(a) debtwaa incurred Various Basis for the clalm:
Last 4 digits of account number _ _
le the claim subjectto oileet? l No El Yes
§ 3.332 Nonpriority creditors name end mailing address As of the petition filing date, the claim is: Check aiilhslsppiy. $0.00
Vista Outdoor Sales, LLC IJ contingent
SDS 12-0312l PO Box 86 l:l unliquidated
Minneapolis, MN 55486 [] Disputed
Date(s) debt was incurred Various sub forma clalm:
Last 4 digits of account number
” la the claim subject to nitaet? l No El Yee
§ 3.333 § Nonpriority creditors name and mailing address As of the petition tillng dets, the claim ls: Check alllnslapply. $1,280.00
Vlsual Marketing El contingent
17102 Cypress Knee Drive l:| unliquidated
Cypl’BSS, TX 77429 m Disputed
Date(s) debt was incurred Various sam forum clalm:
La 14 di ila f t be
° g ° a°°°"" nom ' _ le tile claim subject to ofiact? l No El Yes
3.334 Nonpriority creditors name and mailing address Ae of the petition filing date, the claim ls: Check all inst apply. $104.63
Wai'd letn El Contingent
1204 Carrle Lane NW Ei unliquidated
Piedm°l`lf, oK 73078 m Dlsputed
Date(s) debt was incurred Various Basis forum clalm:
b
Last 4 drum of account wm er " is tile claim subject to offset? - No i:l ¥es
Omcial Form 206 EIF Schedule EIF: Creditors Who Have Unsecured Claims Page 13 of 76
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Debior Howell Munitions & Technology, inc. Case number (" kn°”“) 18'5°51°'1’“’
NRI'l'iB
l 3.335 l Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Checkel!ihaispply. $1,797.76
Waste Management - Aii [i contingent
Capltal Sanitatl°n n unliquidated
PO Box 541065 |:| Disputed
Los Angeles, CA 90054-1065
Basis for the claim: _
Date(s) debt was incurred w
Last 4 diem of account number_ is the claim subject to offeel'i l No El Yea
3.336 Nonpriority creditors name and mailing address Ae of the petition filing date, the claim is: check ailihaiappiy. $3,200.00
Wastewater Engineers, |nc. l:| contingent
210 Coy Court |Il unliquidated
Oxford, Ml 48371 |:l Disputed
Date(s) debt was incurred Various seals for the cwm:
Last 4 diana of account number_ is the claim subject to offset? - No m Yes
3.337 Nonpriority creditors name and mailing address Ae of the petition filing date, the claim is: Checkelllhaiapply. $0.00
Wayne Dalton El contingent
PO Box 676576 E| unliquidated
Dallas, TX 75267 l Disputed
umw umw income kw eaeia fcrtite claim: For Notlce Pu[goses On|y
Last 4 digits of account number _
le lite dalnt subjectto nilsen l No El Yes
13338 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check ali inst apply. $1,520.65
WCP SDiiifionS l:i Contingent
15321 E. Marietta l:| unliquidated
Spokane Vailey, WA 99216 - Disputh
Date(s) debt was incurred Vari¢>ll$
Basis for the claim: _
Last 4 digits of account number _
la tile claim subjeotto eileen l No |Il Yes
1339 Nonpriority creditors name and mailing address Ae of the petition filing date, the claim ls: checked malepply $18,645.36
Webscaie Networks E| contingent
201 Ravendaie Drive |:l unliquidated
Mountain Viaw, CA 94043 g Dispu,ed
Date(s) debt was incurred Various aast for the clalm:
Last 4 digits of account number _
_ lathe claim subject to ofisef? . No ij ¥cs
3.340 Nonpriority creditors name and mailing address As of the petition filing date. the claim is: check ain/tai apply. $4,333.05
Welis Fargo Equlpmant Finance lIl contingent
Manufacturer Services Group g un,iqu¢dawd
PO Box 77?7 .
san Francieoo, cA 94120-1711 m °"""'ed
Date(s) debt was incurred Various Basis forms clalm: _
Last 4 mem of account number _ lathe claim subject to offsei? - No i:l Yes
l 3.341 Nonpriority creditors name and mailing address Ae of the petition filing date. the claim is: check ai/lhal apply. $13,400.00
Wells Fargo Equipment Flnance E| C°ngnge,n
300 Tri-State lntemationa| g Un,iquidated
Suite 400 m Uisputed
Linco|nshire, lL 60069
oetoiel debt waa incurred Various B°°'° '°'"'° °'a"": -
Last 4 dism °facc°unt number _ is tile claim subject lie eitset? - No i:l Yes
Oiiiciai Form 206 E/F Schedule EIF: Credltora Who Have Unsecured Claims Page 74 of 76

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Debtor Howell Munitions & Technology, inc. Case number (ir mown) 18-50610-btb
Nam
§ 3.342 l Nonpriority creditors name end mailing address As of the petition filing date, the claim is: check ailrhatapply. $1,490.00
Westem Ana|ytlcal El contingent
13744 Monte Vista Ave. jj uniiqoidoied
Chlno, CA 91710 i'_'i Disputed
Date(s) debt was incurred Various Basls forum cla'm_
Last 4 digits of account number _ _
is the claim subject to arisen - No Ei Yes
j 3.343 Nonpriority creditors name and mailing address Aa of the petition filing date, the claim is: Check ali that appiy. $2.08
William Zimmerman E| contingent
18502 Bonney Lake Blvd. E [:l unliquidated
Bonney Lake, WA 98391 ij Disputed
Date(s) debtwas incurred Val'iOl.|B Basis forum clalm,
Last 4 digits of account number _ _
id me oiaim subjects arisen l No ij Yes
3.344 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check eiiriiaiappiy. $15,116.19
Wllson Tooi |nti. Ei contingent
?;L?zw:ns°: A m Uniiquidated
am am Ve. m Dis md
white sear Lake, MN 55110 '°
Date(s) debt was incurred Various Basis for the claim "
Last 4 digits of account number_ 15 me dam subject t° °"5°" - N° n Yes
j 3.345 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check eli that apply. $915.75
Womack Everett El contingent
50 Cherokee Lane Ei unliquidated
Blue Ridge, GA 30513 El Disputed
oote(ej debt was incurred Various Basis form clalm: _
Last 4 digits of account number _ _ _
is the claim subjectto offset? . No n Yes
§3.346 l Nonpriority creditors name and mailing address As of the petition iiian date, ti'ie ciaim is: check eiiihateppiy. $57,227.01
Wynalda Packaging El contingent
Accounting 618 886 1581 [] Un"q,_,ida,ed
8221 Graphio Drlve m _
Dis uted
seirnont, iiiii 49306 p
l :
Date(s) debt wee inoun-ed Various Basis m the ° mm -
Last 4 diem ofaw°unt number_ is the daim subject to offsen l No Ei Yes
§ 3.347 Nonpriority creditors name and mailing address As of tire petition filing date. the claim is: check eil that app/y. $0.00
X-Treme Bullets, |nc. EJ contingent
25 Stokes Drive El uniiquideied
Carson City, NV 89708 l Disputed
Date(s) debt was incurred _
Basis for the clalm: _
Last 4 digits of account number _
is the oieirn oubjeotw arisen l No L'_l Yes
§ 3.348 Nonpriority creditors name and mailing address A.s of the petition filing date, the claim is: Checkeiithetepply. $3,494.00
XFO Loglstlcs, inc El contingent
27724 Network P|ace E| unliquidated
Chlcago, lL 60673-1277 El oisputed
Date(s) debtwao incurred Various Bank form clalm:
Last 4 digits of account number_ _ .
is the claim subject to oil‘set? - No ij Yes
Ofi'icial Form 206 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 76 of 76
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Zuerleln Darra|| El contingent
13620 246th St. El unliquidated
Hermosa, SD 57744 E| Dlsputed
Date(s) debt was incurred Various sub for me clalm:

Last4 digits of account number _

ls the claim subject to offset? . No n Yes

7122/18 tamm
Howell Munitions & Technology, inc. Case number (lf knv~n) 18-50610-btb
Name
l 3.349 Nonpriority creditor‘e name and mailing address Aa of the petition filing date, the claim is: Check all thatspply. $158.87
YRC Fl’elghf n Contingent
10990 Roe Avenue El unliquidated
Over|and Park, KS 66211 El nlsputed
Date(s) debt was incurred Various ama form clalm:
Last 4 digits of account number _
_ ls the claim subject to offset? - No cl Yes
’ 3.350 Nonpriority creditofe name and mailing address Ae of the petition filing date, the ciaim la: Checkallihaiapply. $0.00
Z.B., N.A.,dba Zions Flrst Natlonal Bank El contingent
One South Maln Street, Suite 1400 E| Unllquidated
Salt Lake City, UT 84130 - Disputed
Date(s) debt was incurred _
Baeia for the clalm: _
Laet 4 digits of account number_
ls the claim subject to offset? . No m Yes
Nonpriority creditor‘a name and mailing address Aii of the petition filing date, the claim ia: Check all thaiapply. $1 ,274.44
Zoro `l'ools inc |:l contingent
Customer Service lJ unliquidated
909 Asbury Drlve n n. t d
aunaio Grove, lL sooss '””“ °
Date(s) debt was incurred Various sub forma clalm' _
Last 4 drum of account number _ ls the claim subject to offset? - No n Yes
l 3.352 Nonpriority creditors name and mailing address As of the petition filing date, the claim |s: Check allthaiapply. $88.00

 

Llst others to se Noiiiled Aboui unsecured claims

4. Llst fn alphabetical order any others who must be notified for claims listed in Parta 1 and 2. Exomplea ol‘ entities that may be listed are collection agencies,
assignees of claims listed abovel and attemBys for unsecured creditors.

lt no others need to be notified fortha debts listed in Parte 1 and 2, do not Hii out or submit this page. if additional pages are needed. copy the next page.

 

 

 

 

Name and mailing address On which line ln Part1 or Fart 2 la the Last 4 digits of
related creditor (lf any) lieted? account number, if
any
Total Amounts of the Prlorlty and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claima.
Total of claim amol`.l'nta1 , ,{ »
6a. Total claims from Part 1 5a. $ 1 80,028_36
sb. Total claims from Part 2 sb. + s 7,939,335_22
s¢. fatal of Parts 1 and 2 l
Linas 5a + 5b = sc_ sn. l s 8,119,913.58
Offlcial Foirn 206 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 76 of 76

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Fill in this information to identify the case:

Debior name Hovlell Munitions & Teilinology,ilnc.

7i'221'18 101249~\

United States Bankruptcy Court for lhe: jD|._S;iRiCT QF n|_EVAEiA_

Case number (if known) 137§0610-|;th
l Check if this is an
amended liling

thcia| Form 2066
Schedule G: Executory Contracts and Unexpired Leases 12l15

Be as complete and accurate as possibla. |f more space ls naeded. copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

l'_'] No. Check this box and l'lle this lon'n wiih the debtor‘s other schedules There is nothing else to report on this form.

l Yes. Fill in all of lhe information below even if the contacts of leases are listed on Schedule A/B:Assets - Realano' Personai Property
(Ofl’lcial Form ZDBAIB).

2. Llst all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contractor unexpired
lease

2.1. State what the contractor Commercial Lease

lease is for and the nature of 823 D Street
the debtor‘s interest Lewiston, lD 83501

State the term remaining 1211!2020
Llst the contract number of any 823 D Street LLC
government Contract

2_2. Siate what the contract or Chief Restructuring
lease is for and the nature of Of‘Flcer Agreement
the debtors interest

State the term remaining unknown Advanced CFO
13601 W McMi|lan Rd
Llst the contract number of any #192
government contract B°'s‘§'r|g §3713 j j j ,
2.3, State what the contract or Exclusive
lease is for and the nature of Exporthepresentation
the debtor‘s interest of HMT!FM products in
the country of New
Zealand _ _ _
State the term remaining 1 2121[2018 American Security Brass & Reloadlng
PO Box 9169

Llst the contract number of any G"ee"°"» Ta"m“ga» New Zea'a"d

QOVEl'l`llTlEl’li COl’ltl'ECi

2.4. Staie what the contract or Freedom Munitions
lease is for and the nature of Website
the debtor‘s interest SupporUServices

Staie the term remaining 511!2019 _ _
Binary Anvll, Inc.

22525 SE 64th Place

Llst the contract number of any l h WA 98027
ssaqua ,

government contract

Oflicia| Form 2066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 6
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Dethr1 Howell Munitions & Technology, |nc. Case number (mawn) 1a-50610-htb

 

F|rst Name Middle Name

 

Last NamB

- Additional Page if You Have More Contracts or Leases

2. Llst all contracts and unexpired leases

State the name and mailing address for atl other parties with
whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

 

 

lease
2.5. State what the contract or Alrport Powder Storage
lease is for and the nature of 35 North Range 6 West
the debtors interest Nez Perce Regional
Alrport
Lewiston, |D 83501
State the term remaining 9I30l2021
David Howell Renta|s
List the contract number of any P-O- B°" 1903
government contract L°Wlst°"» 'D 03501
2.6. State what the contract or Commerclal Lease
lease is for and the nature of 4093 Lucky Lane
the debtors interest Lewiston, lD 83501
State the term remaining 12/31l2023 _
David Howell Renta|s
List the contract number of any P-o- B°X 1903
government contract Lewiston, |D 83501
2.7. State what the contract or Commerclal Lease
lease is for and the nature of 29978 Th|essen Road
the debtors interest Lewiston, |D 83501
State the term remaining 12I31I2024
David Howell Renta|s
Llst the contract number of any Po B°x 1903
government contract Lewiston, lD 83501
2.8. State what the contract or Commecia| Lease
lease is for and the nature of 815 D Street
the debtors interest Lewiston, lD 83501
State the term remaining 12131/2023 _
David Howell Rentals
List the contract number of any P~o~_B°x 1903
government contract Lewiston, |D 83501
2.9. State what the contract or Commercial Lease
lease is for and the nature of 805 D Street
the debtors interest Lewiston, |D 83501
State the term remaining 12131/2023
Davld Howell Renta|s
List the contract number of any P-o- B°’¢ 1903
government contract Lewiston, lD 83501
2.10. State what the contract or Commerc|al Lease

thcla| Form 2066

lease is for and the nature of
the debtors interest

State the term remaining

153 Southport Ave.

Lewiston, |D 83501
David Howell Rentals

12I31I2023 P.O. Box 1903
Lewiston, lD 83501

 

Schedule G: Executory Contracts and Unexpired Leases Page 2 of 6

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Debt0r1 Howell Munitions & Technology, |nc.

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Last Neme

Case number (irknwn)

- Additional Page if You Have More Contracts or Leases

2. Llst all contracts and unexpired leases

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State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

 

lease
List the contract number of any
government contract
2.11. State what the contract or Commerical Lease
lease is for and the nature of 829 D Street
the debtors interest Lewiston, lD 83501
State the term remaining 10I31I2023
David Howell Rentals
List the contract number of any P'o- B°X 1903
government contract Lewiston, lo 83501
2.12. State what the contract or Commercia| Lease
lease is for and the nature of 2337 3rd Ave. N
the debtors interest Lewiston, lD 83501
State the term remainin 5131/2019
g David Howell Rentals
List the contract number of any P»o- B°x 1903
government contract Lewiston, |D 83501
2.13. State what the contract or Commercial Lease
lease is for and the nature of 12 Stokes Drive
the debtors interest Moundhouse, NV 89706
State the term remaining 1231/2020
David Howell Renta|s
List the contract number of any P-°- B°X 1903
government contract Lewiston, lD 83501
2.14. State what the contract or Commercia| Lease
lease is for and the nature of 31 Stokes Drive
the debtors interest Moundhouse, NV 89706
State the term remainin 1231/2020
g David Howell Renta|s
List the contract number of any P-o- B°x 1903
government contract Lewiston, 'D 03501
2.15. State what the contract or Residentlal Lease

lease is for and the nature of
the debtors interest

State the term remaining

List the contract number of any
government contract

3790 Foothill Drlve
Lewiston, |D 83501

6l1 4I20 20

David Howell Rentals
P.O. Box 1903
Lewiston, |D 83501

 

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Schedule G: Executory Contracts and Unexpired Leases

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Best case samuer

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Dethr 1 Howell Munitions & Technologyl |nc.

First Nmne Mlddle Name

Last Narne

7122/15 1D:Z|PM

Case number (inmown) 18-50610-btb

 

- Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

lease
2.16. State what the contract or Commerclal Lease
lease is for and the nature of 25 Stokes Drive
the debtors interest Moundhouse, NV 89706
State the term remaining 12/31/2020
Davld Howell Rentals
List the contract number of any P-O- B°x 1903
government contract Lewiston, |D 83501
2.17. State what the contract or Consultant agreement
lease is for and the nature of
the debtors interest
State the term remaining 9l18l201 9
Erlc Nelson
List the contract number of any 2104 1401 51~
2.18. State what the contract or Vendlng lockers
lease is for and the nature of
the debtors interest
State the term remaining 1I1112019
Fastenal Company
List the contract number of any 2001 Th°"\'°" Blvd-
govemment contract mn°na, MN 55987
2.19. State what the contract or Suppller Agreement for
lease is for and the nature of components provided
the debtors interest by HMT
State the term remaining 1231/2018
LAX Firlng Range
List the contract number of any 234 5- Hi"d"y Ave-
govemment contract lnglewo°d, cA 90301
2.20. State what the contract or Excluslve
lease is for and the nature of Exporthepresentation
the debtors interest of HMTIFM products ln
the country of Peru
State the term remaining 12131/2018

List the contract number of any
government contract

Mlami Fo|lce Depot, |nc.
2640 W. 84th St.
Hialeah, FL 33016

 

 

Oflicia| Form 2066

Schedule G: Executory Contracts and Unexpired Leases

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Page 4 of 6
Best Case Bankniplcy

CaS€ 18-50610-btb DOC 28 Entel’ed 07/24/18 19247:25 Page 110 Of 150

Debtor1 Howell Munitions & Technology, |nc.

First Nan'le Middle Neme

Last Name

7122/1 B ‘l 0:24PM

Case number (irmwn) 18-50610-btb

- Additional Page if You Have More Contracts or Leases

2. Llst all contracts and unexpired leases

State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

lease
2.21. State what the contract or lnvemlzzi NKN 617
lease is for and the nature of Transfer Press
the debtors interest Saglnaw Brut Tuming
Machine
WB Anneal|ng Machine
Too||ng system to
produce 223 Rem
cases
State the term remaining unknown
Niidwest Brass, LLC
List the contract number of any 9254 03'31
government conn-ad west ollve, M| 49460
2.22. State what the contract or Contract to provide
lease is for and the nature of technical assistance
the debtors interest
state the tenn remaining 513112021 Mllan Blaeolevlc-Namenska A-D-
Radnlcka bb
List the contract number of any 32240 Luca"'
government Contract Repub"c of serbla
2.23. State what the contract cr Manufacturer's
lease is for and the nature of Representative
the debtors interest Agreement for
HMT/Freedom
Munitions productsl
State the term remaining Until terminated by
elmer party Para|lel Group
List the contract number of any 1300 Ham°' Road
government contract Ham°'» MN 55340
2.24. State what the contract or Supplier Agreement for
lease is for and the nature of components provided
the debtors interest by HMT
State the term remaining 1l31l2019
Preclslon One Ammo
List the contract number of any 2071 Wambaw creek Road
government contract Charleston, Sc 29492
2.25. State what the contract or Exc|us|ve
lease is for and the nature of ExportIRepresentation
the debtors interest of HMT/FM products in
the country of Braz" ST| Brasil (Tactical Gear lmports)
State the term remaining 2I1I2020 AV' Pr°fesso" Mad° weme°k

List the contract number of any
government contract

2275 Bairro Burltis
Belo Horlzonte
Minal Gerais, Brale

 

Ofticial Form 2066

Schedule G: Executory Contracts and Unexpired Leases

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7&218 1024PM

Case number (irmwn) 18-5061 O-btb

Debtorl Howell Munitions & Technology, |nc.
First Name Middle Name Last Narne

 

- Additional Page if ¥ou Have More Contracts or Leases

State the name and mailing address for all other parties with
whom the debtor has an executory contractor unexpired

2. Llst all contracts and unexpired leases

 

 

 

 

 

 

lease
2.26. State what the contract or Purchase
lease is for and the nature of PricingIQuantities of
the debtors interest primers provided by
Glnex " n
State the term remaining 9I1 312019 unis Glnex 0-0- G°"azd°
Vlsegradska bb
List the contract number of any 73000 G°"alde»
government contract Bosnla and Herzegovina
2.27. State what the contract or Consultant agreement
lease is for and the nature of
the debtors interest
State the term remaining 12/31/2020
Val Munde|l
List the contract number of any 1430 G"°°° Drive
government contract Clarks‘°n' wA 994°3
2.28. State what the contract or Freedom Munitions
lease is for and the nature of webslte services
the debtors interest
State the term remaining Until terminated by
List the contract number of any 201 Ra"°"da'° 0""°
government Contract Mountall'l vlew, cA 94043
2.29. State what the contract or H40FTS Hyster Forkllft

lease is for and the nature of
the debtors interest

State the term remaining

List the contract number of any
government contract

- Xtreme Lease
#301-0229222-003

9122020

Wel|s Fargo Equlpment Finance
300 Trl-State lnternationai

Suite 400

Lincolnshire, |L 60069

 

 

Official Form 2066

Schedule G: Executory Contracts and Unexpired Leases

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Page 6 of 6
Best Case Bankruptcy

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Fill in this information to identify the case:

Debtr)r name Howe_ll_ll_il_un_i_t_ions &_Tech_nology, Inc.¢

7{22:‘1510`24?~|

United States Bankruptcy Court for ihe: D¢|rSTrRV|CT QF NEVADA

Case number {if known) 18.50610-btb
l Check if this is an
amended ti|ing

Oi‘Hcial Form 206H
Schedule H: Your Codebtors 12115

Be as complete and accurate as possible. lf more space is needed, copy the Additional Page, numbering the entries consecutivelyl Attach the
Additional Page to this page.

1. Do you have any codebtors?

l:l No. Check this box and submit this form lo the court with the debtor‘s other schedules Nothing else needs to be reported on this forrn.
l Yes
2. in Coiumn 1l list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of

creditors, Schedules D-G. include all guarantors and co-ob|igors. lo Co|urnn 2. identify the creditor to whom the debt is owed and each schedule
on which the creditor is |isled. lf lhe codeblor is liable on a debt to more than one creditor, list each creditor separately in Coiumn 2.

Column 1.' Codebtor Column 2: Creditor
Name Maliing Address Name Check all schedules
thatappiy.'
2.1 Ammo Load 815 D Street Z.B., N.A.,dba Zions l D 2_1
Worldwide, |nc. Lewiston, |D 83501 First Nationa| Bank n E|,F_
I:l G
2.2 Ammo Load 815 D Street US Dept. of Treasury l D 2_4
Worldiiiridel |nc. Lewiston, lD 83501 g E/F
El G
2.3 Ammo Load 815 D Street lntegrity Bank, SSB . D 2.2
Worldwide, Inc. Lewiston, lD 83501 g ElF
ij G
2.4 Ammo Load 815 D Street Toyota industries l D 2_3
Wor|dwide, |nc. Lewiston, lD 83501 Commerclal Finance, n E/__F
ll'\ D G
2.5 Ammo Load 815 D Street Wells Fargo Bank, l D 2_5
Wor|dwide, |nc. Lewiston, |D 83501 N.A. m EIF-
El G
Ofr”icia| Form 206H Schedule l~l: ‘r'our Codebtors Page 1 of 7

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Debtor

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Howell Munitions & Technology, |nc.

Case number (rrknown)

 

- Additional Page to List More Codebtors
Copy this page only lf more space is needed. Contlnue numbering the lines sequentially from the previous page.

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1 8-5061 O-btb

 

 

Column 1: Codebtor

Column 2: Creditor

 

 

 

 

 

 

 

 

2.6 Big Canyon 815 D Street Z.B., N.A.,dba Zions l D 2_7
Evnlronmental, Lewiston, lD 83501 F|rst Nat|ona| Bank n E/F`°"°'_
LLC n G _
2.7 Big Canyon 815 D Street integrity Bank, SSB l D 2_2
Evn|ronmenta|, Lewiston, |D 83501 g ElF
LLc n G __
2.8 Big Canyon 815 D Street Toyota industries l D 2_3
Evnironmental, Lewiston, lD 83501 Commerclal Finance, g E/_F
LLC in g G __
2.9 Big Canyon 815 D Street US Dept. of Treasury l D 2_4
Evnironmental, Lewiston, lD 83501 n E/F
LLC __
El G
2.10 Big Canyon 815 D Street Wel|s Fargo Bank, l D 2_6
Evnironmenta|, Lewiston, |D 83501 N.A. n E/F__
LLC n G _
2.11 Clean~ater 153 Southport Ave., Bulldlng 4 Z.B., N.A.,dba Zions l D 2_7
Bullet, |nc. Lewiston, lD 83501 First Nationa| Bank n E/_F
ij G
2.12 Clearwater 153 Southport Ave., Bulldlng 4 US Dept. of Treasury l D 2_4
Bullet, |nc. Lewiston, lD 83501 L~_| E/F__
` l:l G
2.13 Clearwater 153 Southport Ave., Bulldlng 4 integrity Bank, SSB l D 2_2
Bullet, |nc. Lewiston, |D 83501 g E/F_'_
El G
Ofiicia| Form 206H Schedule H: Your Codebtors Page 2 of 7

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Debior Howell Munitions & Technology, inc. Case number armn) 18-50610-btb
Additional Page to List More Codebtors
Copy this page only if more space is needed. Continue numbedng the lines sequentially from the previous paga.
Column 1: Codebtor Column 2: Creditor
2.14 Clearwater 153 Southport Ave., Bulldlng 4 Toyota industries l D 2_3
Bullet, inc. Lewiston, lD 83501 Commerclal F|nance, n E/§"_°_
in g G '_
2.15 Clearwater 153 Southport Ave., Bulldlng 4 Weils Fargo Bank, l D 2_5
Bullet, Inc. Lewiston, iD 83501 N.A. g E”°:_°_°
|J G __
2.16 Components 815 D Street Z.B., N.A.,dba Zions l D 2_7
Exchange, LLC Lewiston, |D 83501 First Nationa| Bank g E/F__
lIl G
2.17 Components 815 D Street integrity Bank, SSB l D 2_2
Exchange, LLC Lewiston, iD 83501 m E/F'
Ei G
2.18 Components 815 D Street Toyota industries l D 2_3
Exchange, LLC Lewiston, iD 83501 Commerclal Finance, n E,_'_F
'" l:l G _-
2.19 Components 815 D Street US Dept. of Treasury l D 2_4
Exchange, LLC Lewiston, |D 83501 n E/F
El G
2.20 Components 815 D Street Weils Fargo Bank, l D 2.6
Exchange, LLC Lewistonl lD 83501 N.A. n E/_F " "
El G
2.21 David Howell 815 o street z.s., N.A.,dba zions l D 2_-,
Lewiston, lD 83501 First Nat|onal Bank g E/'_"F
l:i G
thcia| Form 206H Schedule H: ¥our Codebtors Page 3 of 7
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Howell Munitions & Technology, |nc.

Case number amown)

 

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18-5061 O-btb

 

 

Column 1: Codebtor

Column 2: Creditor

 

 

 

 

 

 

 

 

2.22 Freedom 815 D Street Z.B., N.A.,dba Zions l D 2_7
Munitions, LLC Lewiston, |D 83501 First Nationai Bank g E/_F
. g G __
2.23 Freedom 815 D Street US Dept. of Treasury l D 2_4
Munitions, LLC Lewiston, |D 83501 n E/F
n G ___
2.24 Freedom 815 D Street integrity Bank, SSB . D 2_2
Munitions, LLC Lewiston, |D 83501 n E/F
t:l G _
2.25 Freedom 815 D Street Toyota industries l D 2_3
Munitions, LLC Lewiston, lD 83501 Commerclal Finance, n E/F__
"‘ n G __
2.26 Freedom 815 D Street Weils Fargo Bank, l D 2_6
Munitions, LLC Lewiston, |D 83501 N.A. g E/__F
Ci G __
2.27 Howell Machine, 815 D Street Z.B., N.A.,dba Zions l D 2_7
inc. Lewiston, lD 83501 First Nationai Bank m E/_°__F
L'.l G _
2.28 Howell Machine, 815 D Street US Dept. of Treasury - D 2_4
|nc. Lewiston, iD 83501 n E/F_
El G
2.29 Howell Machine, 815 D Street integrity Bank, SSB . D 2_2
inc. Lewiston, lD 83501 ' n E/F_
Ci G
Ofticiai Form 206H Schedule H: Vour Codebtors Page 4 of 7

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Debtcr Howell Munitions & Technolongnc. Case number r#known) 18-50610-btb
Additional Page to List More Codebtors
Copy this page only if more space is needed. Contlnue numbering the lines sequentially from the previous page.
Column 1 Codebtor Column 2: Cred|tor
2.30 Howell Machine, 815 D Street Toyota industries l D 2_3
inc. Lewiston, |D 83501 Commerclal Finance, n E/F_°_°°
m E| G _
2.31 Howell Machine, 815 D Street Weils Fargo Bank, l D 2_5
inc. Lewiston, |D 83501 N.A. m E/’°F_ ' "
El G
2.32 Lewis-Ciark 815 D Street Z.B., N.A.,dba Zions l D 2_7
Ammunition Lewiston, lD 83501 First Nationai Bank m E]_°_F
Components, m G _
LLC __
2.33 Lewls-Clark 815 D Street US Dept. of Treasury l D 2_4
Ammunition Lewiston, |D 83501 n E/F
Components, "___
LLc n G --
2.34 Lewis-Ciark 815 D Street integrity Bank, SSB - D 2_2
Ammunition Lewiston, |D 83501 m E/F
Components _
LLC n G __
2.35 Lewis-C|ark 815 D Street Toyota industries l D 2_3
Ammunition Lewiston, lD 83501 Commercia| Finance. g E/_F
Components, in n G _
LLC __
2.36 Lewis-C|ark 815 D Street Weils Fargo Bank, l D 2_3
Ammunition Lewiston, iD 83501 N.A. m E/F
Components, __
LLC n G ___
2.37 Twin River 815 D Street Z.B., N.A.,dba Zions l D 2_7
Contract Lewiston, iD 83501 First Nationai Bank n E/_'_F
Loading, |nc. m G _°°
Ofiicial Form 206H Schedule H: Your Codebtors B t§ag:a 5 knon
es use n p q

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Howell Munitions 8 Technology, |nc.

Case number (/f known)

 

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18-50610-btb

 

 

Column 1.' Codebtor

Column 2: Creditor

 

 

 

 

 

 

 

 

2.38 Twin River 815 D Street US Dept. of Treasury l D 2_4
Contract Lewiston, lD 83501 n E/_F
Loading, inc. g G "’_

2.39 Twin River 815 D Street integrity Bank, SSB l D 2_2
Contract Lewiston, lD 83501 g E/F
Loading, |nc. n G __

2.40 Twin River 815 D Street Toyota industries l D 2_3
Contract Lewiston, ID 83501 Commerclal Finance. n E/F_
Loading, inc. in n G _

2.41 Twin River 815 D Street Weils Fargo Bank, l D 2_5
Contract Lewiston, lD 83501 N.A. n E/F_
Loading, inc. n G __

2.42 X-Treme Bullets, 25 Stokes Drive Z.B., N.A.,dba Zions l D 2_7
|nc. Carson City, NV 89708 First Nationai Bank n E/F_

Ei G

2.43 X-Treme Bullets, 25 Stokes Drive US Dept. of Treasury l D 2_4

Inc. Carson City, NV 89706 g E/_F _°'
Cl G

2.44 X-Treme Bullets, 25 Stokes Drlve integrity Bank, SSB l D 2_2

|nc. Carson Cityl NV 88706 n E/`__F
Ei G

2.45 X-Treme Bullets, 25 Stokes Drive Toyota industries l D 2_3

inc. Carson City, NV 89708 Commerclal Finance. n E/F_"
in n G __
Ofiiciai Form 206H Schedule H: Your Codebtors Page 6 of 7

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Debtvr Howell Munitions & Technology, inc. Case number rirmown) 18-50610-btb
- Additional page to List More Codebtors
Copy this page only if more space is needed. Contlnuo numbering the fines sequentially from the previous page.
Column 1: Codebtor Column 2: Creditor
2.46 X-Treme Bullets, 25 Stokes Drive Weils Fargo Bank, l D 2_5
inc. Carson City, NV 89706 N.A. n E/F__
l:l G
Ofiiciai Form 206H Schedule H: Your Codebtors Page 7 of 7

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7/24[18 10:30AM

Fill in this information to identify the case:

Debtor name Howell Munitions & Technology, |nc.

United States Bankruptcy Court for the: DlSTR|CT OF NEVADA

 

Case number (ii known) 18-50610-btb
l Check if this is an
amended filing

 

 

Ofiicial Form 207
Statement of Financiai Affairs for Non-|ndividuals Filing for Bankruptcy cans

The debtor must answer every question. if more space is needed, attach a separate sheet to this fon'n. On the top of any additional pages,
write the debtor‘s name and case number (if known).

income

1. Gross revenue from business*

 

 

Ei None.

identify the beginning and ending dates of the debtor‘s fiscal year,

Sources of revenue

Grcss revenue

 

 

which may be a calendar year Check all that apply (before deductions and
exciusions)

From the beginning of the fiscal year to filing date: l Operaung a business $19,287,990.00

From 1I01I2018 to Filing Date ___
U Other

For prior year: l Ope,»aung a business $73,285,871.00

From 1I01I2017 to 12!31I2017 ____
l:l Other

For year before that: l Opemung a business $103,1 01 ,565.00

From 1I01I2018 to 12131I2016 ______
El Other

 

2. Non-bueiness revenue
include revenue regardless of whether that revenue is taxabie. Non-business income may include interest, dividends. money collected from lamuits,
and royalties. List each source and the gross revenue for each separateiy. Do not include revenue listed in line 1.

l None.

Gross revenue from
each source

(before deductions and
exciusions)

Description of sources of revenue

Llst certain 'nansfers usda eaton Filing for Bankruptcy

3. 'Certa|n paymenw or transfels to creditors within 80 days before filing this case
Llst payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
and every 3 years alter that with respect to cases filed on or alter the date of adjustment.)

l:i None.

Creditor's Name and Address Dates Total amount of value Reasons for payment cr transfer

Check all that apply
*Such revenues are consolidated with afiiliated Debtors, and Twin River Contract Loadingl inc. and Big Canyon Environmental,
LLC.
official Form 207 Statement of Financiai Afi‘airs for Non»indlviduais Filing for Bankruptcy page 1
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7I24HB 10:30AM
Debinr Howell Munitions & Technolgy, |nc. Case number miami 18.59610-|;¢|;

 

Credltor’s Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that app/y
See attached list See attached $9,273,652.32 iIi Secured debt
usf E] Unsecured loan repayments
E| Suppliers or vendors
E] Servioes
U Other_

3.1.

 

4. Payrnents or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of ali property transferred to or for the benefit of the insider is less than $6,425. (This amount
may be adjusted on 4/01/19 and every 3 years alter that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. lnsiders include ofticers, directors, and anyone in control of a corporate debtor and their reiatives; general partners of a partnership
debtor and their reialives; afiiiiates of the debtor and insiders of such afliiiates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

|J None.
lnsider‘s name and address Dates Total amount of value Reasons for payment or transfer
Relatlonshlp to debtor
4-1- See answers to #30 payments to See answers $398,309.72
insiders to #30
payments to
Insiders

 

5. Repossessions, foreclosuresl and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor. sold at
a foreclosure saie. transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

- None

Credltor's name and address Describe of the Property Date Value of property

6. Setefis
Llst any creditor, including a bank or tinanciai institution, that within 90 days before filing this case setoff or otherwise took anything from an account

of the debtor without permission or refused to make a payment at the debtor‘s direction from an account of the debtor because the debtor owed a
debt

i:l None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

US Dept. of Treasury Funds levied from bank account 6I5I2018 $B32,160.77

Aicohol & Tobacco Tax & Trade Last 4 digits of account number_

Bureau

Nationai Revenue Center
550 Main Street, Suite 8002
Cincinnat|, OH 45202-5215

 

Legai Actions or Asslgnments

7. Legai actions, administrative proceedings, court actions, executions, attachments, or govemmentai audits
List the legal actions, proceedings, investigations arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any oopacity-within 1 year before filing this case.

Cl None.
Case title Nature of case Court or agency's name and Status of case
Case number address --
Olficial Form 207 Statement of Financiai Afl‘eirs for lion-individuals Filing for Bankruptcy page 2

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1!24/18 10:30AM
Debtor Howell Munitions & Technology, |nc. Case number armwn) 18-50610-btb
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. Alcoho| & Tobacco Tax & Asserted unpaid US Dept. of Treasury l pending
Trade Bureau federal excise tax Aicohoi & Tobacco Tax & m On appeal

Trade Bureau

Nationai Revenue Center
550 Main Street, Suite 8002
C|ncinnat|, OH 45202-5215

n Conciuded

 

B. Aselgnments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian. or other court-appointed officer within 1 year before filing this case.

l None

Certain Gifte and Charltable Contrlbutions

 

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

|:l None

Reclp|ent's name and address Description of the gifts or contributions Dates given Value

9.1. Johns Hopklns D°nat|°n check
1717 Massachusetts Ave. NWl

#525
Washington, DC 20036 7I11l2016 $20,000.00

 

Reciplents relationship to debtor
Business conwct

 

 

9.2. Special Operattons Care Fund Fumnure
999 Peachtree Street NE,
Suite 2300
Atlanta, GA 30309 8i4!2017 $1,550,00

 

Reclpients relationship to debtor
Business contact

 

 

 

Certaln Losses

10. A|| losses from fire, theft. or other casualty within 1 year before filing this case.
- None
Description of the property lost and Amount of payments received for the loss bates of loss Value of property
how the loss occun'ed lost

if you have received payments to cover the loss. for
mmpie. from insurance, government compensation, or
tort liabnity, list the total received

List unpaid claims on Olficlal Form 106NB (Schedule
A/B: Assets - Real and Personai Pmperfy).

Certain Payments or Transfers

11. Paymenls related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this ease to another person or entity, including attomeys, that the debtor consulted about debt consolidation or restructuring seeking banknrptr.y
relief, or filing a bankruptcy case.

Ofi”rcia| Form 207 Statement of Financiai Affalre for Non-individuela Filing for Bankruptcy page 3
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7/24115 10:30AM
Debtor Howell Munitions & Technology, inc. Case number rlflnown) 18-50610-btb
- None.
Who was paid or who received if not money, describe any property transferred Dates Total amount or
the transfer? value
Address

12. Seif~settied trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement

. None.

Name of trust or device Descrlbe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by saie, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this else to another person. other titan properly transferred in the ordinary course of business or financial affairs. include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement

l None.
Who received transfer? Description of property transfened or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Prevlous addresses
List ali previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

- Does not apply
Address Dates of occupancy
From-To
Hearrh care eanr¢ruptcres
15. Heaith Care bankruptcies
is the debtor primarily engaged in offean services and facilities for.
- diagnosing or heating injury, defon'nity, or disease, or
- providing any surgiwi. psychiatric drug treatment or obstetric care?
- No. Go to Part 9.
El Yes. Fill in the information beiow.
Facllity name and address Nature of the business operation, including type of services if debtor provides meals
the debtor provides and housing, number of

patients in debtor‘s care
Personaily identifiable lnfon'nation
16. Does the debtor collect and retain personally identifiable lnfonnatlon of customers?

n No.
- Yes. State the nature of the information collected and retained.

Customer names; addresses; emalls; phone numbers; account
numbers

Does the debtor have a privacy policy about that information?
EJ No

- Yes

17. Wlthln 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(|¢), 403(b), or other pension or

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7.'24118 10:30AM
Debtor Howell Munitions & Technolgy, |nc. Case number rumown) 18-50610-btb

 

profit-sharing plan made available by the debtor as an employee benefit?

U No. Go to Part 10.
l Yes. Does the debtor serve as plan administrator?

El No Go to Part 10.

l Yes. Fin in below
Name of plan Employer identification number of the plan
Howell Munitions & Technologyl inc. 401k Plan ElN: XX-XXXXXXX

 

 

Has the plan been tennlnated?
l No
Cl Yes

Certaln Financiai Accounts, Safe Deposlt Boxes, and Storage Units

 

18. Ciosed financial accounts
Vihthin 1 year before filing this case, were any financial accounts or lnstruments held in the debtor‘s name, or for the debtor‘s beneiit, closed. sold.
moved. or transferred?
include checking. savings. money market. or other financial accounts; certificates of deposit; and shares in banks, credit unions, bmkerage houses,
oooperatives. associations and other financial institutions.

l None
Financiai institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument ciosed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities. eash, or other valuables the debtor now has or did have within 1 year before filing this
case,

- None
Deposltory institution name and address Names of anyone with Description of the contents Do you still
access to lt have it?
Address

20. off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

- None

Facllity name and address Names of anyone with Description of the contents Do you still
access to it have it?

property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
Llst any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trusi. Do
not list leased or rented property.

 

l:l None
Owner's name and address Location of the property Describe the property Value
Annscor 815 D Street 1 case processor $32.000.00
2872 US Hwy 93 North Lewiston, |D 83501
Victor, MT 59875
Onicial Form 207 Statement of Financiai Afi'alrs for dion-individuals Filing for Bankruptcy page 5

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712&|18 10:30AM
Debtor Howell Munitions & Technology, inc. Case number mmwn) 18-50610-btb

Owner's name and address Location of the property Describe the property Value
Da|las Reioadlng 815 D Street 1 case processor $32,000.00
709 Sundance Trial Lewiston, iD 83501

lrvlng, TX 75063

Owner's name and address Location of the property Describe the property Value
Armscor 153 Southport 1 case processor $32,000.00
2872 US Hwy 93 North Lewiston, lD 83501

Vlctor, MT 59875

 

Detalis About Environment information

For the purpose of Part 12, the following definitions appiy:
Envlronmental law means any statute or governmental regulation that concerns poilutlon, contamination, or hazardous material, regardless of the
medium affected (airl |and, water. or any other medium).

Site means any location, facillty, or property. including disposal sites. that the debtor now owns, operates. or utilizes or that the debtor formerly
owned, operated. or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic. or describes as a pollutant contaminant, or a
similarly harmful subsiance.

Report all notices, reloases, and proceedings known, regardless of when they occurred.
22. Has the debtor been a party |n any judicial or administrative proceeding under any environmental |`aw? include settlements and orders.

l] No.
. Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address
Admlnlstrative Agreement Environmental Protection Releaslng hazardous waste ij Pending
11-0181-00A, et al. Agency water without permit |] On appear
1200 Pennsylvania Ave., . C°nduded
NW
Washington, DC 20460

 

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

- No.

El Yes. Provide details beiow.

Slte name and address Govemmental unit name and Envlronmental iaw, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

- No.

l:| Yes. Provide details below.

Slte name and address Govemmental unit name and Environmental law, if known Date of notice
address _

Detalls About the Debtor‘s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner. member, or otherwise a person in control within 6 years before hiing this case.
include this information even if already listed in the Schedules.

|:l None

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1/24IlB 10:30AM
Debtor Howell Munitions & Technology, |nc. Case number Wm»vn) 18-50510-btb
Business name address Describe the nature of the business Employer identification number
Do not include Soclal Security number or |TlN.
Dates business existed
25~1- Twin River contract Loading, i-°a'iin€ ammuniii°n cruz 264161300
|nc.
815 D Street Fi’°iii"i'° 1l1l14 to present
Lewistonl lD 83501
25-2- x-Treme surrets, inc. Buiiei manufacturing arm 264615646
25 Stokes Drive
Carson City, NV 89706 Fi°ii'i'T° 1l1l14 to present
25'3' Clearwater Bullet, |nc. B""°t manufacturing ElN: XX-XXXXXXX
156 Southport Ave., Bulldlng
4 Ff°i'n-T° 1l1l14 to present
Lewiston, lD 83501
25-4- Ammo Load worldwrde, Inc. Ammuniii°n machine EIN: XX-XXXXXXX
515 D_ Street manufacturing
Lewiston, iD 83501 Fi'°iii'T° 1l1l14 to present
25-5- Howell Machine, rnc. P=mi manufacturing ErN: XX-XXXXXXX
815 D Street
Lewiston, lD 83501 F'°in'T° 1l1l14 to present
25.6. Freed°m Munm°ns’ LLC Ammun|tlon sales E|N; 45.3954451
815 D Street
Lewiston, |D 83501 Fi'°in'T° 1l1l16 to present
26. Books, records, and financial statements
26a. List ali accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case,
l:l None
Name and address Date of service
From-To
263-1. Angela Smlth 229/18 to 5l25/18
815 D. Street 6I25I18 to present
Lewiston, lD 83501
26a.2. Kathie Marion 123/14 to present
815 D Street
Lewiston, |D 83501
263.3. Shaun Barkley » 2l1/14 to present
815 D Street

Lewiston, lD 83501

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
within 2 years before filing this case.

 

l:l None
Name and address Date of service
From-To
26b.1- Moss Adams 2015 to 2018
601 Rivers|de Ave., Suite 1800
Spokane, WA 99201
Oiiicial Form 207 Statement of Financiai Affalrs for Non-individuais Filing for Bankruptcy page 1

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Debtor Howell Munitions & Technology, inc.

1/24.{18 1013DAM

Case number (rrknown) 1 8-50610-btb

 

26c. Llst ail fin'ns or individuals who were in possession of the debtofs books of account and records when this case is filed.

- None

Name and address

if any books of account and records are
unavailable, explain why

26d. List all financial institutions. creditors, and other partles, including mercantile and trade agencies, to whom the debtor issued a financial

statement within 2 years before filing this case.

l:l None

Name and address

26d.1. Global Commerclal Credit
Mark Matieney
30200 Telegraph Rd., Suite 450
Bingham Farrnsl Mi 48025

26d.2. Zions First Nationai Bank
Mark Siegel
1 South Maln, Suite 300
Salt Lake City, UT 841 11

26d.3- Global Commerclal Credit
V|ctor Sandy
30200 Telegraph Rd., Suite 450
Blngham Farrns, M| 48025

26d.4. Cascadia Capita| LLC
1000 2nd Avenue, Suite 1200
Seatt|e. WA 98104

26d.5. Advanced CFO
13501 W McMil|an Rd
#102
Boise. iD 83713

26d.6. integrity Bank, SSB
4040 Washington Ave.
Houston, TX 77007-5606

26d.7. Complete Capitai Services, |nc.
Fi.O. Box 790448
Sa|nt Louis, MO 53179

27. inventories

Have any inventories of the debtors property been taken within 2 years before filing this case?

l:lNo

- Yes. Give the details about the two most recent inventories

Name of the person who supervised the taking of the

inventory
27_1 Shaun Barc|ay and Chris Hayes

Name and address of the person who has possession of

inventory records
Shaun Barc|ay
815 D Street
Lewiston, lD 83501

Date of inventory The dollar amount and basis (cost, market,

or other basls) of each inventory

5,879,254.23

 

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Debtor Howell Munitions & Technology, |nc.

7/24/15 10:30AM

Case number (irmown) 18-50610-btb

 

 

Name of the person who supervised the taking of the
inventory
272 Shaun Barc|ay

Date of inventory

12IZO16 14,724,116.47

The dollar amount and basis (cost, market,
or other basls) of each inventory

 

Name and address of the person who has possession of
inventory records

Shaun Barc|ay

815 D Street

Lewiston, |D 83501

 

 

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people

|n control of the debtor at the time of the filing of this case.

Name Address Posltlon and nature of any
interest
David Howell 815 D Street Presidentlowner

Lewiston, iD 83501

% of interest, if
any
95

 

Name Address Poeltlon and nature of any
interest
Rudy Zaruba 10202 Russett Fieid Ct. Owner

Houston, TX 77070

% of interest, if
any
5

 

29. Wlth|n 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in

control of the debtor. or shareholders in control of the debtor who no longer hold these positions?

|:l No
l Yes. identify below.

 

 

Name Address Positlon and nature of any Perlod during which
interest position or interest
was held
Jansen Jones 3790 Foothil| Drive President December 2016 to
Lewiston, |D 83501 February 2018
Name Address Posltlon and nature of any Perlod during which
interest position or interest
was held
Chris Hayes 352 Reservoir Drive Director of Operations February 2017 to
Lewiston, lD 83501 June 2018
Name Address Positlon and nature of any Perlod during which
interest position or interest
was held
Advanced CFO 13801 W McMil|an Rd CRO
#102

Boise, ID 83713

30. Payments, distributions, or withdrawals credited or given to insiders

Vihthin 1 year before filing this case, did the debtor provide an insider with value in any fon'n. including salary, other compensation, draws, bonusesl

ioans, credits orr loans, stock redemptions, and options exercised?

|:l No
- Yes. identify belew.

Name and address of recipient Amount of money or description and value of Dates

Property ~

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Reason for
providing the value

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Debtor Howell Munitions 8 Technology, inc. Case number grmwn; 13.50610-|;¢|;
Name and address of recipient Amount of money or description and value oi Dates Reason for
property providing the value

30.1 David Howell

. 815 D Street 6I6I17 to Asserted expense
Lewiston, iD 83501 7.404.20 8I7I17 reimbursement
Reiationshlp to debtor
Presidenthwner

30.2 David Howell

- 815 D Street 6l8l17 to
Lew|swn, |D 93501 161 .982.51 6I7/18 Sa|ary
Reiationshlp to debtor
President

30.3 Rudy Zaruba

- 10202 Russett F|e|d Ct. 6I8I17 to
Houston, TX 77070 122,75° 6I7I18 Sa|ary
Reiationshlp to debtor
Owner

30.4 Thomas Howell

- 815 D Street 618/17 to
Lewiston, lD 83501 25,986-36 617/18 Sa|ary
Reiationshlp to debtor
Machine Technician

30.5 Steve Howell

. 815 D Street 6I8/1 7 to
Lew|swn, |D 33501 73200.07 6I7I18 Sa|ary
Reiationship to debtor
Ammo Load Wor|dwide
Manager

30.6 Bob Howell

- 1237 Airway Ave. 6I8I17 to
Lew|gt°n, |D 83501 6,986.58 6I7I18 Contract labor
Reiationshlp to debtor
inventory Transporter

30.7 David Howell Renwls

~ P.0. Box 1903 6I8I17 to
Lewiston, |D 83501 804,979 6I7I18 Rent payments
Reiationshlp to debtor
Lessor

31. Wlthin 6 years before iiiing this case, has the debtor been a member of any consolidated group for tax purposes?
E| No
l Yes. identify below.
Name of the parent corporation Employer identification number of the parent
corporation
Oiticial Form 207 Statement of Financiai Ai¥airs for Non-indlvlduaie Filing for Bankruptcy page 10

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TIZSHB 1ZZBPM

Debtor Mweil Munitions & Technology, hc. Case number (flhown) 18-50§10-btb

 

Name of the parent corporation Employer identification number of the parent
1 corporation 1
Howell Munitions & Technology, |nc., parent corporation to X-Treme E;N; 46_4050425

Bullets, inc.; Freedom Munitions, LLC; Clearwater Bullets, |nc.; Ammo
Load Wor|dwide, inc.; and Howell Machine

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

U No
. Yes. identify beiow.

Name of the pension fund Employer identification number of the parent
corporation
Howell Munitions & Technology, |nc. 401 k Plan E|N_ 45_4050425

 

 

 

Signature and Deciaration

WARN|NG- -Bankruptcy fraud rs a serious uime. Malcing a false slatement, concealing property. er obtaining money or properlyby fraud in

connection with a bankrupto/ case can result in fines up to $500 000 or cmpnsonment for up to 20 years, or both j ~‘ 7 `~

iBU...SC §§ 152, 1341, 1519, and 3571. '

l have examined theinformation in this Statement ofF/`nancr'al Afr'airs and any attachment and have a reasonablebelief that the infonnaiion is true
and correct

l declare under penaltyof perjury that the foregoing is true and correct

Executed o 241, mlsw~ w~

 
 
 

L__‘-, , _____ , J- Ml¢=hae' 1393 ___
Sig/nature o in dual signing on bei'aif of the debtor Printed name

 

,P:)silion or relationship b debtor Proposed Chief Resuuctunng Ofiicer

Are additional pages to Statement ofFInanciai AH'airs for Non-Indivio‘uals Fillng for Bankruptcy (Ofiiclai Form 207) attached?
|:l No
- ¥es

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#3) Payments to creditors within 90 days before filing

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Howell Munitions Technology, inc.
Form 207: Statement of Financiai Affairs

Journal Date

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0000053296 05/29/201 8
0000030547 03/12/201 8
0000030547 03/12/201 8
0000053729 05/31/2018
0000053837 06/01/201 8
0000030206 03/09/201 8
0000035313 03/23/2018
0000038056 03/30/201 8
0000040546 04/06/201 8
0000045693 04/20/201 8
0000048445 04/27/201 8
0000049346 05/04/201 8
0000052087 05/17/2018
0000052217 05/18/2018
0000053192 05/25/2018
0000053796 06/01/201 8
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0000045993 04/23/201 8
0000049577 05/07/201 8
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0000043632 04/16/201 8
0000052082 05/17/201 8
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0000034316 03/21/2018
0000036412 03/27/201 8
0000039399 04/04/201 8
0000042633 04/12/2018
0000044750 04/18/2018
0000047233 04/25/201 8
0000048531 04/30/2018
0000054290 06/06/2018
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0000031604 03/14/2018

Reference

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HMT AP Payments 90 days prior to Bankruptcy Filing

Supplier Name
-001099 Pro Inc.
-00 823 D. Street, LLC
-00 823 D. Street, LLC
-00 Abso|ute Machine So|utions
-00 Action Medicai inc
-OO Action Medicai inc
-00 Action Medicai inc
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-00 ADP Fees
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-00 Advanced CFO So|utions
-00 Advanced CFO So|utions
-00 Advanced Fire
-00 A-L Compressed Gases, inc
-00 A-L Compressed Gases, inc
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-00 Alcobra
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-00 A||ied E|ectronics, inc
-OO American Express - Corporate
-OO American Express Fees

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Howell Munitions Technology, |nc.
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

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0000049134 05/03/2018
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0000030547 03/122018
0000030547 03/122018
0000053837 06/01/2018
0000030547 03/122018
0000035950 03/26/2018
0000038885 04/03/2018
0000048923 05/022018
0000054098 06/04/2018
0000033043 03/19/2018
0000034527 03/21/2018
0000034788 03/222018
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HMT AP Payments 90 days prior to Bankruptcy Filing

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-00 AmeriPride
-00 AmeriPride
-00 AmmoSeek LLC
-00 Anatek Labs, |nc
-00 Anatek Labsl inc

-00 Applied industrial Te¢:hl inc

-00 Armscor Cartn'dge inc.
-00 Authon'ze.net Fees
-00 Authorize.net Fees
-00 Authorize.net Fees
-00 Avista Uti|ities-ALL
-00 Avista Uti|ities-ALL
-00 Avista Uti|ities-ALL
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-00 Avista Uti|ities-ALL
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-00 Avista Uti|ities-ALL
-00 Binary Anvil Inc.

-00 Bitterroot Boit & Chain Co.

-00 Bitterroot Security & inv

. LLC

-00 Bitterroot Security & |nv. LLC
-12 Bitterroot Security & |nv. LLC
-00 Bitterroot Security & |nv. LLC
-00 Bitterroot Security & |nv. LLC
-00 Black Hi|ls Shooters Supply

-00 B|akely Sean

-00 Blue Cross of idaho
-00 Blue Cross of idaho
-00 Blue Cross of idaho

-00 Blue Mountain Containers
-00 Blue Mountain Containers

-00 Blue Ribbon Supply inc
-00 Blue Ribbon Supply inc

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(764.00)
(1,570.28)
(71,696.67)
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(915.75)
(2,456.21)
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(9.205.31)
(1,744.87)
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Howell Munitions Technology, inc. ' HMT AP Payments 90 days prior to Bankruptcy Filing
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Blue Ribbon Supply inc (624.66)
06 AP 0000053837 06/01/2018 HMTZB-CHK ~00 Blue Ribbon Supply inc (1,425.82)
06 AP 0000053838 06/01/2018 HMTZB-CHK -00 Blue Ribbon Supply inc (1,506.01)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Bosnian Austrian Security Services (2,000.00)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Bryant Contro| (369.60)
05 AP 0000053137 05/24/2018 HMTZB-CHK -00 Bureau of Alcohoi, Tobacco, Firean'ns and Explosives (1,500.00)
03 AP 0000034313 03/21/2018 HMTZB~CHK -00C.P.M. LABS (1,637.00)
05 AP 0000045694 04/20/2018 HMTZB-CHK -00 Ca|ifomia Sa|es Tax (2,734.73)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Canon Financiai Serivces (1,593.71)
03 AP 0000030547 03/122018 HMTZB-CHK -00 Canon So|utions America (915.16)
05 AP 0000051385 05/14/2018 HMTZB-CHK -00 Canon So|utions America (128.80)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Cata|yst Medicai Group (463.50)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 CED - Conso|idated E|ectrical Dist, inc (1,254.50)
05 AP 0000047233 04/25/2018 HMTZB-CHK -00 Century Link - ALL (714.00)
05 AP 0000052908 05/23/2018 HMTZB~CHK -00 Century Link - ALL (322.52)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Century Spring Corp (271.08)
03 AP 0000036342 03/27/2018 HMTZB-CHK -00 Charter Business-31 Stokes (355.02)
05 AP 0000040911 04/09/2018 HMTZB-CHK -00 Charter Business-31 Stokes (1,601.00)
05 AP 0000047233 04/25/2018 HMTZB-CHK -00 Charter Business-31 Stokes (482.96)
05 AP 0000049577 05/07/2018 HMTZB-CHK -00 Charter Business-31 Stokes (1,601.00)
03 AP 0000029510 03/08/2018 HMTZB-CHK -00 Cirro (186.60)
05 AP 0000039401 04/04/2018 HMTZB-CHK -00 Cirro (143.87)
05 AP 0000049577 05/07/2018 HMTZB~CHK -00 Cirro (157.22)
06 AP 0000054098 06/04/2018 HMTZB-CHK -00 Cirro (132.49)
03 AP 0000036412 03/27/2018 HMTZB-CHK -00 City of Jersey Viiiage (280.60)
03 AP 0000032755 03/16/2018 HMTZB-CHK -00 City of Lewiston - ALL (2,858.56)
05 AP 0000043756 04/16/2018 HMTZB~CHK -00 City of Lewiston - ALL (2,717.28)
05 AP 0000051569 05/15/2018 HMTZB-CHK -Mi City of Lewiston - ALL (2,869.47)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Clean Harbors Env. Services inc (9,186.87)
05 AP 0000052908 05/23/2018 HMTZB-CHK -00 Clean Harbors Env. Services inc (27,297.27)
06 AP 0000054219 06/05/2018 HMTZB-CHK -00 Clean Harbors Env. Services inc (32,951.40)
05 AP 0000050849 05/10/2018 HMTZB-CHK -00 CNA Surety Direct Bi|l (167.35)
03 AP 0000034313 03/21/2018 HMTZB~CHK -00 Coilier E|ectric (10,000.00)
06 AP 0000053837 06/01/2018 HMTZB-CHK -00 Columbia E|ectric Supply (8,026.43)
03 AP 0000032756 03/16/2018 HMTZB-CHK -00 Comcast (282.26)
03 AP 0000035382 03/23/2018 HMTZB-CHK -00 Comcast (218.68)
05 AP 0000044063 04/17/2018 HMTZB-CHK -00 Comcast (282.26)
05 AP 0000046454 04/24/2018 HMTZB-CHK -00 Comcast (218.13)
05 AP 0000051569 05/15/2018 HMTZB-CHK -00 Comcast (282.15)
05 AP 0000053057 05/24/2018 HMTZB-CHK -00 Comcast (218.13)

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Howell Munitions Technology, inc. HMT AP Payments 90 days prior to Bankruptcy Filing
Form 207: Statement of Financiai Affairs
#3) Payments to creditors within 90 days before filing

03 AP 0000038110 03/30/2018 HMTZB~CHK -00 Components Exchange (158,764.53)
05 AP 0000045713 04/20/2018 HMTZB-CHK -00 Components Exchange (54,986.94)
06 AP 0000053742 06/01/2018 HMTZB~CHK -00 CompuNet, |nc. (750.00)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Comstock Propane inc (107.56)
05 AP 0000040843 04/09/2018 HMTZB-CHK -00 Creason, Moorel Dokken & Geid| (10.000.00)
03 AP 0000031748 03/14/2018 HMTZB-CHK -00 Crow Shooting Supply (74,089.99)
03 AP 0000037867 03/30/2018 HMTZB~CHK -00 Crow Shooting Supply (145,324.31)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 DaJo Truckingl |nc. (10,000.00)
05 AP 0000041491 04/10/2018 HMTZB-CHK ~00 DaJo Trucking, |nc. (3,293.74)
05 AP 0000046482 04/24/2018 HMTZB~CHK -00 DaJo Trucking, inc. (5,136.17)
05 AP 0000048380 04/27/2018 HMTZB-CHK -00 DaJo Trucking, |nc. (3,500.00) .
05 AP 0000050609 05/10/2018 HMTZB-CHK -00 DaJo Trucking, |nc. (6,946.61)
05 AP 0000052908 05/23/2018 HMTZB-CHK -00 Danglers Inc. (1,302.00)
03 AP 0000033155 03/19/2018 HMTZB-CHK -00 David Howell (27,000.00)
05 AP 0000039672 04/04/2018 HMTZB~CHK -00 David Howell (35,000.00)
05 AP 0000043181 04/13/2018 HMTZB~CHK -00 David Howell (35,000.00)
05 AP 0000052496 05/21/2018 HMTZB~CHK -00 David Howell (34,800.00)
05 AP 0000053581 05/31/2018 HMTZB-CHK -00 David Howell (8,000.00)
06 AP 0000053969 06/04/2018 HMTZB-CHK -00 David Howell (28,800.00)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Debarment So|utions |nstitute, LLC (4,631.25)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Deductibie Recovery Group (4,779.60)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Discovery Benefits (174.30)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Dodson. Matthew (270.00)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Douglas Garage Door Service (185.00)
03 AP 0000035776 03/26/2018 HMTZB~CHK ~00 Estes Express Line (1,160.76)
05 AP 0000049176 05/03/2018 HMTZB-CHK -00 Estes Express Line (6,203.87)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Fastenal NVCAR0796 (215.97)
03 AP 0000035776 03/26/2018 HMTZB~CHK -00 Fastenal NVCAR0796 (288.03)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Fastenal WACOV2418 (851.63)
06 AP 0000053837 06/01/2018 HMTZB-CHK -00 Fisher Systems (534.24)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Fort Worth Engineering (11,106.50)
05 AP 0000049176 05/03/2018 HMTZB-CHK -00 Fort Worth Engineering (11,443.50)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Foust, Seth (97.09)
05 AP 0000051 180 05/11/2018 HMTZB-CHK -00 Foust, Seth (80.35)
03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Frasier Transport |nc. (1,750.00)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Freight Quote.com (3,005.68)
05 AP 0000049176 05/03/2018 HMTZB-CHK -00 Freight Quote.com (1,688.52)
05 AP 0000051 180 05/1 1/2018 HMTZB-CHK -00 Goffinet, Tammy (328.40)
03 AP 0000035776 03/26/2018 HMTZB~CHK -00 Goidenwest Lubricants (1,582.64)
05 AP 0000052221 05/18/2018 HMTZB-CHK -00 Gordon NW Vi|iage, LP (10,953.56)

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Howell Munitions Technology, |nc.
Form 207: Statement of Financiai Affairs
#3) Payments to creditors within 90 days before H|ing

03 AP 0000030547 03/122018 HMTZB~CHK
05 AP 0000052908 05/23/2018 HMTZB~CHK
05 AP 0000049402 05/04/2018 HMTZB-CHK
05 AP 0000049410 05/04/2018 HMTZB-CHK
03 AP 0000032833 03/16/2018 HMTZB-CHK
03 AP 0000036412 03/27/2018 HMTZB~CHK
04 AP 0000038401 04/022018 HMTZB-CHK
05 AP 0000052908 05/23/2018 HMTZB~CHK
06 AP 0000053837 06/01/2018 HMTZB-CHK
03 AP 0000030547 03/122018 HMTZB-CHK
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03 AP 0000030547 03/122018 HMTZB~CHK
05 AP 0000049176 05/03/2018 HMTZB-CHK
03 AP 0000033598 03/20/2018 HMTZB-CHK
05 AP 0000045694 04/20/2018 HMTZB~CHK
05 AP 0000052930 05/23/2018 HMTZB-CHK
03 AP 0000030547 03/122018 HMTZB-CHK
03 AP 0000034293 03/21/2018 HMTZB~CHK
03 AP 0000038388 03/27/2018 HMTZB-CHK
04 AP 0000048116 04/26/2018 HMTZB-CHK
03 AP 0000034313 03/21/2018 HMTZB-CHK
06 AP 0000054098 06/04/2018 HMTZB-CHK
03 AP 0000029806 03/08/2018 HMTZB-CHK
03 AP 0000030204 03/09/2018 HMTZB-CHK
03 AP 0000030460 03/12/2018 HMTZB-CHK
03 AP 0000031057 03/13/2018 HMTZB-CHK
03 AP 0000032254 03/15/2018 HMTZB-CHK
03 AP 0000032778 03/16/2018 HMTZB~CHK
03 AP 0000033098 03/19/2018 HMTZB-CHK
03 AP 0000033603 03/20/2018 HMTZB-CHK
03 AP 0000034802 03/222018 HMTZB-CHK
03 AP 0000035313 03/23/2018 HMTZB-CHK
03 AP 0000035852 03/2612018 HMTZB-CHK
03 AP 0000036370 03/27/2018 HMTZB-CHK
03 AP 0000036992 03/28/2018 HMTZB-CHK
03 AP 0000037443 03/29/2018 HMTZB-CHK
03 AP 0000038056 03/30/2018 HMTZB-CHK
04 AP 0000038420 04/022018 HMTZB-CHK
05 AP 0000038885 04/03/2018 HMTZB~CHK
05 AP 0000040436 04/06/2018 HMTZB~CHK

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HMT AP Payments 90 days prior to Bankruptcy Filing

-00 Grainger (30.95)
-00 Grainger (3,458.19)
-00 Greif (8,478.00)
-00 Greif (567.00)
-00 Hal Hedrick (5,000.00)
-00 Hal Hedrick (5,000.00)
-00 Hal Hedrick (7,500.00)
-00 Hayes, Chris (689.63)
-00 Hayes, Chris (1,870.33)
-00 Hays Danie| (391.14)
-00 High Sierra Business Systems (154.94)
-00 Ho Edward (15.66)
-00 Huber Action Freight (37.00)
-00 idaho State Tax Commission (1,348.32)
-00 idaho State Tax Commission (1,949.45)
-00 idaho State Tax Commission (12,667.75)
-00 iHeartMedia (9,329.13)
-92 iMC-Meta|s America, LLC (40,728.60)
-90 lMC-Metals America, LLC (81,675.00)
-92 iMC-Metals America, LLC (40,728.60)
-00 instructure inc (3,249.25)
-00 intuit (9.95)
-00 intuit Fees (120.97)
-00 intuit Fees (41.25)
-00 intuit Fees (144.29)
-00 intuit Fees (166.70)
-00 intuit Fees (120.04)
-00 intuit Fees (51.72)
-00 intuit Fees (198.05)
-00 intuit Fees (252.62)
-00 intuit Fees (46.38)
-00 intuit Fees (66.91)
-00 intuit Fees (111.15)
-00 intuit Fees (205.24)
~00 intuit Fees (0.20)
-00 intuit Fees (52.97)
-00 intuit Fees (64.39)
-00 intuit Fees (181.70)
-00 intuit Fees (358.45)
-00 intuit Fees (68.55)

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Howell Munitions Technology, inc.
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

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0000045693 04/20/2018
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0000046490 04/24/2018
0000048061 04/26/2018
0000048445 04/27/2018
0000048510 04/30/2018
0000048796 05/01/2018
0000048923 05/02/2018
0000049143 05/03/2018
0000049346 05/04/2018
0000049528 05/07/2018
0000049693 05/08/2018
0000050598 05/10/2018
0000051147 05/11/2018
0000051499 05/15/2018
0000051505 05/15/2018
0000033053 03/19/2018
0000039399 04/04/2018
0000052812 05/23/2018
0000058394 06/222018
0000030547 03/122018
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-00 LifeMap Assurance Company
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HMT AP Payments 90 days prior to Bankruptcy Filing

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(75,541.22)
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Howell Munitions Technology. Inc. HMT AP Payments 90 days prior to Bankruptcy Filing
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

05 AP 0000051 180 05/1 1/2018 HMTZB~CHK -00 Linares, Jeremy (2,848.92)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Listrak (19,472.40)
03 AP 0000036412 03/27/2018 HMTZB~CHK -00 Listrak (20,055.50)
05 AP 0000053411 05/30/2018 HMTZB~CHK -00 Listrak (35,147.50)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 London, Patrick (1,274.68)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Loomis (831.79)
03 AP 0000029494 03/08/2018 HMTZB-CHK -00 Luvata Appleton, LLC. (156,043.96)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Luvata Appleton, LLC. (151,917.05)
05 AP 0000040433 04/06/2018 HMTZB-CHK -00 Luvata Appleton, LLC. (147,432.28)
05 AP 0000045291 04/19/2018 HMTZB~CHK -00 Luvata Appleton, LLC. (151,836.70)
05 AP 0000052218 05/18/2018 HMTZB~CHK -00 Luvata Appleton, LLC. (153,069.88)
05 AP 0000047233 04/25/2018 HMTZB~CHK -00 Lyon Cnty Treasurer (97.18)
05 AP 0000047233 04/25/2018 HMTZB~CHK -00 Lyon Cnty Uti|ities - ALL (76.21)
06 AP 0000053837 06/01/2018 HMTZB-CHK -00 Lyon Cnty Uti|ities - ALL (192.53)
03 AP 0000035776 03/26/2018 HMTZB~CHK -00 McMaster-Carr Supply Co (1,326.25)
03 AP 0000029496 03/08/2018 HMTZB~CHK -00 Midwest Engineering Deep Draw Services (20,000.00)
05 AP 0000053086 05/24/2018 HMTZB-CHK -00 Midwest Engineering Deep Draw Services (3,697.04)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Moss Adams LLP (25,000.00)
03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Motion lndustries, inc (1,572.70)
03 AP 0000033635 03/20/2018 HMTZB-CHK ~00 Munde||l Val (30,000.00)
05 AP 0000044246 04/17/2018 HMTZB-CHK -00 Mytota, inc. (6,350.00)
05 AP 0000052908 05/23/2018 HMTZB-CHK -00 Mytota, inc. (2,000.00)
05 AP 0000038886 04/03/2018 HMTZB~CHK -00 Nationai Machinery, LLC (7,800.00)
05 AP 0000050851 05/10/2018 HMTZB~CHK -00 NDEP-BWPC Stormwater Coordinator 3173 (200.00)
03 AP 0000030209 03/09/2018 HMTZB-CHK -00 Ne|son, Eric Contracth (1,615.38)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Ne|son, Eric Contracth (1,615.38)
03 AP 0000036412 03/27/2018 HMTZB~CHK -00 Ne|sonl Eric Contractor (1,615.38)
05 AP 0000043164 04/13/2018 HMTZB-CHK -00 Ne|son, Eric Contractor (1,615.38)
05 AP 0000048464 04/27/2018 HMTZB~CHK -00 Ne|son, Eric Contractor (1,615.38)
05 AP 0000051180 05/11/2018 HMTZB-CHK -00 Ne|son, Eric Contractor (1,615.38)
05 AP 0000052908 05/23/2018 HMTZB-CHK -00 Ne|son, Eric Contractor (1,615.38)
03 AP 0000037867 03/30/2018 HMTZB-CHK -08 NET Global (49,107.24)
03 AP 0000033598 03/20/2018 HMTZB-CHK -00 Nevada Department of Taxation (599.20)
04 AP 0000045748 04/20/2018 HMTZB-CHK -40 Nevada Deparlment of Taxation (1,318.26)
05 AP 0000045694 04/20/2018 HMTZB-CHK -00 Nevada Department of Taxation (706.52)
05 AP 0000052930 05/23/2018 HMTZB-CHK -00 Nevada Department of Taxation (499.38)
06 AP 0000053837 06/01/2018 HMTZB-CHK -00 Nevada Employment Security Division (5.00)
06 AP 0000053864 06/01/2018 HMTZB~CHK -00 Nevada Occupationa| Heaith Center (1,169.88)
05 AP 0000053206 05/25/2018 HMTZB-CHK -00 Norrisl Brian (158.76)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Novation, |nc. (240.00)

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Howell Munitions Technology, inc.
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before E|ing

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HMT AP Payments 90 days prior to Bankruptcy Filing

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Howell Munitions Technology, inc. HMT AP Payments 90 days prior to Bankruptcy Filing
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

06 AP 0000053837 06/01/2018 HMTZB~CHK -00 Paciiic Stee| & Recyciing (2.441.50)
06 AP 0000053837 06/01/2018 HMTZB~CHK -00 Packaging Corporation of America (1,050.00)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Pape Materiai Hand|ing H40FT (128.25)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Parker Matthew (1,311.78)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Pitney Bowes (260.42)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Po|dervart, Ky|e (1,018.80)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Precision Punch Corporation (298.16)
03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Precision Punch Corporation (5,990.33)
05 AP 0000049176 05/03/2018 HMTZB-CHK -00 Richard James & Associates inc (600.00)
03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Rodeo internet Services (396.00)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 S & A Wood Speciaities (2,033.00)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Sager Wiiliam (43,50)
03 AP 0000036412 03/27/2018 HMTZB~CHK -00 SAiA MOTOR FRE|GHT LlNE (375.62)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Sewert Dave (119.90)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Shumaker, Loop 8 Kendrick (2,179.18)
03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Shumakerl Loop & Kendrick (3,435.87)
05 AP 0000039067 04/03/2018 HMTZB~CHK -93 Sierra Bullets, LLC (14,297.50)
05 AP 0000048822 05/01/2018 HMTZB-CHK -00 Si|ver State Bullets, LLC (2,650.00)
03 AP 0000030547 03/122018 HMTZB~CHK -00 Sonderen Packaging (8,487.00)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Southwest Gas - All (5,680.15)
05 AP 0000050302 05/09/2018 HMTZB-CHK -00 Southwest Gas - A|| (6,590_24)
05 AP 0000050303 05/09/2018 HMTZB-CHK -00 Southwest Gas - Aii (597.46)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Spokane Packaging (3,852.75)
05 AP 0000053081 05/24/2018 HMTZB~CHK -00 Spooner, Richard (725.00)
05 AP 0000049176 05/03/2018 HMTZB-CHK -00 SPS Commeroe, inc. (774_00)
03 AP 0000034313 03/21/2018 HMTZB~CHK -00 St. Marks Powder (50,000.00)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Stap|es Business Advantage (327.69)
03 AP 0000034313 03/21/2018 HMTZB-CHK -00 Stee|e Components and Ammo, LLC (31,632.00)
03 AP 0000036387 03/27/2018 HMTZB~CHK -00 Stee|e Components and Ammo, LLC (15,854.44)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Stonebraker McQuary insurance (2,000.00)
03 AP 0000036412 03/27/2018 HMTZB-CHK -00 Stonebraker McQuary insurance (113.00)
05 AP 0000051 180 05/11/2018 HMTZB-CHK -00 Su||ivan, John (66.96)
05 AP 0000053072 05/24/2018 HMTZB-CHK -00 Sussman Shank LLP (7,337.45)
06 AP 0000053750 06/01/2018 HMTZB-CHK -06 Sussman Shank LLP (11,835_41)
05 AP 0000045696 04/20/2018 HMTZB~CHK -00 Syspro (150.00)
05 AP 0000052908 05/23/2018 HMTZB-CHK -00 Syspro ~ (100.00)
03 AP 0000029499 03/08/2018 HMTZB~CHK -00 TechPiate, inc (1,499.00)
03 AP 0000033624 03/20/2018 HMTZB-CHK -32 Texas Comptro||er of Public Aocounts (7,648.00)
03 AP 0000034527 03/21/2018 HMTZB-CHK -00 Texas Comptro||er of Public Aocounts (18,524.03)
05 AP 0000044748 04/18/2018 HMTZB-CHK -00 Texas Comptro||er of Public Accounts (24,128.90)

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Howell Munitions Technology, Inc.
Form 207: Statement of Financiai Afiairs

#3) Payments to creditors within 90 days before filing

05 AP 0000051381
05 AP 0000053182
03 AP 0000029499
03 AP 0000031 064
03 AP 0000037369
04 AP 0000044656
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05 AP 0000048446
06 AP 0000053837
05 AP 0000045688
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05 AP 00000501 17
05 AP 0000051795
05 AP 0000052910
05 AP 000005341 2
03 AP 0000034881
03 AP 0000030547
03 AP 0000035776
03 AP 0000035812
05 AP 0000049176
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HMT AP Payments 90 days prior to Bankruptcy Filing

-00 Texas Comptro|ler of Public Aocounts (4,550.00)
-00 Texas Comptro|ler of Public Aocounts (14,633.36)
-00 Thermai Modii`ication Tech. (330.00)
-00 Thermai Modification Tech. (350.00)
-00 Thermai Modification Tech. (165.00)
-00 Thermai Modiiication Tech. (350.00)
-00 Themial Modification Tech. (700.00)
-00 TLR (3,764.42)
-00 TLR (1,270.00)
-00 TLR (100.00)
-00 Trave|ers (4,803.00)
-00 Tri-Tec Communications, inc (96.00)
-00 Trojan Lithograph (14.055.00)
-00 TXU Energy (545.63)
-00 TXU Energy (493.82)
-00 TXU Energy (561.24)
-00 Uiine (966.72)
-00 Uiine (1,642.70)
~00 Uiine (1,705.38)
-00 UPS (115,455.15)
-00 UPS (62,068.85)
-00 UPS (62,768.58)
-00 UPS (80,570.43)
-00 UPS (76.508.73)
-00 UPS (57,189.76)
-00 UPS (77,248.00)
-00 UPS (48,857.62)
-00 UPS (65.689.99)
~00 UPS (54,037.89)
-00 UPS (54,161.59)
-00 UPS (42,847.41)
-00 US Customs and Border Protection (100.00)
-00 USF Reddaway, inc (3,080.27)
-00 USF Reddaway, inc (3.807.55)
-00 USF Reddawayl inc (4,314.88)
-00 USF Reddaway, inc (4,189.73)
-00 Verizon Wireiess (1 ,250.41)
-00 Ven'zon Wireiess (1,493.49)
-53 Verizon Wireiess (1,372.75)
-00 \fista Outdoor Sa|es LLC (50.140.00)

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Howell Munitions Technology, |nc. HMT AP Payments 90 days prior to Bankruptcy Filing
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

05 AP 0000049403 05/04/2018 HMTZB-CHK -92 Vista Outdoor Sa|es LLC (38,590.00)
05 AP 0000050680 05/10/2018 HMTZB-CHK -00 Wsua| Marketing (2,560.00)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Waste Management - Aii (879.22)
05 AP 0000047233 04/25/2018 HMTZB-CHK -00 Waste Management - Ail (17.16)
03 AP 0000030547 03/12/2018 HMTZB~CHK -00 Western Ana|yticai (450.00)
06 AP 0000053837 06/01/2018 HMTZB-CHK -00 Western Ana|yticai (990.00)
03 AP 0000030547 03/12/2018 HMTZB-CHK -00 Western States Fire Protection (550.00)
03 AP 0000029608 03/08/2018 HMTZB-CHK -00 Woiidpay Fees (1,895.25)
03 AP 0000030460 03/12/2018 HMTZB~CHK ~00 Woridpay Fees (23.58)
03 AP 0000031057 03/13/2018 HMTZB~CHK -00 Woridpay Fees (107.65)
03 AP 0000032254 03/15/2018 HMTZB-CHK -00 Woridpay Fees (27.81)
03 AP 0000033098 03/19/2018 HMTZB-CHK -00 Woridpay Fees (3,006.82)
03 AP 0000033603 03/20/2018 HMTZB~CHK -00 Woridpay Fees (233.85)
03 AP 0000034802 03/22/2018 HMTZB-CHK -00 Woridpay Fees (1,995.00)
03 AP 0000036370 03/27/2018 HMTZB-CHK -00 Woiidpay Fees (278.70)
03 AP 0000036992 03/28/2018 HMTZB~CHK -00 Woridpay Fees (2,794.62)
04 AP 0000038420 04/02/2018 HMTZB-CHK -00 Woiidpay Fees (703.93)
05 AP 0000038885 04/03/2018 HMTZB-CHK -00 Woridpay Fees (379.05)
05 AP 0000039988 04/05/2018 HMTZB~CHK -00 Woridpay Fees (61,812.04)
05 AP 0000041387 04/10/2018 HMTZB~CHK -00 Woridpay Fees (66.46)
05 AP 0000044655 04/18/2018 HMTZB-CHK -00 Woridpay Fees (56_08)
05 AP 0000045913 04/23/2018 HMTZB~CHK -00 Woridpay Fees (259.95)
05 AP 0000046490 04/24/2018 HMTZB~CHK -00 Woiidpay Fees (914_13)
05 AP 0000048796 05/01/2018 HMTZB-CHK -00 Woridpay Fees (389.74)
05 AP 0000049143 05/03/2018 HMTZB-CHK -00 Woridpay Fees (755.77)
05 AP 0000049346 05/04/2018 HMTZB-CHK -00 Woridpay Fees (45,894.71)
05 AP 0000049693 05/08/2018 HMTZB-CHK -00 Woridpay Fees (249,95)
05 AP 0000051499 05/15/2018 HMTZB-CHK -00 Woridpay Fees (199_95)
05 AP 0000051505 05/15/2018 HMTZB-CHK -00 Woridpay Fees (527.66)
05 AP 0000052055 05/17/2018 HMTZB~CHK -00 Woiidpay Fees (224.10)
05 AP 0000052217 05/18/2018 HMTZB~CHK -00 Woridpay Fees (340_43)
05 AP 0000052616 05/22/2018 HMTZB-CHK -00 Woridpay Fees (3.601.99)
05 AP 0000052633 05/22/2018 HMTZB~CHK -00 Woridpay Fees (415.00)
05 AP 0000053298 05/29/2018 HMTZB~CHK -00 Woridpay Fees (371.90)
03 AP 0000035776 03/26/2018 HMTZB-CHK -00 Wright, Marissa (13_40)
05 AP 0000038396 04/02/2018 HMTZB-CHK -00 Wright, Marissa (85_75)
05 AP 0000049176 05/03/2018 HMTZB-CHK ~00 Wynaida Packaging (12,800.00)
03 AP 0000037865 03/30/2018 HMTZB-CHK -00 XO Communications (6,397.25)
05 AP 0000048512 04/30/2018 HMTZB~CHK -00 XO Communications (6,41 1 .87)
05 AP 0000053785 05/31/2018 HMTZB-CHK -05 XO Communications (6,287.67)

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Howell Munitions Technology, inc.
Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

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0000030451 06/01/2018
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0000031018 06/18/2018
0000031590 06/05/2018
0000031683 06/06/2018
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0000032746 06/07/2018
0000032771 03/01/2018
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HMTZB-CHK -00 YRC Freight
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HMT AP Payments 90 days prior to Bankruptcy Filing

(1,558.75)
(2,067.34)
(2,338.28)
(1,991.42)
(275.74)
(236,112.34)
(229,726.26)
(227,393.42)
(221,725.25)
(209,765.88)
(138,957.08)
(41,214.64)
(87,289.19)
(82,043.81)
(26.504.22)
(26,389.48)
(26,169.25)
(25,422.90)
(24,133.09)
(23,955.11)
(18,923.29)
(17,090.17)
(16,490.23)
(10,000.00)
(10,000.00)
(9,619.98)
(7,619.74)
(5,804.85)
(5,295.86)
(5,000.00)
(4,146.39)
(3,230.65)
(3,217.80)
(3,199.35)
(2,183.04)
(2,001.39)
(1,980.93)
(1,757.90)
(1,491.49)
(1,334.13)

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Howell Munitions Technology, inc.

Form 207: Statement of Financiai Affairs

#3) Payments to creditors within 90 days before filing

0000033607 06/05/2018 GLJ:0000054148
0000033945 05/09/2018 GLJ:0000050121
0000034661 05/14/2018 GLJ:0000051386
0000034771 05/30/2018 GLJ:0000053394
0000034796 03/20/2018 GLJ:0000033607
0000035221 05/04/2018 GLJ10000049365
0000035310 04/16/2018 GLJ:0000043745
0000035742 04/022018 GLJ20000038310
0000035824 03/05/2018 GLJ:0000027950
0000036344 04/17/2018 GLJ:0000044321
0000036361 06/04/2018 GLJ:0000054097
0000036712 03/022018 GLJ:0000027478
0000036929 03/05/2018 GLJ:0000027675

Payroii- Pre

Payroii- Pre

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Payroii- Pre

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Payroii- Pre

Ssafe Fees
Woridpay Fees
Capital One Visa Pmt
Woridpay Chargeback
intuit Fees

intuit Fees

Page 13 of 13

HMT AP Payments 90 days prior to Bankruptcy Filing

(1,271 .77)
(1,153.14)
(946.20)
(919.36)
(755.14)
(685.93)
(668.29)
(440.00)
(410.80)
(291.16)
(259.95)
(49.41)
(13.63)

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United States Bankruptcy Court
District of Nevada

Case No. 1 8$061 0-btb

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Io re Howell Munitions 8- Technologyl inc.
Debtor(s) Chapter 1 1 ,*__

 

VERIFICATION OF CREDITOR MATRIX - AMENDED

i, the Proposed ChiefRestructuring Ot‘iicer of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge

Date: _:iuly 24, 2018 l
J. gchae| lssa/Proposed Chief Restructuring Officer

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Howell Munitions & Technology, Inc.
815 D Street
Lewiston, ID 83501

Winthrop Couchot Golubow Hollander, LLP
Attn: Robert E. Opera

1301 Dove Street, Suite 500

Newport Beach, CA 92660

Office of the United States Trustee
C. Clihon Young Federal Building
300 Booth Street

Room 3009

Reno, NV 89509

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823 D Street, LLC
823 D Street
Lewiston, ID 83501-0000

Advanced CFO
13601 W McMillan Rd, #102
Boise, ID 83713-0000

American Security Brass & Reloading
PO Box 9169

Greerton, Tauranga New Zealand

Ammo Direct
P.O. Box 9169

Greerton, Tauranga New Zealand

Ammo Load Worldwide, Inc.
815 D Street
Lewiston, ID 83501-0000

Asotin County Landfill
2901 Sixth Avenue
Clarkston, WA 99403-0000

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Avista Utilities
141 l E Mission Ave
Spokane, WA 99252-0000

Big Canyon Environmental, LLC
815 D Street
Lewiston, ID 83501-0000

California Dept. of Tax and Fee Admin., Special
Operations Bktcy Team, MIC:74

PO Box 942879
Sacramento, CA 94279-0074

Clearwater Bullet, Inc.
153 Southport Ave., Building 4
Lewiston, ID 83501-0000

Components Exchange, LLC
815 D Street
Lewiston, ID 83501-0000

Corporation Service Company, as Rep, Attn: Legai
Dept.

PO Box 2576
Springf`ield, IL 62708-0000

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Dan Hellickson
1662 Ashley Drive
Clarkston, WA 99403-0000

David Howell Rentals
P.O. Box 1903
Lewiston, ID 83501-0000

Engin Hidir
1382 Sokak 8/3
Alsancak Ismir, Turkey 35220

Fastenal Company
2001 Theurer Blvd.
Winona, MN 55987-0000

Freedom Munitions, LLC
815 D Street
Lewiston, ID 83501-0000

Howell Machine, Inc.
815 D Street
Lewiston, ID 83501-0000

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Lax Firing Range
234 S. Hindry Ave.
Inglewood, CA 90301-0000

Lewis-Clark Ammunition Components, LLC
815 D Street
Lewiston, ID 83501-0000

Miami Police Depot, Inc.
2640 W. 84th St.
Hialeah, FL 33016-0000

Mound House True Value Hardware
10189 Hwy 50 E
Ca.rson City, NV 89706-0000

Nevada Dept of Environmental Protection
2030 E. Flamingo Road, Suite 230
Las Vegas, NV 89119-0000

Nuvodia, LLC
801 S Stevens Street
Spokane, WA 99204-0000

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NV Energy
PO Box 30065
Reno, NV 89520-0000

Parallel Group
1380 Hamel Road
Hamel, MN 55340-0000

Perfection Tire of Lewiston
533 Thain Road
Lewiston, ID 83501-0000

Phillip A Swiderski Sr
15971 Smokey Hollow Road
Traverse City, MI 49686-0000

Precision One Ammo
2071 Wambaw Creek Road
Charleston, SC 29492-0000

STI Brasil (Tactical Gear Imports), AV. Professor
Mario Werneck

2275 Bairro Buritis

Belo Horizonte, Minal Gerais Brazil

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Travelers
PO Box 660317
Dallas, TX 75266-0000

Twin River Contract Loading, Inc.
815 D Street
Lewiston, ID 83501-0000

Unis "Ginex" d.d. Gorazde
Visegradska bb

73000 Gorazde,, Bosnia and Herzegovina

United Tool Corporation
3718 E Newby Street Suite 108
Nampa, ID 83687-0000

X-Treme Bullets, Inc.
25 Stokes Drive
Carson City, NV 89706-0000

ZB. N.A., DBA Zions First Nationai Bank
One South Main Street, Suite 1400
Salt Lake City, UT 84133-0000

